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                     EXHIBIT I
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                                                                                     Page 1
 1                 IN THE UNITED STATES DISTRICT COURT
 2                 FOR THE EASTERN DISTRICT OF VIRGINIA
 3                               Alexandria Division
 4

 5    ---------------------------------x
 6    LEAGUE OF UNITED LATIN AMERICAN                                Civil Action No.
 7    CITIZENS - RICHMOND REGION COUNCIL                             1:18-cv-00423
 8    4614, et al.,
 9             Plaintiffs,
10    v.
11    PUBLIC INTEREST LEGAL FOUNDATION,
12    an Indiana Corporation, and
13    J. CHRISTIAN ADAMS,
14             Defendants.
15    ---------------------------------x
16

17

18            VIDEOTAPED DEPOSITION OF J. CHRISTIAN ADAMS
19                                Washington, D.C.
20                           Monday,          April 22, 2019
21

22

23

24

25      Job No. 158970

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 6                         Monday,         April 22, 2019
 7                                    9:11 a.m.
 8

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11

12                   The following is the transcript of the
13     videotaped deposition of J. CHRISTIAN ADAMS held at
14     the offices of Skadden, Arps, Slate, Meagher & Flom
15     LLP, 1440 New York Avenue, NW, Washington, DC 20005.
16

17

18

19     Reported by:       Linda S. Kinkade RDR CRR RMR RPR CSR
20     Registered Diplomate Reporter, Nationally Certified
21     Realtime Reporter, Registered Merit Reporter,
22     Registered Professional Reporter, Certified Shorthand
23     Reporter, in and for the State of California, Notary
24     Public, within and for the District of Columbia
25



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                                                                            Page 3
 1     A P P E A R A N C E S:
 2

 3                 Skadden, Arps, Slate, Meagher & Flom
 4                 On Behalf of Plaintiffs
 5                 BY:      Sean Tepe, Esq.
 6                 BY:      Nicole Cleminshaw, Esq.
 7                 1440 New York Avenue, NW
 8                 Washington, DC 20005
 9

10

11                 Foley & Lardner
12                 On Behalf of Defendants
13                 BY:      Michael Lockerby, Esq.
14                 BY:      Eli Evans, Esq.
15                 3000 K Street, NW
16                 Washington, DC 20007
17

18

19

20

21     Also present:
22             David Chroniger, Legal Video Specialist
23

24

25


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                                                                            Page 4
 1                          INDEX OF EXAMINATION
 2

 3     EXAMINATION OF J. CHRISTIAN ADAMS                             PAGE
 4                 BY MR. TEPE                                       5
 5                 BY MR. LOCKERBY                                   --
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                                                                             Page 5
 1                         P R O C E E D I N G S
 2                   VIDEO SPECIALIST:                This is the start of
 3     tape labeled number 1 of the videotaped deposition of
 4     J. Christian Adams, in the matter League of the
 5     United Latin American Citizens v. Public Interest
 6     Foundation, et al., in the court, United States
 7     District Court, for the Eastern District of Virginia,
 8     case number 1:18-CV-000423.
 9             This deposition is being held at 1440 New York
10     Avenue, northwest, Suite 1100, Washington, D.C., on
11     April 21st, 2019 --
12                   THE REPORTER:           22nd.
13                   VIDEO SPECIALIST:                -- 22nd, sorry -- at
14     approximately 9:11.            My name is David Chroniger from
15     TSG Reporting, Inc., and I'm the legal video
16     specialist.       The court reporter is Linda Kinkade in
17     association with TSG Reporting.
18             Will counsel please introduce yourselves.
19                   MR. TEPE:        Sean Tepe, pro bono counsel for
20     Plaintiffs.       I am joined by my colleague Nicole
21     Cleminshaw.
22                   MR. LOCKERBY:           Mike Lockerby with Foley &
23     Lardner LLP representing the Defendants.
24                   VIDEO SPECIALIST:                Will the court reporter
25     please swear in the witness.

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                                                                            Page 6
 1                             J. CHRISTIAN ADAMS,
 2                  having been first duly sworn, was
 3     thereafter examined and testified as follows:
 4                                    EXAMINATION
 5     BY MR. TEPE:
 6             Q.    Good morning.
 7             A.    Good morning.
 8             Q.    Can you state your name for the record?
 9             A.    J. Christian Adams.
10             Q.    You're under oath today, yes?
11             A.    Yes.
12             Q.    And is there any reason why you cannot
13     give truthful and accurate testimony today?
14             A.    Not that I'm aware of.
15             Q.    Did you do anything to prepare for today's
16     deposition?
17             A.    Yes.
18             Q.    What did you do?
19             A.    Reviewed documents, talked to my
20     attorneys.
21             Q.    Did you talk to anyone else than your
22     attorneys in preparation for today?
23             A.    No.
24                   MR. LOCKERBY:              I just want to clarify
25     something on the record.                  Today, of course, is

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                                                                               Page 7
 1     Mr. Adams' individual deposition.                        I know there were
 2     some issues on Friday, or Thursday rather, about the
 3     length of the 30(b)(6), and we would have no
 4     objection to Plaintiff's counsel completing the
 5     30(b)(6) in excess of seven hours as long as the
 6     aggregate number of hours for both didn't exceed 14
 7     hours.
 8                   MR. TEPE:        I appreciate that.             I think
 9     that would be fine, as long as we can just cover
10     everything in the two days allotted, we should have
11     no problem.       All right.           Thank you.
12             Q.    Mr. Adams, in previous testimony you
13     testified that you had multiple conversations with
14     Mark Lytle of the United States Attorney's Office in
15     the Eastern District of Virginia; is that correct?
16                   MR. LOCKERBY:            Object to the form.
17                   MR. TEPE:        What's the objection?
18                   MR. LOCKERBY:            Objection to the form.
19     It's been asked and answered and misstates the
20     witness's prior testimony.
21                   MR. TEPE:        Well, the witness can clarify.
22             Q.    You did testify that you had multiple
23     conversations with Mr. Lytle, correct?
24             A.    I mean, if you have a transcript to show
25     me, I wouldn't disagree with the fact that I had

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                                                                            Page 8
 1     multiple conversations.                I would also point you back
 2     to my original testimony for any specifics.
 3             Q.    I understand, but let's just, you know,
 4     the simple question is you had multiple conversations
 5     with Mr. Lytle.
 6             A.    Again, my --
 7             Q.    Yes or no?
 8             A.    I did, and I believe I testified about
 9     that already.
10             Q.    Okay.     How many conversations did you
11     have?
12             A.    Don't remember.
13             Q.    Were they all in person, these
14     conversations?
15             A.    No.
16             Q.    Some were over the phone?
17             A.    Possibly.
18             Q.    Do you have any recollection of talking to
19     him over the phone about -- and, again, we're talking
20     about conversations that you had with Mr. Lytle with
21     regard to the Alien Invasion reports.
22             A.    Right.      I have some recollection of that,
23     but I can't be sure.
24             Q.    Okay.     So you recall at least, I think,
25     two in-person meetings with Mr. Lytle?

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                                                                            Page 9
 1             A.   Well, no, I said I recall two in-person
 2    conversations with Mr. Lytle.                      That's what you asked.
 3             Q.   Okay.      So there's two in-person
 4    conversations and potentially some phone calls.
 5             A.   Well, at least.               There may be more.
 6             Q.   More than --
 7             A.   Two.
 8             Q.   -- in-person conversations?
 9             A.   Right.
10             Q.   Okay.      So how many in-person
11    conversations?
12             A.   I don't know.             I testified to that
13    already.
14             Q.   And then -- and so, in addition to
15    potentially more than two in-person conversations,
16    there may have been some phone conversations with
17    Mr. Lytle with regard to the Alien Invasion reports?
18             A.   I've already testified to that.
19             Q.   That's a yes.
20             A.   I did, I testified to that already.                 I
21    gave you an answer.
22             Q.   The answer is yes.
23             A.   I don't know.             I'd need to see what my
24    previous answer was, but it's consistent with that.
25    There may have been phone conversations, but I

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                                                                             Page 10
 1    testified to that already.
 2             Q.   Have you had conversations with other
 3    members of the Department of Justice with regard to
 4    the Alien Invasion reports?
 5             A.   Probably, but I don't remember
 6    specifically those conversations.
 7             Q.   If you had such conversations, who would
 8    they have been with?
 9             A.   That's speculating.                 I don't know.
10             Q.   So it's your testimony today that you
11    believe that you probably had conversations with
12    members of the Justice Department, besides Mr. Lytle,
13    with regard to the Alien Invasion reports, but you do
14    not recall the specifics of those conversations.
15                  MR. LOCKERBY:            Object to the form.
16             Q.   Is that true?
17             A.   I think I've already testified to that.
18             Q.   No.    I'm trying to ask questions to
19    establish what your testimony is.                        You cannot just go
20    back and say I've already testified to it.
21                  MR. LOCKERBY:            Objection, the transcript
22    reflects what his testimony is.                       It's not proper to
23    ask questions about what the transcript reflects.
24                  MR. TEPE:         And I'm not trying to do that.
25    What I'm trying to do is ask simple questions that

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                                                                          Page 11
 1    Mr. Adams seems not inclined to want to answer.
 2             Q.   So, my question again, is it your
 3    testimony that you believe you probably had
 4    conversations with members of the Justice Department
 5    besides Mr. Lytle with regard to the Alien Invasion
 6    reports, but you do not recall the specifics of such
 7    conversations?
 8             A.   That's correct.
 9             Q.   What makes you say that you probably had
10    such conversations?
11             A.   Because I would have been extremely
12    enthusiastic about having the Justice Department
13    finally enforce the law related to noncitizen
14    registration and voting, and would have been highly
15    inclined to have those conversations with members of
16    the Justice Department, because the previous
17    administration had failed to enforce the law, and,
18    therefore, I would have had a motive to have those
19    conversations.         Can I remember the specific
20    conversations?         No.
21             Q.   Thank you.          Have you had conversations
22    with any other members of the federal law enforcement
23    community other than members of the Justice
24    Department and Mr. Lytle with regard to the Alien
25    Invasion reports?

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                                                                            Page 12
 1             A.   How do you define "federal law enforcement
 2    community"?       How broadly?
 3             Q.   As broad as possible.                   Federal employee,
 4    federal law enforcement.
 5             A.   Well, that's a different question.
 6    Federal employee is different than federal law
 7    enforcement.        So I'm asking, what is your question?
 8    How broadly do you find this -- do you define federal
 9    law enforcement?
10             Q.   Well, let's start the most broad as
11    possible.      Have you had conversations with federal
12    employees regarding the Alien Invasion reports other
13    than Mr. Lytle and probably other members of the
14    Justice Department?
15             A.   Right, and I don't have a specific
16    recollection of that.
17             Q.   Are you aware of any investigation by
18    federal law enforcement into those listed in the
19    Alien Invasion reports?
20             A.   One would not be made aware of such
21    things.
22             Q.   That's not responsive to my question.
23             Are you aware of any investigation by federal
24    law enforcement into those listed in the Alien
25    Invasion reports?

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                                                                              Page 13
 1             A.   The federal investigative agencies do not
 2    make third parties aware of investigations.
 3             Q.   Again, that is not responsive to my
 4    question.      Are you, Mr. Adams, aware of any
 5    investigation by federal law enforcement into those
 6    listed in the Alien Invasion reports?
 7             A.   Because federal law enforcement agencies
 8    do not make a practice of alerting the public,
 9    generally speaking, about the existence of
10    investigations, I have not been made aware of any
11    investigations.
12             Q.   So when you had conversations with
13    Mr. Lytle, he did not give any indication as to what
14    he would do with that information?
15             A.   That's not what I testified to.                  That's
16    not accurate.
17             Q.   Okay.     So Mr. Lytle did give you
18    indications as to what he would do with the
19    information.
20             A.   I already knew what he would do with the
21    information by virtue of formerly working at the
22    Justice Department.             And the Justice Department has a
23    very rigorous protocol for looking at evidence that
24    third parties give to people at the Justice
25    Department that includes preliminary reviews,

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                                                                          Page 14
 1    substantive reviews, requests for data from other
 2    agencies.
 3             And so I didn't need to have the conversation
 4    with Mr. Lytle, because I knew that, when Mr. Lytle
 5    was alerted to a problem like this, which is a
 6    serious one, at least most people take seriously, and
 7    I knew the attorney general took seriously, and I
 8    knew the president took seriously, that Mr. Lytle
 9    would do what I used to do at the Justice Department
10    when I was an attorney there and initiate a series of
11    steps that would take a look at the issue.
12             And so I didn't need to get feedback from
13    Mr. Lytle because I knew what you do when you're a
14    Justice Department lawyer.
15             Q.   Did Mr. Lytle give you any indication as
16    to what he would do with the information, yes or no?
17             A.   I answered that question.
18             Q.   No.    Did Mr. Lytle give you any indication
19    as to what he would do with that information?
20             A.   I don't remember.
21             Q.   With your enthusiasm for prosecution, you
22    would --
23             A.   That's not what I testified to.
24             Q.   Excuse me, sir.
25             A.   That's not what I testified to.

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                                                                                 Page 15
 1             Q.   Sir, sir, I have not finished my question.
 2             A.   Right.
 3             Q.   You testified earlier that you would have
 4    been extremely enthusiastic about having the Justice
 5    Department finally enforce the law.
 6             Given that, you don't recall whether or not
 7    Mr. Lytle gave you any indication of what he would do
 8    with the information you provided?
 9                  MR. LOCKERBY:            Object to the form of the
10    question.
11             A.   Right.      And I never said a word about
12    enthusiasm for prosecution in this deposition.                         What
13    I said was enthusiasm for enforcing the law.                         And
14    that comes in many forms, many of which you have
15    omitted in your question.
16             One could be to take action to clean up the
17    voter rolls, which is not prosecution.                         Another could
18    be taking a look at why Virginia is canceling
19    citizens or noncitizens from the rolls improperly.
20    Another could be a NVRA action, another could be a
21    prosecution.
22             So when I said enforce the law, I was talking
23    about a broad array of possibilities.                          If there was a
24    noncitizen on the voter rolls, then I would have had
25    enthusiasm for prosecution of that individual,

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                                                                          Page 16
 1     because they would have been violating multiple
 2     federal felonies, and I don't think anybody would
 3     disagree with that position, at least not seriously.
 4             Q.   So it is your testimony today that you
 5     don't remember if Mr. Lytle gave you any indication
 6     as to what he would do with the information that you
 7     provided to him with regard to the Alien Invasion
 8     reports?
 9                  MR. LOCKERBY:             Object to the form.
10             A.   I think I've already answered that
11     question.
12             Q.   That's your testimony.
13             A.   I think I testified to this.
14             Q.   And that's --
15             A.   My testimony is what it was when I gave
16     it.
17             Q.   The Public Interest Legal Foundation
18     promoted the Alien Invasion reports, correct?
19                  MR. LOCKERBY:             Object to the form.
20             A.   The Public Interest Legal Foundation
21     promoted it ... I don't understand what you mean.
22             Q.   Do you understand what the word
23     "promotion" means?
24             A.   Promotion could mean a variety of things,
25     and in this context it particularly could mean a

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                                                                          Page 17
 1    variety of things.             If you have a specific example of
 2    promotion, I will answer that question.
 3             Q.   Why?      You can't answer a general question
 4    about PILF promoting the Alien Invasion reports?
 5                  MR. LOCKERBY:             Object to the form.
 6             A.   Okay.      PILF talked about the Alien
 7    Invasion reports, correct.
 8             Q.   And they talked about the Alien Invasion
 9    reports in multiple media formats, correct?
10             A.   Multi -- "multiple media formats," do you
11    mean multiple media venues or media outlets?                    Is that
12    what you mean?          I don't understand the question.
13             You're just using a term that isn't squared
14    with reality in the practice of broadcasting.
15             Q.   PILF issued press releases with regard to
16    the Alien Invasion reports, correct?
17             A.   Yes.
18                               (Johnson Exhibit 22
19                  previously marked for identification
20                  and referenced herein: Email
21                  correspondence from (topmost) S
22                  Powell sent 10/4/2016
23                  PILF-ADAMS-0013638 - 0013639)
24             Q.   Handing the witness what has been
25    previously marked as Johnson Exhibit 22.

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                                                                                 Page 18
 1             This is an example of one of those press
 2    releases; is that right?
 3             A.   Well, Johnson 22 is not an example of a
 4    press release.         It's an example of an email chain
 5    between Shawna Powell and Noel Johnson on October 4th
 6    that ultimately has a press release attached to it,
 7    but Johnson 22 is not a press release.
 8             Q.   At the bottom of Johnson 22, on Tuesday,
 9    October 4th, there is a press release that was sent
10    by PILF to media; is that right?
11             A.   Right, but the entire exhibit is not a
12    press release.
13             Q.   You can put that aside.
14                              (Adams Exhibit 1 marked for
15                  identification: Email correspondence
16                  from (topmost) N Johnson sent
17                  5/24/2017
18                  PILF_ADAMS-0000821 - 0000823)
19             Q.   The court reporter has marked as Exhibit
20    52 -- I'm sorry, Exhibit 1 -- a document with the
21    Bates number 822.
22             Do you recognize that document, sir?
23                  MR. LOCKERBY:            I'm sorry.              Where is this
24    document?
25             A.   I see this document.

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                                                                                       Page 19
 1             Q.    All right.           So there's an email from Logan
 2    Churchwell to you and Mr. Johnson, May 24th, 2017,
 3    right?
 4             A.    No -- oh, right.                   It's -- I can read that.
 5             Q.    And then Mr. Johnson responds to you and
 6    Mr. Churchwell saying, "Looks great.                               A few small
 7    things.       Is the plan to go public on Monday, the
 8    29th, as indicated in the release?"                               Do you see that?
 9             A.    I can read that.
10             Q.    Okay.      And then attached to it is a press
11    release on Alien Invasion II; is that correct?
12             A.    No, that's not correct.
13             Q.    Okay.      So at the top of this draft it
14    says, "for immediate release."                         Do you see that, the
15    attachment?
16             A.    Well, but that's what every press release
17    says.     That's a draft.              That's --
18             Q.    It's a draft press release.
19             A.    Right.
20             Q.    Yes.
21             A.    It's a draft press release.
22             Q.    Yes.      Right.        So this is a draft press
23    release for Alien Invasion II.
24             A.    Correct.
25             Q.    Yes.      And on the title of the draft press

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                                                                           Page 20
 1     release it says, "Report:                 5,500 plus noncitizens
 2     discovered on voter rolls in Virginia," right?
 3             A.   It says that.
 4             Q.   Right.       And then underneath the subheader
 5     says, "one-third of noncitizens found voted
 6     illegally."      Do you see that?
 7             A.   It says that.
 8             Q.   Okay.      And so to promote the Alien
 9     Invasion reports, PILF issued press releases.
10             A.   I've answered that.                  I'll answer it again.
11     We issued press releases.
12             Q.   And PILF also tweeted about the reports,
13     correct?
14             A.   I don't know.
15             Q.   Mr. Adams, you're a very --
16             A.   I don't know.
17             Q.   You're very prolific on Twitter, aren't
18     you?
19                  MR. LOCKERBY:             Object to the form.
20             Q.   Would you -- wouldn't you say you're very
21     prolific on Twitter?
22             A.   No.
23             Q.   No?    Okay.
24             A.   Certainly not.
25             Q.   You do tweet, though, right?

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                                                                          Page 21
 1             A.   That's -- a difference between prolific.
 2             Q.   Well, I don't know.                 I thought maybe you'd
 3    consider yourself prolific.                     But you do tweet, right?
 4             A.   I've answered that.
 5             Q.   And PILF tweets as well, right?
 6             A.   I think so.          I don't see all their tweets.
 7             Q.   Well, you don't need to see all their
 8    tweets to know whether or not they do in fact tweet.
 9             A.   They do tweet.
10                              (Adams Exhibit 2 marked for
11                  identification: Twitter feed of the
12                  Public Interest Legal Foundation)
13             Q.   The court reporter has marked as Adams 2 a
14    document.
15             Do you recognize that?
16             A.   It appears to look like a Twitter feed.
17             Q.   A Twitter feed of the Public Interest
18    Legal Foundation, right?
19             A.   Right.
20             Q.   And there are a few tweets represented in
21    this exhibit?
22             A.   There are.
23             Q.   At the bottom there's one from PILF dated
24    September 29th?
25             A.   I'm sorry?

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                                                                                Page 22
 1             Q.   I'm sorry.           At the bottom there's one from
 2     PILF dated September 29th of 2016?
 3             A.   I can read that.
 4             Q.   Yes.      And it says, "hundreds of
 5     noncitizens on voting rolls in swing state of
 6     Virginia."
 7             A.   It says that.
 8             Q.   Right.        And then there's another tweet,
 9     "We have uncovered one thousand plus noncitizens
10     registered to vote in the swing state of Virginia,"
11     right?     Do you see that?
12             A.   It says that.
13             Q.   And that was on October 3rd of 2016.
14             A.   It says that.
15             Q.   Okay.       So PILF did tweet about the Alien
16     Invasion I report, correct?
17             A.   At the time I didn't have any knowledge of
18     this necessarily.           I don't remember, but it's -- it
19     appears from Exhibit 2 that they were tweeting about
20     the Alien Invasion report.                      I'm sorry.      It appears
21     they were tweeting about the Alien Invasion report.
22                                (Adams Exhibit 3 marked for
23                  identification: Twitter feed from
24                  the Public Interest Legal
25                  Foundation)

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                                                                             Page 23
 1             Q.   The court reporter has handed you, sir,
 2    what's been marked as Adams 3.                      Do you recognize this
 3    document?
 4             A.   I've never seen it before, but it appears
 5    to be a Twitter, a portion of a Twitter feed from the
 6    Public Interest Legal Foundation.                        There's a Twitter
 7    logo on it, so that is probably what it is.
 8             Q.   Yes, it's a copy of PILF's Twitter feed
 9    from May 30th of 2017; is that correct?
10             A.   That's what it says.
11             Q.   And at the bottom of the first page, what
12    would be the first tweet in a series of tweets that
13    day, it shows that PILF tweeted, "Virginia election
14    officials quietly remove 5,556 voters for
15    noncitizenship between 2011 and May of 2017."                       Do you
16    see that?
17             A.   I see that.
18             Q.   Right.      And there's a link there provided
19    to PILF's website, right?
20             A.   It appears that there is a link.
21             Q.   And so there's a series of tweets that
22    day, would you agree, with regard to the Alien
23    Invasion II report?
24             A.   It appears to say that.
25             Q.   You can put that aside.

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                                                                                Page 24
 1             A.   Pardon?
 2             Q.   You can put that aside.                     Thank you.
 3             PILF also posted on the Facebook page of PILF
 4     with regard to the Alien Invasion reports, correct?
 5             A.   I don't have any idea.                    I didn't even -- I
 6     never saw that.
 7                               (Adams Exhibit 4 marked for
 8                  identification: Screenshot of PILF's
 9                  Facebook page)
10             Q.   The court reporter has marked as Exhibit 4
11     a document.      Do you recognize that?
12             A.   I'm holding Exhibit 4.
13             Q.   And it appears to be a screenshot of
14     PILF's Facebook page, correct?
15             A.   I don't know what Facebook looks like.                       I
16     don't use Facebook.
17             Q.   Okay.      But you knew -- you do know that
18     PILF has a Facebook page, correct?
19             A.   No.    I don't use Facebook.                     I testified to
20     that.
21             Q.   Well, you don't need to use Facebook to
22     know how PILF, your organization, promotes its
23     message, correct?
24             A.   I don't understand the question.                       It's not
25     my organization.          I don't own it.

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                                                                              Page 25
 1             Q.   You're the president of it.
 2             A.   Doesn't mean -- it's not my organization.
 3             Q.   As president of PILF, you want to distance
 4     yourself?
 5             A.   Not at all.
 6                  MR. LOCKERBY:             Object to the form.
 7             A.   Your question was confusing.                     It's not my
 8     organization.
 9             Q.   Well, this image of the PILF Facebook page
10     shows a posting on October 3rd, 2016, correct?
11             A.   That's what it says.
12             Q.   And this posting says, "We have uncovered
13     one thousand plus noncitizens registered to vote in
14     the swing state of Virginia."
15             A.   I can read that.
16             Q.   And then there's a link to a Breitbart
17     story; is that right?
18             A.   I can read that it says that.
19             Q.   And PILF also promoted the Alien Invasion
20     II report on its Facebook page, correct?
21                  MR. LOCKERBY:             Object to the form.
22             A.   I don't know.
23                  MR. TEPE:         And what's the basis for the
24     objection?
25                  MR. LOCKERBY:             Use of the word "promoted."

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                                                                          Page 26
 1                              (Adams Exhibit 5 marked for
 2                  identification: Screenshot of PILF's
 3                  Facebook page May 30th, 2017)
 4             Q.   The court reporter has handed you what's
 5    been marked as Exhibit 5.                  It is a screenshot of
 6    PILF's Facebook page from May 30th, 2017, correct?
 7             A.   Well, I can see Exhibit 5.
 8             Q.   Do you have any reason to doubt that this
 9    is a screenshot of PILF's Facebook page from May
10    30th, 2017?
11             A.   I don't dispute your representation that's
12    what this is, but I have no way to know because I've
13    never used Facebook in my life.
14             Q.   Okay.     But this screenshot does show a
15    posting from PILF with regard to the release of Alien
16    Invasion II; is that right?
17             A.   I can read that it says that.
18             Q.   And it says, "Report:                   5,500 plus
19    noncitizens discovered on voter rolls in Virginia,"
20    correct?
21             A.   I can read that it says that on Exhibit 5.
22             Q.   For the Alien Invasion reports, PILF also
23    secured coverage in various print and online media;
24    is that right?
25             A.   Well, I can't speak about PILF, but I can

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                                                                            Page 27
 1     speak personally, and the answer is yes.
 2             Q.   And why can't you, as president of PILF,
 3     speak about PILF?
 4             A.   Well, because I don't have any
 5     recollection of specific instances for PILF, but I
 6     have specific recollections for me.
 7                               (Adams Exhibit 6 marked for
 8                  identification: Email correspondence
 9                  from (topmost) C Adams sent
10                  10/3/2016 PILF-ADAMS-0044021)
11             Q.   The court reporter has marked as Adams
12     Exhibit 6 an email with the Bates 44021.                      Do you see
13     that?
14             A.   I see Exhibit 6.
15             Q.   And you see that's an email from you dated
16     October 3rd, 2016, correct?
17             A.   It's what it says.
18             Q.   And you did send this email, correct?
19             A.   I have no reason to question that I did.
20             Q.   It's to Ms. Phillips, Johnson --
21     Ms. Phillips, Mr. Johnson, Ms. Powell, and
22     Mr. Vanderhulst, correct?
23             A.   I can read that it says that.
24             Q.   And the subject line is, "Important:
25     Breitbart."      Do you see that?

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                                                                                 Page 28
 1             A.   I see that.
 2             Q.   And there's a link to a Breitbart story
 3     that appears to be coverage of Alien Invasion I.
 4     Would you agree with that?
 5             A.   No, I wouldn't, because there's no
 6     content.     It just is a link.                  If you have the -- is
 7     this two pages?          No.      If you have the story that it
 8     links to ...
 9             Q.   Oh, we'll get to that, sir.
10             A.   Then show it to me, and I'll answer your
11     question.
12             Q.   And so my question is:                     Do you have any
13     reason to doubt that this is a link sent by you to
14     the Breitbart story covering the release of Alien
15     Invasion I?
16             A.   Yes.      The reason I have the doubt is
17     because I don't see the story.
18             Q.   And so you see the link dated October 2nd,
19     2016, right?       Do you see that in the link?
20             A.   Where?        Right, the link has 10-2.
21             Q.   Yes, 2016/10/02, correct?
22             A.   It says that.
23             Q.   And then
24     /Virginia-illegal-voting-fraud-coverup.
25             A.   It says that.

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                                                                          Page 29
 1             Q.   Right.       And so do you have reason to doubt
 2     that this is a link to the Breitbart story with
 3     regard to Alien Invasion I?
 4             A.   Well, there's a lot of alien coverup
 5     issues, if you will, going on at this time.                   We
 6     weren't getting records.                We had to sue places.
 7             I mean, I appreciate your commentary for the
 8     record that you make.              It's not on camera.        But you
 9     are making commentary throughout this deposition,
10     whether it's waving your hand at me or turning to
11     co-counsel and sneering, but that's exactly what
12     you're doing.
13                  MR. LOCKERBY:             And laughing and snickering
14     too.
15             A.   Right.       And so to answer your question,
16     there was lots of things going on that this could
17     have involved, that, if you will show me the actual
18     article that this links to, I will be happy to share
19     my thoughts about it.
20             Q.   Sir, I was just looking at my colleague
21     just now and that was about it.
22             A.   Sure.      Is there a question?
23             Q.   So in this email that you sent, why did
24     you put, as the subject, "Important: Breitbart"?
25             A.   I don't have a specific recollection of

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                                                                                    Page 30
 1     why I did that.         Maybe -- I mean, I'm not going to
 2     speculate.
 3                               (Adams Exhibit 7 marked for
 4                  identification: Email correspondence
 5                  from (topmost) C Adams sent
 6                  10/3/2016
 7                  PILF-ADAMS-0006102 - 0006104)
 8             Q.   The court reporter has marked as Exhibit 7
 9     a document with Bates number 6102.                            Do you see that?
10             A.   I see Exhibit 7.
11             Q.   And do you recognize that to be an email
12     that you sent on October 3rd, 2016?
13             A.   It says that.
14             Q.   And so you did send this email, correct?
15             A.   Yeah, this came earlier.                         Exhibit 7 is
16     earlier than Exhibit 6.                So you could have asked me
17     about Exhibit 7 right off the bat, and I would have
18     been happy to answer the question, because I offered
19     some of the explanation you were seeking in your
20     previous questions in this email.
21             Q.   Strike as not responsive.
22             So, Mr. Adams, you sent this email, correct?
23             A.   It's what it says.
24             Q.   That's not my question.                     My question is:
25     You sent this, correct?

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                                                                                 Page 31
 1             A.   I don't have any specific recollection of
 2    sending this email.             Exhibit 7 says it's an email
 3    from me, strangely to me, so I can't explain -- I
 4    sent to it myself.
 5             Q.   Well, isn't your practice to send
 6    materials to a large number of people and putting
 7    their addresses on the bcc line?
 8             A.   I've done that before.
 9             Q.   Okay.     And so this is an email you sent
10    with a link, exact same link from Exhibit 6, to
11    Breitbart story, correct?
12             A.   It appears to be.
13             Q.   And this story, which is also pasted in
14    the body of the email, is titled "Illegal Foreign
15    Voting in Virginia Covered Up by Soros-backed
16    Democratic Officials, Says Report."                            Do you see that?
17             A.   That's what it says.
18             Q.   And so this is the Breitbart story with
19    regard to the release of Alien Invasion I, yes?
20             A.   I don't know.            Let me read it.
21             Do you have one with an author name on it?
22    This refers to the Alien Invasion report.
23             Q.   You wrote, "Folks, a through story on
24    PILF's alien voting report in Virginia.                            Breitbart
25    highlights the Soros link with the people directing

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                                                                          Page 32
 1     the coverup of the alien voter registration and
 2     voting."     Do you see that?
 3             A.   It says that.
 4             Q.   And in the subject line you just copied
 5     the title of the article, is that right, into the
 6     subject line?
 7             A.   I don't know, because I don't have the
 8     article in front of me.                If you want to show me the
 9     actual publication document, I can answer that.                    It
10     appears to be the title, but I can't say that
11     conclusively because I don't see the original
12     article.
13             Q.   Since you were circulating this article,
14     did you think it was a helpful article for PILF?
15             A.   I don't understand the question.
16             Q.   Well, why were you circulating this
17     article?
18             A.   I don't remember.
19             Q.   You don't know why?
20             A.   I answered the question.
21             Q.   You can put that aside.
22                               (Adams Exhibit 8 marked for
23                  identification: Email correspondence
24                  from (topmost) R Reagan sent
25                  10/3/2016

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                                                                          Page 33
 1                  PILF-ADAMS-0040246 - 0040250)
 2             Q.   The court reporter has marked as Exhibit 8
 3    a document with the Bates number 40246.
 4             Do you recognize this?
 5             A.   I see Exhibit 8.
 6             Q.   And do you recognize Exhibit 8 to be
 7    emails that you had with individuals at Fox News?
 8             A.   Well, it says it's from Robert Reagan at
 9    Fox News.
10             Q.   So let's begin with the first email in the
11    chain, which would be on page 3 of the chain.                    Do you
12    see it's a copy of the email that we were just
13    looking at in Exhibit 7?
14             A.   It appears to be.
15             Q.   And so this is, again, an email from you
16    to you forwarding the Breitbart story on Alien
17    Invasion I, correct?
18             A.   Okay.     Could you either reread or re-ask
19    that?     I didn't understand what you were asking.
20             Q.   And so the first email in this chain in
21    Exhibit 8 is the email that you sent on -- that we
22    saw in Exhibit 7, which, again, is an email from
23    yourself to yourself dated October 3rd, forwarding
24    the Breitbart story, correct?
25             A.   Which exhibit?

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                                                                          Page 34
 1             Q.   The previous exhibit, Exhibit 7.
 2             A.   It appears to be.
 3             Q.   And in response to this email that you
 4    sent, you received an email from Queenette Karikari?
 5             A.   It's close enough.                Right.
 6             Q.   How do you pronounce her name?
 7             A.   Queenette.
 8             Q.   Queenette.          And she is with Lou Dobbs
 9    Tonight?
10             A.   Correct.
11             Q.   And so she received the email that you
12    sent.     Presumably she was blind-copied?
13             A.   I don't know.            I mean, that's one
14    possibility.        I wouldn't disagree with that, but I
15    don't know for sure.
16             Q.   And she responds, "Good afternoon,
17    Christian.       Thank you so much for making this work
18    today.     Lou is thrilled to have you joining us."                  Do
19    you see that?
20             A.   I can read that.
21             Q.   Did you appear on Lou Dobbs' program with
22    regard to Alien Invasion I?
23             A.   I don't have a specific recollection that
24    I did.     If you have something that would refresh that
25    recollection, I'd be happy to talk about it.

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                                                                               Page 35
 1             Q.   And in response to -- well, strike that.
 2             So also the email says, "hit time is 7:45 from
 3    the D.C. bureau with Lou here in New York," right?
 4    And so she's trying to set up logistics for an
 5    interview.
 6             A.   Okay.     You asked two questions.                  Which one
 7    do you want me to answer?
 8             Q.   She's trying to set up logistics for an
 9    interview.
10             A.   This is how it normally happens.
11             Q.   So that's yes.
12             A.   Well, I can't speak to what her intention
13    is, but it certainly looks like she's trying to make
14    arrangements.
15             Q.   Okay.     And then you respond with a set of
16    talking points; is that correct?
17             A.   No.    I think what I responded with is
18    quite possibly -- well, I don't know.                          I don't know
19    what these are.
20             Q.   Okay.     So you sent an email back to her in
21    response with a link to the Alien Invasion report; is
22    that right?
23             A.   No, I don't think -- I don't know.                     Okay.
24    It's under a staple.              There's a link.              I don't know
25    what that link is.

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                                                                           Page 36
 1             Q.   And then underneath the link says this is
 2     the Virginia report.
 3             A.   Right, and it says that underneath that.
 4             Q.   And then there are a series of bullet
 5     points, correct?
 6             A.   You could call them that.
 7             Q.   And the first bullet says, "In our small
 8     sample of just eight Virginia counties who responded
 9     to our public inspection request, we found 1,046
10     aliens who registered to vote illegally," correct?
11             A.   It says that.
12             Q.   And then the next sentence says, "These
13     were only the ones that have been discovered as
14     verified 100 percent aliens."                     It says that, right?
15             A.   That's what I'm reading.
16             Q.   What is a verified 100 percent alien?
17             A.   Well, it could be somebody who was removed
18     from the voter rolls as being declared a noncitizen
19     by the Commonwealth of Virginia.
20             Q.   Is that what you're referring to here?
21             A.   I don't remember what I was referring to
22     there.
23             Q.   And then in the fifth bullet you state in
24     the middle, "we show voter registration forms where
25     the aliens lie ..."

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                                                                           Page 37
 1             A.   One, two, three, four, five.
 2             Q.   Are you there?
 3             A.   Not yet.        Right, I'm there.
 4             Q.   "We show voter registration forms where
 5     the aliens lie (and commit federal felonies) and say
 6     they are a citizen."             Do you see that?
 7             A.   That's what it says.                   Describes the
 8     process.
 9             Q.   And this doesn't refresh your recollection
10     as to whether or not you appeared on Lou Dobbs?
11             A.   It doesn't.           There's frequently cancels,
12     sometimes not cancels.
13                               (Adams Exhibit 9 marked for
14                  identification: Illegal Foreign
15                  Voting in Virginia Covered up by
16                  Soros-backed Democratic Officials
17                  with attachment)
18             Q.   The court reporter has marked as Exhibit 9
19     a copy of the October 2nd, 2016 Breitbart article,
20     correct, along with comments on that article?
21             A.   It's 124 pages.              I don't see anything in
22     here that's not part of an article, so it would
23     appear the answer is yes.
24             Q.   So on the first page, the article is
25     entitled "Illegal Foreign Voting in Virginia Covered

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                                                                                Page 38
 1    up by Soros-backed Democratic Officials, says
 2    report," do you see that?
 3             A.   It says that.
 4             Q.   And this is a story that you had
 5    circulated as seen in the previous exhibits, correct?
 6             A.   The headlines match.
 7             Q.   The web address matches?
 8             A.   Right.
 9             Q.   And then you're quoted in this article in
10    the second paragraph, correct?
11             A.   It says that I am quoted.
12             Q.   So you provided an interview to Breitbart.
13             A.   I don't have any recollection of that.
14    This could have been given to Breitbart a variety of
15    different ways.         One is an interview.                    I don't have
16    any recollection of speaking with Neal McCabe.
17             Q.   And then if you turn to the second page,
18    there's blue highlighting.                      Do you understand that to
19    be links?
20             A.   Where are you referring to?
21             Q.   Well, there's a blue highlighted Public
22    Interest Legal Foundation.                      Do you understand that to
23    be a link to your website?
24             A.   Probably that's what that is, but if I had
25    it up on the screen it would be easier to answer your

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                                                                            Page 39
 1    question.
 2             Q.   And then you agree this is -- this entire
 3    story is about the Alien Invasion I report, generally
 4    speaking?
 5             A.   No, I would not agree with that.
 6             Q.   You would not --
 7             A.   I would very much disagree with that.
 8             Q.   So this is -- you don't think this story
 9    is about PILF's Alien Invasion I report?
10             A.   You just changed your question.                   You
11    dropped a word.
12             Q.   Okay.      So yes, I did --
13             A.   Which one --
14             Q.   -- I dropped the word "entire."
15             A.   That's correct.
16             Q.   Yes.      So there are aspects of this story
17    that were not in Alien Invasion I report, correct?
18             A.   Before his appointment by governor,
19                  Democratic Governor Terry McAuliffe,
20                  Cortes was a left-wing operative of
21                  the Virginia Voting Rights
22                  Restoration Campaign within the
23                  left-wing Advancement Project.                    The
24                  project was funded and supported by
25                  George Soros, through his Tides

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                                                                          Page 40
 1                  Foundation Open Society.
 2             And then it goes on to say, one of the top
 3    priorities of the Soros' Advancement Project is to
 4    stop the use of SAVE to purge voter lists.
 5             Those are two things that I don't believe are
 6    in the Alien Invasion report about the priorities,
 7    but there may very well be other things in here that
 8    are not related to the Alien Invasion report.
 9             Q.   Right.      But you provided that information
10    that you just quoted to Breitbart, correct?
11             A.   I don't think so, but if you have a
12    document to refresh my recollection, I'd be happy to
13    discuss it.
14             Q.   At the end of the article, page 4, you are
15    quoted as saying, last sentence, "We name the names
16    of the registered voters removed from the rolls for
17    citizenship problems.              Will DOJ prosecute any of
18    them?"     Do you see that?
19             A.   I see that.
20             Q.   Now if you look to the next page,
21    following this article on Breitbart, at least as of
22    March 14th, 2018 when this document was printed out
23    from their website, there was 1,487 comments.                    Do you
24    see that?
25             A.   I see it says that.

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                                                                          Page 41
 1             Q.   And following the article are those
 2    comments.      There's about -- there's 124 pages here,
 3    correct?
 4             A.   Well, I testified earlier when I was
 5    attempting to --
 6             Q.   Right.
 7             A.   -- I think I already did, a low number for
 8    a Breitbart article, but it's 124 pages printed.
 9             Q.   Do you spend a lot of time on Breitbart?
10             A.   What do you mean by "a lot of time"?
11             Q.   Well, you just said it was a low number
12    for a Breitbart article, which presumes that you have
13    familiarity with how many comments are posted on
14    Breitbart articles, yes?
15             A.   Familiarity, which could be obtained
16    through other ways besides spending time on
17    Breitbart.
18             Q.   Okay.     So how else are you familiar with
19    how many comments get posted to Breitbart?
20             A.   By discussing it with editors of
21    Breitbart.
22             Q.   If you turn to page 2 of 124 --
23             A.   2 ...
24             Q.   -- of 124.
25             A.   So these are two different documents in

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                                                                               Page 42
 1     Exhibit 9 combined into one document?
 2             Q.   For printing, to have it all print out
 3     correctly, yes.
 4             A.   Okay.
 5             Q.   Are you there on page 2?
 6             A.   I'm looking at page 2.
 7             Q.   Third posting from the bottom, someone
 8     posting under the name RINOpoacher.
 9             A.   I am not RINOpoacher.
10             Q.   I didn't ask that.
11             A.   You didn't ask anything.
12             Q.   Right.       I'm just directing you to the
13     RINOpoacher comment.
14             A.   I see it.
15             Q.   Do you see that?                  Okay.      RINOpoacher said,
16     "These are felonies, right?                    Have people been
17     deported or imprisoned?"                "Any noncitizen caught
18     voting should immediately be deported."                        Do you see
19     that?
20             A.   I see someone expressing their opinion.
21             Q.   And do you see the little 60 and up arrow
22     underneath that?
23             A.   I see the word 60 with an arrow.
24             Q.   Right.       And you understand that -- do you
25     understand that to be 60 favorable votes?

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                                                                          Page 43
 1             A.   No.    I don't understand that to be
 2    anything.
 3             Q.   You haven't discussed with Breitbart's
 4    editors how individuals in the comments section get
 5    to vote up or down on various comments?
 6             A.   No.    And, again, you made a commentary
 7    with your expression after my answer, let the record
 8    reflect.      It's not the first time that's happened.
 9             Q.   And --
10             (Crosstalk between counsel)
11                  MR. LOCKERBY:            This is supposed to be the
12    equivalent of a court proceeding, and I don't think
13    in the United States District Court for the Eastern
14    District of Virginia, Alexandria Division, you would
15    be there making the kinds of faces at the witness in
16    view of the judge and jury that you are right now.
17    And it's intended to harass and provoke the witness.
18                  THE WITNESS:           And I'll just let the record
19    reflect every time it happens.
20                  MR. TEPE:         I disagree strongly with the
21    tactic of inserting into the record your subjective
22    viewpoints with regard to how I turn a page or look
23    at my co-counsel.
24                  THE WITNESS:           This wasn't -- my comment
25    wasn't related to either of those options.                     They were

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                                                                                   Page 44
 1     specifically related to the facial -- if I might
 2     finish -- the facial expression you made of
 3     disapproval and dismay at my answer that the camera
 4     did not catch, but I would be happy to put in the
 5     record every time it happens.
 6                  MR. TEPE:          And I am going to object to the
 7     imposition into the record your subjective
 8     commentary, which is not responsive to my questions.
 9             Your position is noted.                    I would like to
10     continue this deposition with the witness providing
11     responsive answers to the questions.                           Can we all
12     agree to that, counsel?
13                  MR. LOCKERBY:              We can agree to that, and
14     it would proceed much more smoothly if counsel
15     wouldn't engage in the kinds of antics that no
16     federal judge would tolerate, especially not in this
17     court.
18             Q.   If you turn to page 8 of 124, do you see
19     third from the bottom a comment by EOD?
20             A.   No.
21             Q.   I'm sorry.           Third from the top.              My
22     apologies.      EOD, third from the top.
23             A.   I see something from EOD.
24             Q.   Yes.      He said, "Make illegally voting
25     punishable by death and watch people take notice of

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                                                                              Page 45
 1     the laws in place for voting."                      Do you see that?
 2             A.   I can read it says that.
 3             Q.   Okay.      And there is a 92 and an up arrow,
 4     right?
 5             A.   92 and a what?
 6             Q.   Up arrow.
 7             A.   It says 92 underneath it.
 8             Q.   Yes, and next to the 92 is an up arrow.
 9             A.   There's an arrow.
10             Q.   Pointing up, right?
11             A.   Yeah, but I don't have any idea what that
12     is.
13             Q.   I understand.
14             A.   I mean, I don't understand your question.
15     That's disgusting.           What does it have to do with me?
16             Q.   If you turn to page 15 of 124, at the top
17     there's a posting from NeverHillary?
18             A.   Yeah.      I'm not NeverHillary.
19             Q.   I didn't ask you if you're NeverHillary.
20     Do you see that posting?
21             A.   I see a posting from NeverHillary on --
22             Q.   And NeverHillary posts, "I'm okay with the
23     executions."       Do you see that?
24             A.   I can read it says that.
25             Q.   Okay.      And then six spots down do you see

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                                                                             Page 46
 1    it states, from a Snailmailtrucker, "execute them and
 2    it will stop immediately ... are you willing to feed
 3    them and pay for their medical for the rest of their
 4    miserable lives?          F them!"              Do you see that?
 5             A.   It says that.
 6             Q.   And then there's a 13 with a up arrow
 7    underneath.
 8                  MR. LOCKERBY:            I would just register a
 9    standing objection to the "up arrow" question.
10             A.   There's a 13 written down.
11             Q.   And next to it is --
12             A.   There's an arrow.
13             Q.   -- arrow pointing up.
14             A.   Yeah.     I've testified I don't know what
15    that is.
16             Q.   If you turn to page 18 of 124, the third
17    comment from the bottom, Sons of Liberty, it says,
18    "Any sort of voting fraud should carry capital
19    punishment.       The problem is that we have been
20    completely infiltrated.                Top to bottom."          Do you see
21    that comment?
22             A.   I can read that it says that.
23             Q.   And then underneath there's a comment from
24    bobruark, who says, "They will only notice if they
25    are actually put to death not just talked about it."

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                                                                              Page 47
 1    Do you see that?
 2             A.   I can read that it says that.
 3             Q.   Would you agree that the comments that
 4    we've just read are threatening?
 5                  MR. LOCKERBY:            Object to the form.
 6             A.   That's an interesting question that
 7    carries a lot of philosophical things.                         They are not
 8    pleasant, by any stretch.                  I would find them to be
 9    disgusting and sort of the thing that I personally
10    have comments made about me like this all the time,
11    not the least of which are some of the articles that
12    your PR firm helped place in this litigation in
13    places like Mother Jones and TP and Muckraker.
14             I had comments very similarly that were
15    horrible, but you -- but I personally found them
16    inconvenient.        And so when you ask me the question,
17    do I find these threatening, I find them familiar
18    because I have them made about me.
19             And so the question becomes are they genuinely
20    threatening.        I personally find them threatening but
21    not a genuine threat when they are made toward me.
22             In other words, I've never called the police
23    when these sorts of comments are made about me.                        When
24    your PR firm placed those articles and those comments
25    that were made about me in the coverage of this

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                                                                             Page 48
 1    lawsuit, I never called the police regarding any of
 2    those threatening comments.
 3             Now this last one, "any sort of voting fraud
 4    should carry capital punishment, the problem is we've
 5    been completely infiltrated top to bottom," that one
 6    actually seems to be an expression of an opinion
 7    rather than a threat, because it is somebody's view
 8    toward public policy.              Obviously very extreme and one
 9    with which I would not agree, but there's nothing in
10    that particular one that appears to be threatening.
11             "They will only notice if they are actually
12    put to death, not just talked about it," that's a
13    little bit different than Sons of Liberty because
14    they are actually seemingly advocating an action.
15             And so is it threatening in its nature yes,
16    but is it a genuine threat?                     I'd say no because I
17    don't think I've ever been actually put to death
18    after those articles about this lawsuit appeared.
19    And so ultimately you have to decide what's a real
20    threat and what isn't a real threat.
21             And some of these are horrible, horrible
22    comments, ones that I would never make and ones that
23    I would disavow if I had the time to chase them down
24    every day.       But are they threatening to a particular
25    person?      No, I don't think they are.

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                                                                          Page 49
 1                  MR. LOCKERBY:            And I'm just going to
 2    register a standing objection to this line of
 3    questioning to save time because the only relevant
 4    issues in this case would be the publications, not
 5    third-party publications and comments.
 6                              (Adams Exhibit 10 marked for
 7                  identification: Email correspondence
 8                  from (topmost) K Phillips sent
 9                  4/5/2016 with attachment
10                  PILF-ADAMS-0038892 - 0038895)
11                  MR. TEPE:         The court reporter is marking
12    Exhibit 10, a document with the Bates number 8 -- I'm
13    sorry -- 38892.
14             Q.   Do you recognize this document?
15             A.   No, not right now.
16             Q.   The first email in this chain is from you
17    dated April 5th, 2016 to Steve Bannon.
18             A.   That's what it says.
19             Q.   And it's forwarding a press release about
20    a lawsuit against the city of Philadelphia; is that
21    correct?
22             A.   Appears to.
23             Q.   And Mr. Bannon responds to you asking,
24    "what does this mean"; is that right?
25             A.   It says that.

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                                                                              Page 50
 1             Q.    And then you provide an answer that same
 2    day, and I want to direct your attention to the
 3    second sentence where it says, "we are about to sue
 4    three other large urban areas in swing states for the
 5    same problem."         Do you see that?
 6             A.    It says that.
 7             Q.    What are the swing states that you are
 8    referring to?
 9             A.    I'm not going to reveal that.                   That's
10    privileged.       You're asking for work product.
11             Q.    Why did you refer to those as swing
12    states?
13             A.    Again, I'm not going to answer your
14    questions about these potential cases, and I don't
15    recall specifically what swing states were.
16             Q.    Mr. Bannon responds, "Can we play this
17    up???"     Do you see that?
18             A.    He says that or the email reflects him
19    saying that.
20             Q.    And then you respond, "sure, or you can
21    wait for when we sue the next large urban area in a
22    key swing state."
23             A.    The email says that.
24             Q.    Then it says, "coming in the next three
25    weeks."       Do you see that?

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                                                                                Page 51
 1             A.   It says that.
 2             Q.   Was that a reference to your lawsuit
 3    against the City of Alexandria?
 4             A.   I don't know.
 5             Q.   You did sue the City of Alexandria in
 6    April, didn't you?
 7             A.   I don't -- I mean, possibly.                      I'm not
 8    disagreeing with you.              I just don't know.
 9             Q.   And then the last sentence you say here
10    is, "big cities that turn states one way or another
11    in presidential elections."                     Do you see that?
12             A.   It says that.
13             Q.   What was the import of adding that last
14    sentence?
15             A.   Because that is what differentiates media
16    interest in a lawsuit versus media interest in a case
17    such as ACRU vs. Jefferson Davis County Mississippi,
18    for which there was no interest in covering that
19    case.
20             Q.   But your sentence is not about coverage;
21    it's about turning states one way or another in
22    presidential elections, correct?
23             A.   My answer remains the same.                      What
24    generates media interest in litigation, as many
25    people know, is places that create media interest,

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                                                                                  Page 52
 1    and, as I said a moment ago, big cities create far
 2    more media interest in cases than a case such as ACRU
 3    vs. Jefferson Davis County Mississippi, a case which
 4    I brought and am very familiar with the level of
 5    media interest in that case.
 6             Q.   Mr. Bannon responds, "let's wait, but get
 7    to us when you need us to go large."                           Do you see
 8    that?
 9             A.   It says that.
10             Q.   And then you forwarded his response to
11    folks internally at PILF, correct?
12             A.   There is an email to people at PILF
13    forwarding the Bannon email.
14             Q.   And in that email you quote, "when you
15    need us to go large," closed quote.
16             A.   That's what it says.
17             Q.   Do you know why you quoted that portion of
18    his email?
19             A.   Right.      Yes, I do.
20             Q.   Okay.     Why?
21             A.   Because it was Mr. Bannon volunteering to
22    cover whatever it is we were referring to.
23             Q.   Then in the next paragraph, I think it's
24    the fourth sentence in the email says, "but I'm
25    grooming them."         Do you see that?

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                                                                              Page 53
 1             A.   No.    Where?        "But I'm grooming them for
 2    something down the road."
 3             Q.   "-- VA, NC or FL."                I'm sorry.
 4             A.   Go ahead.
 5             Q.   "When Bannon," quote, "goes large," closed
 6    quote, "he goes really large."                      Do you see that?
 7             A.   Not yet.
 8             Q.   The sentence right after "VA, NC or FL."
 9             A.   Right, I see that.
10             Q.   VA, NC or FL, are those swing states?
11             A.   You shouldn't have this document.                  This
12    should be clawed back, this portion at least, and I'm
13    not going to answer any questions about it.                      That
14    should have been redacted.
15                  MR. TEPE:         Counsel, do you want to go off
16    the record?
17                  MR. LOCKERBY:            Not particularly, but if
18    you want to we can.
19                  MR. TEPE:         Why don't we go off the record.
20                  MR. LOCKERBY:            Okay.
21                  VIDEO SPECIALIST:                 We are off the record,
22    10:17.
23             (Proceedings recessed)
24                  VIDEO SPECIALIST:                 We're back on the
25    record, 10:37.

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                                                                          Page 54
 1     BY MR. TEPE:
 2             Q.   Mr. Adams, before the break we were
 3     discussing the present exhibit in front of you,
 4     Exhibit 10, and you wanted certain information to be
 5     redacted, correct?
 6             A.   More or less.             I think what happened was I
 7     said I wasn't going to testify about certain
 8     information that should be redacted.
 9             Q.   Okay.      And my understanding is that the
10     identity of the jurisdictions or states listed is
11     what you would like to have redacted; is that right?
12             A.   Correct.
13             Q.   Okay.      So what I'll do is, I will ask
14     questions that do not pertain to the identity of
15     those jurisdictions, fair enough?
16             A.   Fair enough.
17             Q.   In the statement that says, "when Bannon
18     goes large, he goes really large," you saw that,
19     right?
20             A.   It says that.
21             Q.   Do you consider Breitbart's coverage of
22     Alien Invasion I to be an example of going large?
23             A.   Not really.
24             Q.   What do you consider to be an example of
25     Breitbart going large?

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                                                                          Page 55
 1             A.   Pigford.
 2             Q.   What is that?             I'm sorry?
 3             A.   P-I-G-F-O-R-D.
 4             Q.   Okay.      But not -- but not their four-page
 5     coverage of the Alien Invasion I report?
 6             A.   That's my testimony.
 7             Q.   You can put this document aside.
 8                               (Adams Exhibit 11 marked for
 9                  identification: "Watchdog claims 5k
10                  Noncitizens Registered to Vote in
11                  Virginia" with attachment)
12             Q.   The court reporter has marked as Adams
13     Exhibit 11 a copy of another Breitbart article.
14     Would you agree with that?
15             A.   Exhibit 11, no, I would not agree with
16     that.    It's more than a copy of a Breitbart article.
17             Q.   It's a copy of a Breitbart article plus
18     comments to that article.
19             A.   It appears to be that.
20             Q.   And this article is titled "Watchdog
21     Claims 5k Noncitizens Registered to Vote in
22     Virginia"?
23             A.   That's what the headline says.
24             Q.   It's dated May 30th of 2017?
25             A.   That's what the article says.

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                                                                          Page 56
 1             Q.   And it contains coverage of PILF's Alien
 2    Invasion II report; is that right?
 3             A.   I'm trying to find where it says that.
 4             Q.   Well, there's a --
 5             A.   Oh, there's a picture on the third page.
 6             Q.   Right.      This is -- they've actually posted
 7    the content of at least some of the report, correct?
 8             A.   Where do you see that?
 9             Q.   Well, where you see the image, right above
10    it is Alien Invasion II by Public Interest Legal
11    Foundation on S-C-R-I-B-D, SCRIBD.
12             A.   It says that.
13             Q.   And at SCRIBD -- you post documents on
14    SCRIBD, right?
15             A.   Right, but they didn't post the content at
16    Breitbart, it doesn't look like, but I don't know.
17    It doesn't appear that from the paper copy.                    It
18    appears they posted a link to the content.                     There's a
19    difference.
20             Q.   Fair enough.           And also there's images of
21    voter registration forms, two voter registration
22    forms in the article?
23             A.   Two, right.
24             Q.   And these two voter registration forms are
25    for individuals who checked no on their voter

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                                                                                  Page 57
 1    registration form to the answer, "Are you a citizen
 2    of the United States of America?"
 3             A.   Well, it's more than that.                       It's voter
 4    registration forms of individuals who checked no that
 5    they were citizens of the United States of America
 6    and yet were still registered to vote in Virginia.
 7             Q.   Right.      And you, in Alien Invasion II,
 8    found 40-some odd examples out of 700 voter
 9    registration forms that you looked at, correct?
10             A.   I didn't look at any voter registration
11    forms.
12             Q.   You can put this document aside.
13             You recall that PILF secured coverage in other
14    media besides Breitbart, correct?
15             A.   If you have something to refresh my
16    recollection, I can talk about it.                         I'm sure we did,
17    but I don't have any specific recollection.
18             Q.   I can provide you with a couple of
19    examples.
20                              (Adams Exhibit 12 marked for
21                  identification: Email correspondence
22                  from (topmost)
23                  adams@electionlawcenter sent
24                  6/2/2017 PILF-ADAMS-0014964)
25             Q.   The court reporter has marked as Exhibit

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                                                                          Page 58
 1    12 a document with the Bates number 14964.                     Do you
 2    see that?
 3             A.   14964, Exhibit 12, I have that.
 4             Q.   And it is an email from you dated June
 5    2nd, 2017?
 6             A.   It says that that's what it is.
 7             Q.   And the subject line is "Report: More than
 8    5,000 Noncitizen Voters Purged From Rolls in VA | Fox
 9    News Insider."         Do you see that?
10             A.   I read that as the subject header.
11             Q.   And then there's a link to a Fox News
12    story, correct?
13             A.   There's a link after that.
14             Q.   Right.      And this is a link to coverage of
15    the Alien Invasion II report, correct?
16             A.   If you show me the story, I can answer
17    that.     I can't answer that from Exhibit 12.                 There's
18    a chance it is, there's a chance it isn't, but if you
19    have the actual document, I can answer questions
20    about it.
21             Q.   So you think there's a chance that the
22    linked story, which has a title, "More than 5,000
23    Noncitizen Voters Purged from Rolls in VA," is not
24    about Alien Invasion II?
25             A.   That wasn't my testimony.

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                                                                              Page 59
 1             Q.   I'm trying to clarify your testimony.                    Is
 2    that your testimony?
 3             A.   My testimony was I can't answer that
 4    without seeing the document.                    There is some chance
 5    that this is a derivative story that never mentions
 6    Alien II.      That's how the media works.                     That there
 7    can be a story that mentions the problem but not the
 8    source of discovery of the problem.
 9             So it would be easier to answer your question
10    if you gave me a copy of the linked story.
11                              (Adams Exhibit 13 marked for
12                  identification: Email correspondence
13                  from (topmost) L Churchwell sent
14                  5/30/2017 PILF-ADAMS-0046157)
15             Q.   The court reporter has marked as Exhibit
16    13 a document with the Bates number 46157.                         Do you
17    see that?
18             A.   Yeah, I see that document.
19             Q.   Do you recall forwarding an article from
20    the Daily Caller or a link to an article on the Daily
21    Caller May 30th, 2017?
22             A.   No.
23             Q.   But this document reflects that you sent
24    an email on May 30th to Logan Churchwell, correct?
25             A.   That's what the document reflects.

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                                                                             Page 60
 1             Q.   And in the email you sent a link to a
 2    Daily Caller article titled "Virginia booted 5,556
 3    noncitizens from voter rolls, report says."
 4             A.   Okay.     You're reading the link on Exhibit
 5    13, you're not reading the headline, and that's what
 6    the document says.
 7             Q.   You can put that aside.                    Actually you ask
 8    in the subject line, "What's with Pickett?"                       And then
 9    in the body you say, "What's up with her?"                       Did you
10    have a problem with this article?
11             A.   I testified I don't have a specific
12    recollection of this particular article.
13             Q.   PILF also promoted the Alien Invasion
14    reports on TV, correct?
15                  MR. LOCKERBY:            Object to the form.
16             A.   I don't understand what you mean by PILF
17    promoted.      I --
18             Q.   PILF discussed the Alien Invasion reports
19    on TV, correct?
20             A.   Well, it wouldn't surprise me that
21    somebody who works at PILF discussed the Alien
22    Invasion reports on TV.                But if you have a specific
23    example you want me to talk about, perhaps you could
24    either reference it or refresh my recollection with a
25    document.

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                                                                          Page 61
 1             Q.   And you have appeared on TV to discuss the
 2    Alien Invasion reports, correct?
 3             A.   I think we already covered that, didn't
 4    we?    I was on Lou Dobbs.               You showed me a document
 5    that refreshed my recollection regarding an
 6    appearance that probably occurred on Lou Dobbs,
 7    although it was left open whether or not it actually
 8    occurred.      It would not surprise me that I did.
 9             Q.   Do you recall appearing on Fox & Friends
10    to provide an exclusive unveiling of Alien Invasion
11    I?
12             A.   Exclusive unveiling?                  No, I don't.
13             Q.   Do you recall appearing on Fox & Friends
14    to discuss Alien Invasion I?
15             A.   Probably.         That, I think, but I don't
16    remember when that was, but I have some recollection
17    of appearing on Fox & Friends to discuss Alien I.
18    Whether or not it was exclusive, I don't -- I would
19    disagree with that.
20             Q.   Right, because we saw there was coverage
21    of Alien Invasion I on Breitbart, for example, so it
22    wouldn't be exclusive.
23             A.   Well, "exclusive" is a term of art in the
24    media that I'm not sure you're asking a question that
25    reflects the usage of the term in an accurate way.

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                                                                               Page 62
 1     So I don't understand the question.
 2             Q.   On May 30th, 2017, when Alien Invasion II
 3     was released, you appeared on Tucker Carlson Tonight
 4     on Fox News; is that right?
 5             A.   I don't know.
 6                               (Adams Exhibit 14 marked for
 7                  identification: Screenshots re Fox
 8                  News May 30, 2017).
 9                  MR. TEPE:         The court reporter has marked
10     as Exhibit 14 printouts from a website that reflect
11     an appearance by Mr. Adams on Tucker Carlson's
12     program on May 30th, 2017.
13             Q.   Do you agree with that?
14             A.   No, I don't.
15             Q.   What do you disagree with?
16             A.   The transcript.              I found a number of
17     nongrammatical and implausible things, so I take
18     issue with the transcript.
19             Q.   Okay.      But the question is, to refresh
20     your recollection, sir, does this refresh your
21     recollection that you appeared on Tucker Carlson's
22     program on May 30th of 2017?
23             A.   Right, and I've appeared on his show
24     multiple times.         So the document purports -- and I
25     don't know what the source of this is.                        This is

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                                                                          Page 63
 1    not -- I don't know where this comes from.                     There's
 2    like a University of Virginia logo at the top middle
 3    of the screenshot.
 4             So I don't know what -- what sort of document
 5    this is ultimately.             It's some kind of screen capture
 6    and attempt at doing a transcript.
 7             (Video clip played)
 8             Q.   We've just played a clip of your
 9    appearance on Tucker Carlson, would you agree?
10             A.   It appears to be that.
11             Q.   And that's you speaking right there?
12             A.   It is.
13                  MR. TEPE:         We're going to provide the
14    court reporter and mark as Exhibit 14-A a copy of
15    this clip.
16                              (Adams Exhibit 14-A marked
17                  for identification: Video clip)
18                  MR. LOCKERBY:            For the record, will the
19    entire interview be the clip or just the part that
20    was displayed?
21                  MR. TEPE:         The entire interview.          We just
22    want Mr. Adams to authenticate that, yes, he did
23    appear on Tucker Carlson's program, and that this is
24    indeed him.
25                  MR. LOCKERBY:            We would stipulate to that.

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                                                                                Page 64
 1                  MR. TEPE:          Okay.
 2             Q.   Mr. Adams, in preparation for your
 3    appearance on Mr. Carlson's program at that time, do
 4    you recall asking your team to find voter
 5    registration forms with outlandish names?
 6             A.   Oh, I sure do.              And there's a reason for
 7    that.
 8                               (Johnson Exhibit 25
 9                  previously marked for identification
10                  and referenced herein: Email
11                  correspondence from (topmost) N
12                  Johnson sent 5/26/2017
13                  PILF-ADAMS-000770 - 0000771)
14                  MR. TEPE:          I'm handing the witness what
15    has been previously marked as Johnson Exhibit 25.
16             Q.   Do you recall this email chain?
17             A.   Yep.
18             Q.   It begins with an email from you May 26th,
19    2017 to Tucker Carlson.                 Do you see that?
20             A.   That's what it says.
21             Q.   And you sent him an embargoed release on a
22    report we are putting out on Tuesday.                           That was Alien
23    Invasion II, correct?
24             A.   It most likely was.
25             Q.   And then you have a bunch of bullets

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                                                                              Page 65
 1    underneath the words "Key Findings"?
 2             A.    Well, I'm not sure where these came from.
 3    These might have been from the report.                         I don't know
 4    for sure.
 5             Q.    The Key Findings.
 6             A.    I just said I don't know where they came
 7    from.     They might have been from the report.                      They
 8    might have been quoting the report, but it's on the
 9    document, Johnson 25.
10             Q.    And then you got a response from
11    Mr. Carlson's booker; is that right?
12             A.    Where do you see that?
13             Q.    Kelly McNally, senior booker, Tucker
14    Carlson Tonight.
15             A.    Right, 5:40, it says that.
16             Q.    And then you forwarded this internally and
17    asked, "can you get me a few pages of just the screen
18    captures of some no checkboxes?"                        Do you see that?
19             A.    It says that.
20             Q.    You said, "pick ones with outlandish
21    foreign names, particularly Middle Eastern, if they
22    exist."       Right?
23             A.    That's what it says.
24             Q.    Why did you want your team to pick
25    outlandish foreign names?

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                                                                             Page 66
 1             A.   Because it starkly illustrates the defect
 2    in the existing voter registration system in Virginia
 3    and generally across the country with the honor
 4    system of election registrars not checking
 5    citizenship.
 6             If you were to look at Adams Deposition
 7    Exhibit 11 from today, the Breitbart article, there's
 8    a perfect example to answer your question.
 9             And on that article there is a copy of a voter
10    registration application with a name that I think
11    would qualify here, and that is why this is
12    important, and it's critically important actually, is
13    you need to remember that these particular -- should
14    we stop or -- I'm sorry.
15             Q.   No, no.
16             A.   These particular voter registration forms
17    are almost universally entered by hand.                        So there's
18    an election official who is entering these voter
19    registration forms by hand.                     The person who is
20    entering them by hand also has the obligation of
21    ensuring that the form is filled out correctly.                       If
22    you were to look at Adams Deposition Exhibit 11, you
23    see a perfect example of what I'm trying to point out
24    and ask for.
25             And here you have a voter registration name of

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                                                                          Page 67
 1    an individual that I cannot even pronounce.                    It
 2    appears to be Malaysian, which is exactly, by the
 3    way, what I was really asking for here.
 4             And every single time that that voter
 5    registration official keys in a letter, if their eye
 6    would only go up two degrees on the form or perhaps
 7    an inch or less, when they were typing the form in
 8    for Adams Exhibit 11 that's referenced and shown,
 9    which is Myagmarradnaa Batbold, it's an extremely
10    long, foreign name that is very unfamiliar to most
11    Americans, and at any one of those keystrokes, had
12    the election official merely glanced up a quarter
13    inch, they would have seen, "Are you a citizen of the
14    United States of America?" and the answer of
15    Myagmarradnaa Batbold was "no" in Adams Exhibit 11,
16    and at that point this person should have never been
17    registered to vote.
18             So if you can produce voter registration
19    forms, as I asked for, of different types of names
20    that would be unfamiliar to the election official who
21    was hand keying in the name, it would be a greater
22    illustration of the failure of the system to register
23    the voter who explicitly marked, no, they are not a
24    citizen of the United States, as this particular
25    election official did.

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                                                                              Page 68
 1             And, by the way, that logic, I think, is one
 2    that is shared by common sense Americans who may have
 3    been viewing the Tucker Carlson Show, and they could
 4    see the voter registration forms as problematic.                        And
 5    I wouldn't be surprised if this particular form from
 6    Myagmarradnaa Batbold was given to the Carlson show.
 7             Q.   Alien Invasion II, the scope of Alien
 8    Invasion II, was not limited to those individuals who
 9    checked no on the voter registration form to the "Are
10    you a citizen of the United States?" question,
11    correct?
12             A.   That's incorrect.                 It actually was limited
13    to that because election officials had told us that
14    you don't get on the voter registration noncitizen
15    declared -- strike that.
16             It actually is incorrect because election
17    officials told us you do not get on the declared
18    noncitizen cancellation list unless at some point you
19    answered no to the citizen checkbox question.                        So I
20    very much disagree with your question.                         It's wrong.
21             Q.   Your -- strike that.                  In Alien Invasion II
22    you looked at over 700 voter registration
23    applications, correct?
24             A.   Well, I personally did not, no, that's not
25    correct.

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                                                                               Page 69
 1             Q.   PILF looked at over 700 voter registration
 2    applications, correct?
 3             A.   Well, that was a question for last
 4    Thursday.
 5             Q.   PILF -- you're the president of PILF,
 6    correct?
 7             A.   Right.
 8             Q.   Yes.      And you worked on the Alien Invasion
 9    II report.
10             A.   I didn't work on that part of it, no, I
11    did not.
12             Q.   You didn't read it and approve its
13    release?
14             A.   That's a different question you're asking
15    me.
16             Q.   My question, sir, is:                    It is true that
17    PILF reviewed over 700 voter registration
18    applications, correct?
19             A.   And I answered you.                  I don't know.
20             Q.   And of those 700 plus voter registration
21    applications, only 40 something showed individuals
22    checking the "are you a citizen" box, no, such as the
23    ones that you provided to the Tucker Carlson Show?
24             A.   No, I disagree completely because they
25    would not have ended up on the declared noncitizen

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                                                                           Page 70
 1    list if at some point they hadn't marked the citizen
 2    checkbox no.        There's absolutely no way that anybody
 3    could end up on that list, according to what election
 4    officials told me, unless at some point in the
 5    process they testified under oath on a voter
 6    application form under penalty of perjury that they
 7    were not a citizen of the United States.
 8             Q.   Was the goal of providing these voter
 9    registration applications on -- or images -- on
10    Tucker Carlson's show to get his viewers outraged?
11             A.   Our goal was to exercise our First
12    Amendment right to illustrate a problem in the system
13    that only the most unreasonable people would disagree
14    with is a problem, and that the vast majority of
15    Americans agree is a problem, and federal law bans,
16    which is the involvement of foreign nationals in U.S.
17    federal elections.
18             And so the goal on the Tucker Carlson Show was
19    to starkly illustrate defects in the system that is
20    allowing people who are not Americans to vote in
21    American elections.             That was the goal.
22             Q.   The individual that you just testified
23    about who you thought was Malaysian, such names are
24    not representative of the names listed in the
25    Virginia cancellation reports.                      You would agree with

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                                                                          Page 71
 1    that, correct?
 2             A.   I don't understand what you're talking
 3    about.     Representative?             He's not multiply listed.
 4             Q.   Right.      But you said that this
 5    individual's name would key election officials to the
 6    fact that this person was probably not a citizen.
 7             A.   That's not what I testified to.
 8             Q.   Okay.
 9             A.   If you'd like, I'll clarify it so you
10    understand this clearly.
11             Q.   Certainly.
12             A.   What I testified to was the longer the
13    name and the less familiar with the name, you -- you
14    cranked in there would key them in to being a
15    noncitizen.       That's not what I testified to.
16             What I testified to was the longer the name,
17    the more time the election official had to glance
18    less than an inch up on the form and see.
19             So this name provided an election official
20    with ample opportunity to do their job correctly and
21    look up at the "are you a citizen question," which is
22    marked no, and to never have allowed this person to
23    get on the rolls.           It is a classic example of how the
24    system is totally, completely broken.
25             Q.   So is it your testimony that it's not --

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                                                                                 Page 72
 1    strike that.
 2             Is it your testimony that the length of the
 3    name should provide the election officials an
 4    indication as to whether or not they're a citizen?
 5             A.   Yes, and let me explain why.                     First of
 6    all, the length of the name, most names that election
 7    officials see are shorter than the one in Adams
 8    Exhibit 11 that is referenced in the exhibit.                         So
 9    that's the first part.
10             But the second part is the length of the name,
11    every single one of those letters provides a
12    keystroke, and every single one of those letters
13    involving a keystroke is an opportunity to glance up.
14    It is a more time spent on the application.
15             So the longer the name obviously provides an
16    opportunity for the election official to do the job
17    right, which in this particular instance they did not
18    do.
19             Q.   Is it also your testimony that, if the
20    name is unfamiliar to the election official, that
21    should also provide an indication as to their
22    citizenship?
23             A.   Unfamiliar is not the keyword.                    The
24    correct -- the correct characterization of my
25    testimony is foreign.              And common sense would show --

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                                                                            Page 73
 1    some might not like to hear this, but it's
 2    commonsensical -- that, if a name is incredibly
 3    unfamiliar to the election official, it might clue
 4    them in as a matter of common sense to glance at the
 5    "Are you a citizen of the United States?" checkbox,
 6    like on Deposition Exhibit 11, that was marked no,
 7    and so if a name is not familiar, then it is not a
 8    controversial characteristic of human behavior to
 9    look at the question on the form that relates to
10    whether or not you're a U.S. citizen.
11             Q.   The exhibit we were just looking at,
12    Johnson 25 --
13             A.   Johnson 25?          Right, Johnson 25.
14             Q.   When you were asking for folks at PILF to
15    pick ones with outlandish foreign names, you said,
16    "particularly Middle Eastern, if they exist."                      Do you
17    see that?
18             A.   It says that.
19             Q.   Why did you want Middle Eastern names?
20             A.   They tended to be the longest.                   The only
21    names that I've seen that are longer than Middle
22    Eastern names are Malaysian names, which I think
23    Deposition Exhibit 11, actually the one I've been
24    quoting, I think that is a Malaysian name.                       I did not
25    have confidence that my staff would be able to

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                                                                           Page 74
 1     differentiate between a Malaysian name and a
 2     non-Malaysian name, but I knew they would be able to
 3     differentiate between a Middle Eastern name and a
 4     non-Middle Eastern name.                And on top of that, Middle
 5     Eastern names are probably the longest in the entire
 6     option of long names in the world.
 7             Q.   Are there any other aspects of a person's
 8     name that you believe should provide election
 9     officials with clues as to citizenship?
10                  MR. LOCKERBY:             Object to the form of the
11     question, misstates the witness's testimony.
12             A.   "Any other aspects" ... I mean, I think
13     I've testified to two of them.
14             Q.   Right.       And so is there a third?             I'm just
15     trying to understand.
16             A.   There could be.
17             Q.   Is there any other aspects sitting here
18     today that you believe provide an indication as to
19     citizenship?
20             A.   Well, I didn't say it provided an
21     indication as to citizenship.                     You're, once again --
22             There are aspects of the names that provide an
23     indication to the election official that they ought
24     to look at whether or not the citizenship checkbox
25     was filled out, yes, that's -- that's what my

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                                                                          Page 75
 1    testimony is.        It's a moment in the administrative
 2    process that has failed at least in one circumstance,
 3    and, as we now know around the country, in many, many
 4    circumstances.
 5             And so the name is a great starting point
 6    to -- to carefully scrutinize the application, which
 7    should have been done in the first place but
 8    obviously is not always done.
 9             Q.   On October 3rd, 2016 you were interviewed
10    by Dana Loesch on the BlazeTV; is that right?
11             A.   I don't know.
12                              (Adams Exhibit 15 marked for
13                  identification: YouTube screenshot
14                  from theblaze "Christian Adams Joins
15                  Dana")
16             Q.   The court reporter has marked as Exhibit
17    15 a printout from YouTube.                     Does this refresh your
18    recollection as to an appearance with Ms. Loesch?
19             A.   It doesn't because I've appeared on her
20    show many times.          I'm not disputing the fact that
21    that is me on Exhibit 16, but about the specific
22    appearance, it doesn't refresh my recollection other
23    than there's a good chance that it occurred.
24             Q.   This document, which, again, is a printout
25    from YouTube, indicates BlazeTV, on October 3rd,

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                                                                                   Page 76
 1     2016, "Christian Adams joins Dana," correct, that's
 2     what it says there?
 3             A.   I don't see that.                 Okay.          Right, there it
 4     is.
 5             (Video clip played)
 6             Q.   We just played a clip of your appearance
 7     on Ms. Loesch's program.                Do you recognize yourself
 8     there on the screen?
 9             A.   Right.
10             Q.   Do you have any reason to doubt that you
11     appeared on her program to talk about the Alien
12     Invasion I report?
13             A.   No.
14             Q.   Thank you.          We will move this as Exhibit
15     15-A.
16                               (Adams Exhibit 15-A marked
17                  for identification: Video clip)
18             Q.   You've also made a number of radio
19     appearances, correct?
20             A.   I've made hundreds of radio appearances.
21             Q.   And in some of those appearances you spoke
22     about the Alien Invasion reports, correct?
23             A.   Probably, but not necessarily.                        If you
24     have a specific one to refresh my recollection, I'd
25     be happy to talk about it.

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                                                                                     Page 77
 1             Q.   You appeared on the John Fredericks Show
 2    on June 1st, 2017 to talk about Alien Invasion II; is
 3    that right?
 4             A.   I don't know who John Fredericks is.                         I
 5    can't tell you.         I have no recollection of who John
 6    Fredericks is.
 7                              (Adams Exhibit 16 marked for
 8                  identification: YouTube screenshot
 9                  John Fredericks Show)
10             Q.   The court reporter has marked as Exhibit
11    16 a printout also from YouTube indicating an
12    appearance by you on The John Fredericks Show.                             Does
13    this refresh your recollection?
14             A.   No, it doesn't.              I don't know who John
15    Fredericks is.         I'm sorry.
16             Q.   The John Fredericks Show airs on multiple
17    radio stations in Virginia.                     Do you recall that?
18             A.   No.
19             (Video/audio clip played)
20             Q.   We're playing a clip of your appearance.
21    Does this refresh your recollection?                           Does this
22    refresh your recollection of appearing on the John
23    Fredericks Show?
24             A.   It doesn't, but it refreshes my
25    recollection of giving the article to someone at

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                                                                          Page 78
 1    Skadden Arps who got it placed in the Bull Elephant
 2    and probably arranged for this media interview.
 3             So perhaps you-all have some documents that
 4    would better refresh my recollection, because I have
 5    no memory of this.
 6             Q.   Okay.     Strike the response.
 7             Does this refresh your recollection of
 8    appearing on the John Fredericks Show?
 9             A.   It does not.           And, as a matter of fact, it
10    refreshes my recollection no more than the fact that
11    I was possibly asked if it involves the Bull Elephant
12    that somebody at Skadden Arps has the documents
13    related to this interview, because I have no memory
14    of this except that it related to Skadden Arps lawyer
15    who made the arrangements probably for this to occur
16    because it's in the Bull Elephant.
17             (Video/audio clip played)
18             Q.   This is -- this is you speaking, correct?
19             A.   It sounds like me speaking.
20             Q.   Do you have any reason to doubt that you
21    appeared on the John Fredericks Show on June 1st,
22    2017 to talk about Alien Invasion II?
23             A.   I'm not disputing whether or not I
24    appeared.      You asked me if my recollection was
25    refreshed, and, no, it isn't, but I'm not disputing

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                                                                             Page 79
 1    that that's my voice.
 2             Q.   Well, that's my question now.                    Thank you.
 3             A.   Right.
 4                  MR. TEPE:         We'll mark this as Exhibit
 5    16-A.
 6                              (Exhibit 16-A marked for
 7                  identification: Video/audio clip)
 8             Q.   On March 2nd, 2017 you were interviewed on
 9    the program Mornings on the Mall, yes?
10             A.   I don't know.
11                              (Adams Exhibit 17 marked for
12                  identification: Re podcast Mornings
13                  on the Mall March 2, 2017)
14             Q.   The court reporter has marked as Exhibit
15    17 a document that is a printout indicating an
16    appearance by you on Mornings on the Mall.                        Does this
17    refresh your recollection?
18             A.   No.
19             Q.   The printout indicates that you appeared
20    on March 2nd, 2017.             Are you familiar with the
21    program Mornings on the Mall?
22             A.   I'm not sure it still exists, but I
23    recognize the name of the program.
24             Q.   It was a program aired on WMAL here in
25    D.C.?

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                                                                                Page 80
 1             A.   Correct.
 2             (Audio clip played)
 3             Q.   Do you recognize your voice?
 4             A.   Yes.
 5             Q.   We don't have keyed up the beginning where
 6    it announces your appearance on WMAL.                           We can find
 7    that, if you want, but we're going to --
 8             A.   Yeah.      I don't have the ability to
 9    authenticate if this is me -- the entire interview or
10    not.     There's no way I can.                   But that was my voice.
11                  MR. TEPE:          We'll mark this entire clip as
12    17-A.
13                               (Exhibit 17-A marked for
14                  identification: Audio clip)
15             A.   Which I haven't heard, by the way.
16             Q.   Understood.
17             A.   Okay.
18             Q.   That's why it will be provided to the
19    court reporter.
20             PILF wanted to share the Alien Invasion
21    reports with as many viewers as possible; you would
22    agree?
23             A.   Well, that was -- I can't speak for PILF
24    in this deposition.
25             Q.   You're the president of PILF.

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                                                                          Page 81
 1             A.   Right.      I can speak for me.
 2             Q.   Right.
 3             A.   And what was your question as it relates
 4    to me?
 5             Q.   Well, you wanted to share the Alien
 6    Invasion reports with as many viewers as possible.
 7             A.   I never thought about that, at least that
 8    I can remember.
 9             Q.   And you wanted to share the Alien Invasion
10    reports with as many readers as possible, right?
11             A.   Again, I have no recollection of ever
12    consciously having that thought process that I can
13    remember right now.
14             Q.   Would you agree that identifying large
15    numbers of noncitizens would help PILF obtain
16    publicity for its Alien Invasion reports?
17             A.   Wait.     Could you read that back?              Would I
18    agree that --
19             (The record was read by the reporter.)
20             A.   Well, I don't know what you mean by
21    "large."      I think identifying any noncitizens who get
22    on the rolls is a noteworthy story to most
23    common-sense Americans who don't like noncitizens
24    being on the rolls.
25             So I would say, even if it's not large

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 1     numbers, it's any noncitizens on the rolls is an
 2     important story.
 3                               (Johnson Exhibit 26
 4                  previously marked for identification
 5                  and referenced herein: Email
 6                  correspondence from (topmost) N
 7                  Johnson sent 10/2/2016
 8                  PILF-ADAMS-0037501).
 9             Q.   Handing the witness what has been marked
10     as previously as Johnson 26.
11             A.   I have Johnson 26.
12             Q.   Do you recognize this document?
13             A.   It's -- I see Exhibit 26.
14             Q.   And at the bottom is an email from you
15     dated October 2nd, 2016 to a number of individuals
16     associated with PILF; is that right?
17             A.   No, it's not right.
18             Q.   Strike that.            This is an email from you
19     dated October 2nd, 2016, correct?
20             A.   It is.       It says that.
21             Q.   And it's to Ms. Phillips and Ms. Powell
22     and Mr. Johnson and Mr. Vanderhulst.                          Those are all
23     individuals with PILF, correct?
24             A.   Correct.
25             Q.   And it copies Hans von Spakovsky.                       He's a

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 1    board member of PILF, correct?
 2             A.   Correct.
 3             Q.   And also Don Palmer is copied; is that
 4    correct?
 5             A.   Yes.
 6             Q.   And the subject line is "Congratulations
 7    Everyone."
 8             A.   That's what it says.
 9             Q.   And then it is, in the body of the email,
10    an image from the Drudge Report website; is that
11    right?
12             A.   I'm sorry.           At the bottom of the email?
13             Q.   I said in the body of the email --
14             A.   Oh, body.
15             Q.   -- there is an image from the Drudge
16    Report website; is that right?
17             A.   It appears to be that.
18             Q.   And this particular image has a link or --
19    strike that.
20             This particular image shows a link that says,
21    "REPORT:      1,000 plus Illegal Voters in Virginia."                 Do
22    you see that?
23             A.   Well, I might dispute the fact that it's a
24    link in the email, but it says that.
25             Q.   Right.       And you've been on the Drudge

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 1    Report website, correct?
 2             A.   Are you asking if I have visited the
 3    Drudge Report website?
 4             Q.   Yes.      Yes.
 5             A.   Yes.
 6             Q.   And the Drudge Report provides links to
 7    other stories elsewhere on the Internet, correct?
 8             A.   It does do that.
 9             Q.   Okay.      You said here, above the image,
10    "great lesson, how to generate, create, organize and
11    weaponize narrative."
12             A.   That's what the email says.
13             Q.   What did you mean by "narrative"?
14             A.   Well, the country has endured people for
15    years, not the least of which is some of your
16    co-counsel in this case, arguing that noncitizen
17    voting is a myth, a problem, not a problem or
18    otherwise made up entirely.                      And your co-counsel's
19    organizations, two of them, as a matter of fact, have
20    been part of that narrative.
21             And what this means is that the truth can be
22    obtained about whether or not noncitizens are getting
23    on the rolls and in fact voting.                         And PILF is in the
24    process of documenting that nationwide.                         We'll
25    continue to do so.

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 1             And so when I say "narrative," I mean accounts
 2     of whether something is or is not happening.
 3     Plaintiff's counsel's law firms generally say it is
 4     not happening and a wide variety of other
 5     organizations say it is happening.
 6             And so what I mean by this is how to develop
 7     the evidence and facts to weaponize the story in a
 8     way that disputes what the contentions are of the
 9     people who say it's not happening.
10             Q.   So if I understand your answer, the
11     narrative is demonstrating that voter fraud by
12     noncitizens is not a myth.
13             A.   Well, I never said the word "voter fraud"
14     in my answer.       As I recall, I thought I said
15     registration by noncitizens.
16             Q.   Okay.
17             A.   Is that what the transcript says?                 Because
18     there's a difference.
19             Q.   I'm just trying to understand your answer.
20             A.   Well, I mean, one way to do that is to
21     quote it correctly.
22             Q.   So if I understand your answer, the
23     narrative is demonstrating that voting -- that
24     noncitizen voting is not a myth.
25             A.   That's part of it.                 That's a very small

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                                                                          Page 86
 1    part.     But the bigger part is that there are defects
 2    in the system that Congress needs to remedy, that
 3    state legislatures need to remedy, that prosecutorial
 4    authorities need to take action and investigate.
 5    Because it is not subject to dispute in my mind that
 6    noncitizens are getting on the rolls and voting.
 7    That is a fact.
 8             And so public policymakers need to respond
 9    accordingly.        And those who stand in the way of
10    fixing the problem, as I said, like plaintiffs' law
11    firms, need to realize that there is a problem and do
12    something about it.
13             Q.   That noncitizen registration and voting is
14    a problem, not a myth.               That's the narrative.
15             A.   Look, you can characterize it however you
16    want.     I wouldn't disagree with what your latest
17    question was, was a subset of that larger problem.
18             Q.   In the email above you said to the same
19    individuals listed, also on October 2nd, you wrote,
20    "Noel, remember our conversation on how important it
21    was to cross the one thousand mark (by adding
22    Alexandria)."        Do you see that?
23             A.   It says that.
24             Q.   So you thought crossing 1,000 people was
25    important, how?

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 1             A.   Well, I don't think anybody would disagree
 2    that 999 is different than 1,000.
 3             Q.   And then you said, "good example why below
 4    is in the chosen Drudge headline," correct?
 5             A.   Chosen Drudge headline validated my
 6    general observation about people's public perceptions
 7    about numbers.
 8             Q.   And it was an "important psychological
 9    frontier to cross," you say.
10             A.   It says that.
11             Q.   And so just as it was important to cross
12    the 1,000 threshold, it was also important to cross
13    the 5,000 threshold.
14             A.   If you would show me the document you have
15    ready, and I'll refresh my recollection about that.
16             Q.   I'm just asking a question.
17             A.   And I'm just giving you an answer.               I
18    don't have a specific recollection of that.
19             Q.   I'm not asking for a recollection.               Strike
20    that.
21

22                              (Adams Exhibit 18 marked for
23                  identification: Email correspondence
24                  from (topmost) N Johnson sent
25                  5/22/2017

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                                                                           Page 88
 1                  PILF-ADAMS-0001050 - 0001052)
 2             Q.   The court reporter has marked as Exhibit
 3    18 a document with the Bates number 1050.                      Do you see
 4    that?
 5             A.   I've been handed Deposition Exhibit 18.
 6             Q.   And what I want to direct your attention
 7    to is -- and just to set the stage -- you had
 8    requested cancellation reports from the Virginia
 9    Department of Elections, right?
10             A.   I don't think I ever did, no.
11             Q.   PILF did.
12                  MR. LOCKERBY:            Object to the form of the
13    question.
14                  MR. TEPE:         What's the objection?
15                  MR. LOCKERBY:            Well, it assumes facts not
16    in evidence.        The requests were actually directed to
17    registrars, and then the Department of Elections
18    interceded and prevented that from happening.
19             Q.   On May 5th Mr. Johnson, PILF, wrote to
20    Edgardo Cortes of the Virginia Department of
21    Elections, "Thank you for providing the VERIS report.
22    I would like to make a follow-up request for records
23    under the NVRA."          Do you see that?
24             A.   No.    Where are you?
25             Q.   Bottom of the first page.

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                                                                                Page 89
 1             A.   Oh.    Okay.        I'm not very familiar with
 2    this document, but there's -- you've pulled out of
 3    the middle email from 11:18 a.m., is that what you're
 4    asking about?
 5             Q.   Correct.
 6             A.   Okay.     And you're asking me what it says?
 7             Q.   My question was, directing you to this
 8    email, do you see that Mr. Johnson wrote Mr. Cortes
 9    May 5th, 2017, yes?
10             A.   The email says that.
11             Q.   And then Mr. Johnson said, "Thank you for
12    providing the VERIS report.                     I would like to make a
13    follow-up request for records under the NVRA."                        Do
14    you see that?
15             A.   Right.
16             Q.   And so does this recollection that you had
17    received records from the Virginia Department of
18    Elections for a certain time period and then you
19    asked for the same record but for an additional time
20    period?
21             A.   I don't think you understand.                    I didn't
22    ask for any of these, okay.
23             Q.   PILF.
24             A.   Yeah, but I'm not on these emails.                    So the
25    answer to your question is, no, I did not ask for

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                                                                              Page 90
 1    these.
 2             The question on Thursday might have been yes
 3    in my 30(b)(6), but the answer today in my personal
 4    is no, I didn't ask for these.
 5             Q.   PILF asked for records, the same records
 6    that were provided by the Virginia Department of
 7    Elections for the time period March 21st, 2017 to the
 8    present, which would be May 5th, is that right,
 9    according to this email?
10             A.   Okay.     And your question is that they
11    asked for ... (reading) ... to the present, which
12    this is a May 5th email.                 That's what it says.
13             Q.   And then Mr. Cortes attached a report with
14    activity from March 21st, 2017 to the present day,
15    which at that point was May 22nd.
16             A.   The email says, attached is a report with
17    activity from 3-21-17 until today.                         Whether or not
18    that report is attached or not, I have no earthly
19    idea, because I'm not on this email and I never saw
20    this email.       It was not sent to me.
21             Q.   And then right above that Mr. Johnson
22    sends to you -- forwards Mr. Cortes's response -- on
23    May 22nd, correct?
24             A.   The email says that I am copied on an
25    email from -- it forwards it to me.

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                                                                                   Page 91
 1             Q.   Yes.      So on May 22nd Mr. Johnson forwarded
 2    Mr. Cortes's email to you and Mr. Churchwell,
 3    correct?
 4             A.   Well, he forwarded the body of the email.
 5    That's all that this 18 document -- Deposition 18
 6    Exhibit says.         I can't speak to whether or not the
 7    attachments were forwarded.                      I don't know.
 8             Q.   And then Mr. Churchwell responds, "Woohoo
 9    headline upgrade!"             Do you see that?
10             A.   I can read that it says that.
11             Q.   And Mr. Johnson says "high five" in
12    response.
13             A.   Is there a question?
14             Q.   Do you see that?
15             A.   I can read that it says that.
16             Q.   And then Mr. Churchwell responds, "this
17    puts us just north of 5,500, right?"                            Do you see
18    that?
19             A.   I can read that it says that.
20             Q.   Okay.      And so before you had received this
21    supplement of records from the Virginia Department of
22    Elections, PILF had received -- PILF had not received
23    more than 5,000 names, correct?
24             A.   I don't know.
25                  MR. LOCKERBY:             Object to the form.

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                                                                               Page 92
 1             A.   I mean, I don't know.                   You're obviously
 2     focused in on this number far more than I was.
 3             Q.   Well, apparently Mr. Churchwell seemed to
 4     like it.     He said "woohoo headline upgrade."
 5             A.   Mr. Churchwell is not sitting in this
 6     chair.
 7             Q.   What do you understand Mr. Churchwell to
 8     be intending by saying "woohoo headline upgrade"?
 9             A.   I don't know.
10             Q.   Did you respond to his email on May 22nd
11     saying what do you mean, "woohoo headline upgrade"?
12             A.   Do you have an exhibit that would help
13     refresh my recollection?
14             Q.   So you have no recollection of sending
15     that question to Mr. Churchwell?
16             A.   If you -- no, not as I sit here, but if
17     you have a document that would refresh my
18     recollection, I'll take a look at it.
19             Q.   Do you recall sending Noel Johnson an
20     email on May 22nd asking him what he meant by "high
21     five"?
22             A.   I don't, but I wonder what they do mean by
23     "headline upgrade," as I sit here now.
24             Q.   You can put that document aside.
25             A.   If you have a document that refreshes my

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                                                                                Page 93
 1     recollection, I'd be happy to talk about it.
 2                               (Adams Exhibit 19 marked for
 3                  identification: Email correspondence
 4                  from (topmost) N Johnson sent
 5                  5/31/2017 PILF-ADAMS-0000760)
 6             Q.   The court reporter has marked as Exhibit
 7     19 a document with the Bates number 760.                         Do you see
 8     that?
 9             A.   I have Deposition 19.
10             Q.   And do you recognize this as starting with
11     an email that you sent to Mr. Churchwell copying
12     Mr. Johnson on May 31st of 2017?
13             A.   I see that.           It says that.
14             Q.   Do you have any reason to doubt that you
15     sent this email?
16             A.   No, no reason to doubt I sent it.
17             Q.   The subject line is "Roseanne Barr."
18             A.   That's what it says.
19             Q.   And in the body of your email you have an
20     image of what appears to be a tweet from Ms. Barr.
21     Does that look accurate to you?
22             A.   No.    Well, no, not necessarily.                    It's
23     something that she posted somewhere.                          YouTube maybe.
24             Q.   Well, this is an image from Twitter,
25     right?

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                                                                               Page 94
 1             A.   I don't know.             Are you representing it is?
 2    If you are, tell me and we can move forward.                         I don't
 3    see something that says Twitter on it.                          I see YouTube
 4    on it.     If you want to represent to me it's from
 5    Twitter, I can answer your next substantive question.
 6             Q.   Well, I mean, you tweet, correct, we
 7    established that before, right?
 8             A.   I've asked and answered that question.
 9             Q.   Yes.      And based on your tweeting habits,
10    can you or can you not say that this appears to be an
11    image of a tweet from Roseanne Barr?
12             A.   I wouldn't say it's inconsistent with a
13    tweet, but it says it's coming from YouTube, so ...
14             Q.   Well, it appears to be a tweet from -- of
15    Ms. Barr sending out a clip from YouTube.
16             A.   If that's what you're representing to me
17    it is, I have no reason to quarrel with that.
18             Q.   Okay.      Well, I'm just asking for your
19    testimony as to what your understanding is since you
20    sent this out.
21             A.   And I've testified I don't have one.
22             Q.   Ms. Barr said in her tweet, "five thousand
23    illegals voted for Hillary in Virginia."                         Do you see
24    that?
25             A.   I see it says that.

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                                                                          Page 95
 1             Q.   Okay.     Now this clip here from YouTube is
 2    your appearance on Tucker Carlson, right?
 3             A.   I don't know.            I have no way of knowing
 4    that.     It's barely legible on Deposition Exhibit 19
 5    that's in front of me.               It's in black and white.        You
 6    can't even tell if it's me.
 7             So there's lots of problems with that
 8    assumption.       If you want to represent to me that it
 9    is, I will be happy to accept your representation as
10    accurate.
11             Q.   Well, the image, and I grant you it's in
12    black and white, is that not you being interviewed by
13    Tucker Carlson with the Capitol in the background and
14    underneath it says, "Watchdog 5K Aliens Registered to
15    Vote"?
16             A.   The headline actually or the thing -- the
17    part you just read, "Watchdog 5K," actually has more
18    weight to me than the blocked image of what might be
19    me, but I'm not going to quarrel with you.                     I just --
20    if you tell me it is, we can move forward.
21             Q.   So it appears that Ms. Barr sent out a
22    clip of your appearance on Tucker Carlson with the
23    notation, "5,000 illegals voted for Hillary in
24    Virginia."       Do you agree with that?
25             A.   I agree that that's what the document

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                                                                                 Page 96
 1     says.
 2             Q.   And Mr. Johnson responds to your email by
 3     saying, "Roseanne taking it up a notch from 5,000
 4     noncitizen removals to 5,000 illegal votes for
 5     Hillary."      Do you see that?
 6             A.   I see that it says that.
 7             Q.   Do you recall tweeting out a response to
 8     Ms. Barr that her tweet was inaccurate?
 9             A.   If you have that, we could save a lot of
10     time, because I don't have any recollection of that.
11             Q.   You can put that document aside.
12             You have your own Twitter handle; is that
13     correct?
14             A.   You mean my name on Twitter?                        It's not my
15     name.    It's E-L -- it's something like E-L-E-C-T,
16     Election Law Center.
17             Q.   And you've tweeted under this Election Law
18     Center handle with regard to the Alien Invasion
19     reports, have you not?
20             A.   I would be surprised if I didn't, but I
21     don't have a specific recollection.                           If you have a
22     document to refresh my recollection, it would be
23     helpful.
24                               (Adams Exhibit 20 marked for
25                  identification: Printout of

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                                                                          Page 97
 1                  ElectionLawCtr tweets)
 2             Q.   The court reporter has marked as Exhibit
 3     20 an image of your tweets under the handle at
 4     Election Law Ctr; is that correct?
 5             A.   That's what the document, Exhibit 20, has.
 6             Q.   And this reflects tweets that you made
 7     with regard to the Alien Invasion I report; is that
 8     right?
 9             A.   Well, I don't have any reason to doubt the
10     authenticity of this.              If you want to -- if you want
11     to stipulate or otherwise represent that that's what
12     it is, I have no reason to disagree.
13             Q.   So this does reflect tweets that you may
14     have written with regard to the Alien Invasion I
15     report.
16                  MR. LOCKERBY:             Object to the form.
17             A.   I have no reason to doubt that this is
18     authentic.      Do I know with absolute certainty these
19     are my tweets?        No.      But if you want to represent to
20     me that that's where you pulled them from, I'll
21     accept your representation.
22             Q.   That is where we pulled them from.                Does
23     this refresh your recollection -- strike that.
24             One of the tweets you said is at the top,
25     October 2nd, 2016, read report, "I just talked about

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                                                                          Page 98
 1    on Fox News about thousand plus foreigners registered
 2    or voting in Virginia."                Do you see that?
 3             A.   That's what it says.
 4             Q.   When you said "foreigners" there, was that
 5    synonymous with noncitizens?
 6             A.   Well, words speak for themselves.
 7             Q.   No, I'm asking what you were intending by
 8    the word foreigners.
 9             A.   I have a hard time thinking of an example
10    of a noncitizen who wouldn't be a foreigner.                   Maybe
11    John Demjanjuk would be a counter-example, but I have
12    a hard time imagining any other examples of a
13    noncitizen who would not be an alien who would not be
14    a foreigner.
15             Q.   That's exactly where I was going to go
16    next was are all these words in your mind synonyms,
17    generally speaking, foreigner, alien and noncitizen?
18             A.   Well, I think if you were to either pull
19    up the U.S. Code of Law or Webster's, you might find
20    that my interpretation of what these words mean is
21    consistent with those sources.
22             Q.   And in this tweet you published a link to
23    the PILF website, correct?
24             A.   There's a link to the PILF website.
25             Q.   You also tweeted about the Alien Invasion

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                                                                           Page 99
 1     II report; is that correct?
 2             A.    I would be surprised if I did not tweet
 3     about the Alien Invasion II report, but if you have a
 4     document to specifically refresh my recollection, I'm
 5     more than happy to look at it.
 6                                (Adams Exhibit 21 marked for
 7                   identification: Printout of tweets
 8                   from ElectionLawCtr)
 9             Q.    The court reporter has marked as Exhibit
10     21 -- does this refresh your recollection as to
11     having tweeted about the Alien Invasion II report?
12             A.    This is helpful, but it does include
13     things not related to your question.
14             Q.    But there are tweets there from your
15     Election Law Center Twitter handle with regard to
16     Alien Invasion II, correct?
17             A.    There are, but they are not entirely.
18             Q.    You can put that aside.
19             You also have your own website
20     www.electionlawcenter.com; is that correct?
21             A.    I have a web server that I use.
22             Q.    Is that different than a website?
23             A.    Yes.      One is an email server.
24             Q.    Okay.      But you recall that you have a
25     website www.electionlawcenter.com.

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                                                                               Page 100
 1             A.    Right, I have that domain.
 2             Q.    You have that domain, right?
 3             A.    Right.       I own it.
 4             Q.    Yes.      And you've posted about the Alien
 5     Invasion reports there, have you not?
 6             A.    I don't think so, no.
 7                                (Adams Exhibit 22 marked for
 8                   identification: Printout from
 9                   Election Law Center | Report:
10                   Ineligible Aliens Registering to
11                   Vote and Casting Ballots)
12             Q.    The court reporter has marked as Exhibit
13     22 a printout from the electionlawcenter.com website.
14     Does this refresh your recollection, Mr. Adams?
15             A.    No.
16             Q.    That is at the bottom the URL for your
17     website?
18             A.    Not really.           I mean, this is a URL, the
19     domain.      It's a domain that I own.                      So the URL is a
20     domain that I own.
21             Q.    Right.       And on the URL, domain -- strike
22     that.
23             On the domain that you own, you posted about
24     Alien Invasion I, correct?
25             A.    Incorrect.           I did not.

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                                                                           Page 101
 1             Q.    So are you saying that this is fabricated?
 2             A.    No.
 3                   MR. LOCKERBY:            Object to the form.
 4             Q.    Okay.     You just testified that you did not
 5     post about Alien Invasion I; is that your testimony?
 6             A.    That is my testimony.
 7             Q.    This document in front of you, which was
 8     printed out from your website --
 9             A.    Again, it's not my website.
10             Q.    Would you prefer the website of the --
11     with the domain that you own?
12             A.    Correct.
13             Q.    This shows "Report: Ineligible Aliens
14     Registering to Vote and Casting Ballots."                      Do you see
15     that title?
16             A.    It says that.
17             Q.    It says, "Public Interest Legal Foundation
18     published a report based on voting history records in
19     Virginia showing that large numbers of ineligible
20     aliens are registering to vote and casting ballots."
21     Do you see that?
22             A.    You are reading the exhibit correctly.
23             Q.    And then it says, "in just eight Virginia
24     counties 1,046 ineligible noncitizens were found to
25     have illegally registered."                     Do you see that?

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                                                                          Page 102
 1             A.    You are reading Deposition Exhibit 22
 2     accurately.
 3             Q.    And I'm not just representing -- strike
 4     that.
 5             I'm not just reading Deposition Exhibit 22
 6     accurately, but this is an accurate reading of what's
 7     on your Election Law Center domain, correct?
 8                   MR. LOCKERBY:           Object to the form.
 9             A.    No, it is not.            It is a -- it is -- you
10     are reading something from a website domain that I
11     own.    There's a vast difference between that and
12     where you're headed with this.
13             Q.    Where am I headed?
14             A.    You're headed -- you're headed to get my
15     assent to agree to this document and that either that
16     I wrote it or I agree with it or something of that
17     nature, but the fact is that this is a website domain
18     that I own.       It is not my website.
19             Q.    Why would a website domain that you own
20     not be your website?
21             A.    Well, I own electionlawcenter.com, but I
22     don't use it.
23             Q.    Well, then who posted this?
24             A.    Not me.
25             Q.    Well, who has -- who has access to your

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                                                                          Page 103
 1     domain?
 2             A.    The answer is right there in Deposition
 3     Exhibit 22.
 4             Q.    Do you want to specify?
 5             A.    You can see who posted it.
 6             Q.    Who posted it?
 7             A.    It says right there in Deposition 22.                It
 8     says Lex.
 9             Q.    Well, that's -- who is Lex?
10             A.    Not me.      And I never saw this posting
11     until Deposition 22 was handed to me, Exhibit 22.
12             Q.    So you don't -- you don't know who Lex is?
13             A.    Oh, I know who Lex is, but you didn't ask
14     me that yet.
15             Q.    Well, who is Lex?
16             A.    It's an individual who is an activist who
17     covers election issues named Erin Anderson.
18             Q.    And you let Erin Anderson post on the
19     domain that you own?
20             A.    Correct.
21             Q.    And on the domain that you own there was a
22     link published to Alien Invasion I, correct?
23             A.    Well, Deposition 22 appears to show that
24     is the case, but I don't have any independent
25     knowledge of that other than what's in Deposition 22.

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                                                                               Page 104
 1             Q.    Who else posts on your domain?
 2             A.    I used to, but I haven't been to that
 3     domain to post for probably years.
 4             Q.    Who else posts on your domain?
 5             A.    Me, other guests have posted.                   I don't
 6     remember everybody that's ever posted there.
 7             Q.    Who do you remember?
 8             A.    I'm not sure.
 9             Q.    You don't remember anyone else other than
10     Erin Anderson?
11             A.    Nope.
12             Q.    Do you know why Erin Anderson posts under
13     the name Lex?
14             A.    Probably because she's afraid of being
15     harassed by people if she posts under her real name.
16     It's one possibility.
17             Q.    So having a person's real name posted on
18     the Internet can lead to harassment?
19             A.    When you talk about voter fraud,
20     absolutely, because there's a whole litany of
21     organizations designed to personally attack people,
22     as you well know, whenever they talk about the
23     existence of voter fraud.                 And we have seen the
24     depths to which they will plumb on that quest in this
25     case.

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                                                                           Page 105
 1             Q.    How does someone go about posting on your
 2     domain?
 3             A.    They write up a post and post it.               But
 4     this is not my posting.
 5             Q.    Who approves the posting of things on your
 6     domain?
 7             A.    Nobody.
 8             Q.    What is the process for posting on your
 9     domain?
10             A.    You post -- you write something and you
11     put it up.
12             Q.    You write a column for PJ Media; is that
13     correct?
14             A.    I do.
15             Q.    And you've written about the Alien
16     Invasion reports on PJ Media, correct?
17             A.    Most likely, but if you have a specific
18     document to refresh my recollection, I'm happy to
19     look at it.
20                               (Adams Exhibit 23 marked for
21                   identification: PJ Media | Yes,
22                   Virginia, Aliens are Registered or
23                   Voting ... and in Pennsylvania, by
24                   the Thousands)
25             Q.    The court reporter has handed you what's

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                                                                              Page 106
 1     been marked as Exhibit 23.                     Do you recognize this?
 2             A.    It appears to be a portion of a article
 3     that I wrote for PJ Media.
 4             Q.    Why do you say "a portion"?
 5             A.    Well, because some things are cut off on
 6     it.    On its face, on pages 6, 7 and 8, there's -- you
 7     obviously had some difficulty in capturing a whole
 8     version of this document that didn't have things
 9     fractured.
10             Q.    Well, it appears the only thing that's cut
11     off is an image that's repeated on every page, and it
12     says, "PJ Media encourages you to read our --"
13     something -- seems likes "update to a cookie policy."
14     Is there anything else that you can tell us is being
15     cut off?
16             A.    Right, there is.
17             Q.    What?
18             A.    Well, normally there wouldn't be shading,
19     for starters.
20             Q.    What's shading?
21             A.    On page 3.         Shading usually has some sort
22     of content in it.
23             Q.    I don't see the shading.                     Can you point it
24     out to me?
25             A.    To the upper left quadrant of the page on

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                                                                          Page 107
 1     Deposition 23, page 3.              There's also a hanging bubble
 2     box on page 2 that may extend to page 3, but the
 3     shading itself indicates there's something cut off.
 4     But, other than that, I don't have any quibbles with
 5     Deposition 23.
 6             Q.    Okay.    The content of what you wrote is
 7     represented here, correct?
 8             A.    It appears to be, but sometimes the
 9     content of what one writes includes bubble boxes, and
10     that's why the hanging shading issue is a concern.
11             Q.    But sitting here today, you're not aware
12     of anything that's cut off --
13             A.    I'm not --
14             Q.    -- from what you wrote.
15             A.    Right.     I didn't -- I didn't indicate
16     there was.      I'm just telling you that this document
17     appears to be fractured with some content cues.
18             Q.    And this is a column you wrote published
19     on October 3rd, 2016, correct?
20             A.    Deposition Exhibit 23 says it was
21     published on October 3rd.
22             Q.    And you did publish a column on that day
23     in PJ Media, correct?
24             A.    I have no reason to dispute what this
25     document says.

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                                                                              Page 108
 1             Q.    And that column concerned Alien Invasion
 2     I, correct?
 3             A.    Right.
 4             Q.    You wrote in the first paragraph, "What if
 5     government documents were produced to show at least
 6     one thousand instances of voter fraud with aliens
 7     registering or voting in a key swing state?"                         Do you
 8     see that?
 9             A.    That's what the document says.
10             Q.    And you're referencing the Alien Invasion
11     reports 1,046 cancellations; is that right?
12             A.    I would disagree with that.                     I think I was
13     asking -- referencing a rhetorical question related
14     to underlying election records to establish the
15     possibility of aliens registering to vote.
16             Q.    Do you think this sentence is unrelated to
17     the fact that in Alien Invasion I PILF said that
18     there were 1,046 illegal registrants?
19             A.    I don't think it's unrelated to that fact.
20     What I said was it's not only referring to that fact.
21             Q.    And on the next page of the exhibit it
22     shows that you wrote, in just eight counties, 1,046
23     alien noncitizens successfully registered to vote.
24     Do you see that?
25             A.    That's an accurate statement.

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                                                                            Page 109
 1             Q.    And you also wrote, "Mind you, these are
 2     just the aliens who were accidentally caught because
 3     when they renewed their driver's license they told
 4     the truth that they were a noncitizen."                       You wrote
 5     that, right?
 6             A.    That's what the document says I wrote.
 7             Q.    And you did write it.
 8             A.    I don't have any reason to dispute that.
 9             Q.    And you have insight into the truth of
10     what these 1,046 individuals told the DMV?
11             A.    I do have insight into the truth.
12             Q.    Because you spoke to each of those
13     individuals, correct?
14                   MR. LOCKERBY:            Object to the form.
15             A.    I don't understand the question.
16             Q.    Well, you spoke to all 1,046 individuals,
17     yes or no, right?
18             A.    Pardon?      Yes or no, right?
19             Q.    Did you or did you not speak to the 1,046
20     individuals listed in the Alien Invasion I as to the
21     truth of their representations?
22             A.    No, I did not speak to all of them, but I
23     had other insights into the truth apart from that.
24             Q.    Did you speak to any of them?
25             A.    I don't remember.

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                                                                              Page 110
 1             Q.    You would --
 2             A.    Actually I do remember.                   I did speak to
 3     some of them.
 4             Q.    Well, isn't that a violation of the PILF's
 5     policy?
 6             A.    I didn't tell you what I did yet.                     So, no,
 7     it wouldn't be a violation of PILF's policy.                         You
 8     didn't ask what the context was.
 9             So let me answer your question.                       No, it was
10     not a violation of PILF's policies.
11             Q.    You spoke to someone who was contacted by
12     The Washington Post.
13             A.    I spoke to somebody who was contacted
14     purportedly by Justin Levitt.
15             Q.    And who is that?
16             A.    I don't remember.
17             Q.    And how did you come to contact this
18     person?
19             A.    Don't remember that.                 And actually I don't
20     understand your question.                 "Come to contact" could
21     mean a lot of different things.                      If you could clarify
22     that for me, it would be helpful.
23             Q.    You said you spoke to somebody who was
24     contacted purportedly by Justin Levitt, and I want to
25     know who is that somebody.

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                                                                          Page 111
 1             A.    And I said to you -- I've asked and
 2     answered that question.
 3             Q.    You don't remember; that's your answer?
 4     Is that your answer?
 5             A.    I asked and answered that question.
 6             Q.    Is your answer, I don't remember who you
 7     spoke to -- strike that.
 8             Is your answer that you do not remember the
 9     person you spoke to who was purportedly contacted by
10     Justin Levitt?
11                   MR. LOCKERBY:            Object to the form.
12             A.    I don't know.            That question was
13     confusing.
14             Q.    Well, what was confusing about it?
15             A.    All of it.         There was very little that
16     wasn't confusing.          I might suggest starting from
17     scratch and just asking.
18             Q.    You testified that you spoke to somebody
19     who was contacted purportedly by Justin Levitt.
20                   MR. LOCKERBY:            Objection to the form.
21             Q.    That was your testimony, right?
22             A.    Okay.     You just asked me two questions.
23     Did you withdraw the first?
24             Q.    Was it not your testimony just moments
25     ago, quote, "I spoke to somebody who was contacted

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                                                                                   Page 112
 1     purportedly by Justin Levitt," closed quote?
 2             A.    If I said that, I stand by that testimony.
 3             Q.    Now my question is:                  Who did you speak to?
 4             A.    And I've asked and answered that, and I'll
 5     do it again.       I don't remember.
 6             Q.    Do you remember how you came to speak with
 7     this person?
 8             A.    Okay.      That's the part that I don't
 9     understand what you're asking me.                         How I came to
10     speak with it is not a very specific question.                              If
11     you could ask a less confusing question, I can answer
12     it.    I don't know what you mean.
13             Q.    Well, even though you don't remember the
14     identity of the person, do you recall if you spoke to
15     this person over the phone?
16             A.    Now we're on to something.                        By phone.
17             Q.    Did you call this person?
18             A.    Yes.
19             Q.    And why did you call this person?
20             A.    Because Justin Levitt purported to call
21     this person.
22             Q.    How do you know that?
23             A.    Because he wrote an article about it.
24             Q.    Who?
25             A.    Justin Levitt or somebody else, but,

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                                                                                 Page 113
 1     regardless, Justin Levitt was the source of this
 2     conversation.
 3             Q.    And you reached out to that person.
 4             A.    Correct, after I read the article that
 5     somebody had already contacted this person first.
 6             Q.    How did you get the contact information
 7     for this person?
 8             A.    Do not remember that.
 9             Q.    Did you communicate with this person in
10     any manner other than by phone?
11             A.    No.
12             Q.    Have you spoken with any other individuals
13     listed among the 1,046 in Alien Invasion I?
14             A.    Possibly, but I don't have a specific
15     recollection.
16             Q.    And you said that your speaking with the
17     individual mentioned by Justin Levitt was not a
18     violation of PILF's corporate policy, correct?
19             A.    I've asked and answered that question.
20             Q.    And why was that not a violation of PILF's
21     corporate policy?
22             A.    Because Justin Levitt spoke with them
23     first, and once contact is made with a registrant,
24     the initial zone of peace is finished.                         In other
25     words, Justin Levitt disrupted that person's life and

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                                                                                Page 114
 1     made contact, as he did by the hundreds in this case
 2     in what was probably a violation of Virginia 18.2 452
 3     and made contact with these individuals en masse,
 4     and, once he did that, the corporate policy did not
 5     apply -- particularly when Justin Levitt decides to
 6     write about the content of these conversations in a
 7     public way.
 8             Q.    And this corporate policy is not written
 9     down anywhere?
10             A.    Of course not.
11             Q.    You wrote a column on PJ Media about Alien
12     Invasion II, correct?
13             A.    If you have it to refresh my recollection,
14     I'm more than happy to look at it.                        I don't remember.
15             Q.    Actually, before we get to that, I just
16     want to ask another question about your article in
17     the exhibit in front of you.                   I believe it's Exhibit
18     23.
19             On the second page, in the, I guess it's the
20     third full paragraph that begins "that's because," do
21     you see that?       Do you see that paragraph?
22             A.    I'm reading it.             I see the paragraph.
23             Q.    And you're referring to the checkbox as to
24     whether or not someone is a citizen, correct?
25             A.    I'm referring to a lot of things.                    The

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                                                                              Page 115
 1     checkbox is a portion of what I'm referring to.
 2             I'm also referring to the attestation when
 3     somebody signs the document, the voter registration
 4     form, they're making an attestation that they are
 5     saying under penalty of perjury they are telling the
 6     truth.
 7             So if they -- if they were to say they are a
 8     citizen and sign and then later say they are not a
 9     citizen and sign, that one of the two is a lie,
10     that's what I'm referring to.
11             Q.    And so that's -- when you say thousands
12     are lying just in Virginia, that's what you're
13     referring to.
14             A.    Correct.
15             Q.    Could they just be making a mistake?
16             A.    Well, you've taken us right into the
17     debates in Congress in 1993 about whether or not the
18     answer to that question is yes or no.                         And that was
19     something that was heavily debated in Congress, and
20     I'm happy to recount the legislative history.
21             But the short of it is that everybody who
22     passed the bill in the legislative history believes
23     that between those two boxes you're not just making a
24     mistake.      And this was the subject of a great deal of
25     debate in the House and the Senate as to what was the

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                                                                             Page 116
 1     effect of the attestations and the checkbox.
 2             And the proponents of the legislation told the
 3     formerly opponents of the legislation that the
 4     checkbox and attestation would be sufficient to
 5     overcome the premise of your question that they were
 6     simply making a mistake.
 7             And so the authors of the bill, the sponsors
 8     of the bill, debated that very issue that you just
 9     asked me in Congress extensively and ultimately
10     concluded that, no, this prevents mistakes.                       And I
11     relied on that, and anybody who -- who looks at this
12     statute or this legislative history of the statute
13     would see that that's a reasonable interpretation.
14             Q.    I'm not sure if I understood that they
15     ultimately concluded that this prevents mistakes.
16     I'm not sure if I follow what you meant there.
17             A.    I agree you don't follow it.                    And what it
18     means is that the proponents of this legislation
19     debated extensively the answer to the two questions
20     ago you asked me, and they built into the structure a
21     system that was designed to specifically preclude
22     somebody from asserting that a mistake was made,
23     specifically preclude that excuse from the process by
24     having the dual checkbox and attestation procedure.
25             And so if somebody makes an admission against

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                                                                              Page 117
 1     interest that they are not a citizen, as they did in
 2     this case in these -- in these applications, which I
 3     rely on throughout the videos and radio and documents
 4     you're showing me, that they are not a citizen of the
 5     United States, Congress in the legislative history
 6     was very, very clear that that would preclude this
 7     being a mistake, and, therefore, would subject them
 8     to criminal prosecution.                That's throughout the
 9     legislative history of this statute.
10             Q.    I apologize if I asked this question
11     already, but you do recall publishing a column in PJ
12     Media about Alien Invasion II; is that right?
13             A.    You did ask that question already, and I
14     told you that if you had a document to refresh my
15     recollection ...
16                              (Adams Exhibit 24 marked for
17                   identification: Email correspondence
18                   from (topmost) C Adams sent
19                   5/30/2017
20                   PILF-ADAMS-0000312 - 0000316)
21             Q.    The court reporter has marked as Exhibit
22     24 a document with the Bates number 312.                      Do you
23     recognize this?
24             A.    This is a -- Deposition Exhibit 24 appears
25     to be an email that I sent.

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                                                                            Page 118
 1             Q.    On May 30th, 2017?
 2             A.    That's what it says.
 3             Q.    And your email sends along the content of
 4     a column you wrote in PJ Media; is that right?
 5             A.    Well, it appears to.                 I don't know if it's
 6     right, but that's what it appears to do.
 7             Q.    Well, do you recognize anything as missing
 8     from the PJ Media column from the email that you
 9     sent?
10             A.    Look, if you want to represent -- yes.                   If
11     you want to represent to me that this is -- this is a
12     document that represents the PJ Media column, I have
13     no reason to quarrel with that.
14             Q.    Because you wouldn't normally forward your
15     column by excluding portions of your column.
16             A.    Is there a question?
17             Q.    Correct?
18             A.    Yes, actually I would.                   I routinely save
19     my recipients' time by not including an entire column
20     and instead including excerpts, sometimes blurbs,
21     sometimes nothing at all.
22             So I would disagree with your question, or at
23     least I would answer your question I would in fact do
24     that.    Whether I did it here, I have no reason to
25     know, nor would I have the ability to answer your

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                                                                              Page 119
 1     question because I don't have the actual column with
 2     me.    I don't think you've given it to me as an
 3     exhibit.
 4             Q.    You include in your email a link to your
 5     column on PJ Media's website, yes?
 6             A.    Well, that's how you solve the problem you
 7     just are talking about is you include the link.
 8             Q.    My question was you include in your email
 9     a link to your column on PJ Media, yes?
10             A.    There is a link there.
11             Q.    To your column on PJ Media, yes?
12             A.    There is a link for PJ Media in there.
13             Q.    And it's to your column.
14             A.    I don't know.           Probably is.
15             Q.    Would you send --
16             A.    I just said it probably is.                     I'm not the
17     custodian of all link names, but I have no reason to
18     quarrel with you, if that's what you're representing
19     that that's what this is.
20             Q.    And you did send out this email, right?
21             A.    It doesn't appear to say "draft," so I
22     have no reason to doubt that I sent it.                        Do I have a
23     specific recollection I sent it?                       No.
24             Q.    On the second page of the exhibit, the
25     second paragraph from the bottom, it begins "yet," do

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                                                                                 Page 120
 1     you see that?
 2             A.    I see that.
 3             Q.    "Yet the PILF report demonstrates that
 4     hundreds of foreigners ended up on Virginia voter
 5     rolls even after telling Virginia election officials
 6     they were aliens on their voter registration form."
 7     Do you see that?
 8             A.    That's what it says.
 9             Q.    What's your basis for this statement?
10             A.    I don't have a specific recollection what
11     the basis is for this statement right now.                            I have a
12     general recollection that it relates to two
13     categories of information.                     One would be data that
14     PILF reviewed, and two would be conversations that I
15     had with election officials.
16             Q.    What's the data that PILF reviewed?
17             A.    Well, look at the next paragraph.                        That
18     probably gives you some insight into what sort of
19     data.
20             And, again, it says, "Consider Jiling Xiao,"
21     which is J-I-L-I-N-G space X-I-A-O.                            It says:
22                   Xiao registered to vote during
23                   Barack Obama's campaign for
24                   President.         Indeed, the report notes
25                   that 2008 was the year with the

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                                                                          Page 121
 1                   highest rate of alien voting in
 2                   Virginia.        Xiao plainly marked NO to
 3                   the question, are you a citizen of
 4                   the United States, yet was
 5                   registered to vote.                Such is the
 6                   flimsy check used to prevent alien
 7                   voting.
 8             And then it has -- it has a variety of
 9     examples on the next page of the particular phenomena
10     that was described.
11             Q.    It has two more examples.
12             A.    On the next page it has Yun Ok Bae and
13     Juan Mones Cazon.
14             Q.    So there's three examples total?
15             A.    I'm sorry?
16             Q.    There are three examples of the data in
17     your article; is that right?
18             A.    Well, you can have overkill in an article.
19     If I had put more than three examples in here, that
20     would bore readers in time.
21             Q.    Okay.    But just so I understand, the data
22     that you're referring to that PILF reviewed are voter
23     registration applications; is that right?
24             A.    I'm not sure.           I mean, that would
25     certainly be a category of it.

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                                                                              Page 122
 1             Q.    Well, you said one would be data that PILF
 2     reviewed.      And my question is:                 What is the data that
 3     PILF reviewed that is the basis for this statement?
 4             A.    Well, I don't know because I didn't do the
 5     review; staffers did.
 6             Q.    Right, but you're the president, and you
 7     just -- you wrote this statement, right?
 8             A.    Well, let me add a third category, then.
 9             Q.    There's a question pending.                     You did write
10     this statement in your PJ Media column, right?
11             A.    Asked and answered.
12             Q.    And the answer is yes.
13             A.    I've answered that question.
14             Q.    And the answer is yes.
15             A.    We can do this all day.
16             Q.    And so my question now is, given that you
17     wrote this statement, what is the basis for your
18     statement?
19             A.    Well, I've given you two categories of
20     information.       I left out one.               One -- a third
21     category of information would be assessments given to
22     me by staff who was reviewing the underlying records.
23             Q.    Okay.    So but I'm still trying to
24     understand what the data is that is the basis for
25     this statement.

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                                                                                   Page 123
 1             A.    Right, and let me go through once again
 2     the list of the three.               One --
 3             Q.    I just want to focus on the first thing,
 4     which is the data.           Okay?        What is the data that was
 5     reviewed that makes up the basis for this statement?
 6             A.    We just talked about some of it.                       We just
 7     talked about three examples that are in the article.
 8     That's the first.
 9             The second category, conversations I had with
10     various elections officials --
11             Q.    Okay.     I understand, but --
12                   MR. LOCKERBY:            Objection.             The witness
13     ought to be allowed to finish his answer before
14     counsel moves on to another question.
15                   MR. TEPE:        I'm more than happy to get to
16     the second and third pieces.
17             Q.    But what I want to do is I want to
18     focus -- my question was focused -- on the first
19     piece, okay?
20             And so you state here the PILF report
21     demonstrates that hundreds of foreigners ended up on
22     Virginia voter rolls even after telling Virginia
23     election officials they were aliens on their voter
24     registration form --
25             A.    Right.

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                                                                          Page 124
 1             Q.    -- correct?         Okay.        And the data that you
 2     have just articulated as being the basis for this
 3     statement are voter registration forms; is that
 4     right?
 5             A.    That's partially correct.
 6             Q.    Okay.    And the data aspect of this, did
 7     you have hundreds of voter registration applications
 8     in which the applicant said that they were aliens?
 9             A.    Okay.    What paragraph are you referring
10     to?    The "yet" paragraph?
11             Q.    Mm-hmm.
12             A.    Okay.
13             Q.    The same paragraph we've been talking
14     about for a few minutes now.
15             A.    We had hundreds of records related to
16     people answering no on voter registration forms.
17     That's the first package of data of the three.                   That
18     would include voter registration forms, that would
19     include a variety of documents.
20             Q.    So at this moment when you wrote this
21     article you had hundreds of voter registration
22     applications in which the applicants checked no, they
23     were not a citizen of the United States.
24                   MR. LOCKERBY:           Objection, asked and
25     answered, misstates the witness's prior testimony.

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                                                                             Page 125
 1             A.    You're not withdrawing it?
 2             Q.    No.
 3             A.    Okay.     You're mischaracterizing the
 4     testimony that I gave.
 5             Q.    Okay.     Well, then I'll ask another
 6     question.
 7             Did you or did you not, as of the date you
 8     wrote this in May 30th, 2017, or -- strike that -- as
 9     of the date of your email, May 30th, 2017, did you or
10     did you not -- strike that.
11             Actually, no, I'll continue that.                      As of this
12     date, May 30th, 2017, did you, Mr. Adams, have
13     hundreds of voter registration applications in which
14     the applicant indicated they were not a U.S. citizen?
15             A.    That's not what the article says.                   You're
16     mischaracterizing what the article says.
17             Q.    My question, sir, is, as of this date -- I
18     can -- I'll reread it.
19             As of this date, May 30th, 2017, did you,
20     Mr. Adams, have hundreds of voter registration
21     applications in which the applicant indicated they
22     were not a U.S. citizen?
23             A.    Mr. Adams never had hundreds of anything,
24     so the answer is no, but that's also not what the
25     article says.        And I wasn't the person who was

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                                                                               Page 126
 1     custodian of records, so I never had the records in
 2     mass form.      They weren't sent to me.                      So the answer
 3     is always going to be, no, I didn't have those
 4     records.
 5             Q.    Did PILF, as of this date, have hundreds
 6     of voter registration applications in which the
 7     applicant indicated they were not a U.S. citizen?
 8             A.    I can't remember what the answer to that
 9     was in the 30(b)(6) deposition on Thursday.                         So and
10     Mr. Lockerby wasn't here for that deposition, so he
11     wouldn't know whether to lodge an asked and answered,
12     but I don't know the answer to that question from
13     last Thursday's deposition, as I sit here today.
14             Q.    And if PILF did have hundreds of
15     applications, voter registration applications, in
16     which the applicant indicated they were not a U.S.
17     citizen, PILF would have noted that in the Alien
18     Invasion II report, correct?
19             A.    I don't know.           That's a speculative
20     what-if question.          I don't know.
21             Q.    And, in fact, PILF in the Alien Invasion
22     II report only noted that it had 40 some odd voter
23     registration applications in which the applicant
24     noted that they were not a U.S. citizen; is that
25     correct?

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                                                                          Page 127
 1             A.    We have spent the last ten minutes in a
 2     circular discussion when you knew the answer to this
 3     and I didn't.
 4             Q.    And so there are not hundreds -- there are
 5     not hundreds of voter registration applications in
 6     which applicants indicated that they were aliens that
 7     is the basis for this statement, correct?
 8                   MR. LOCKERBY:           Object to the form.
 9             A.    You're wrong.           There are hundreds.      And
10     this statement is correct and truthful and accurate
11     and can be substantiated by government records, which
12     have been refused to be turned over to the defendants
13     by the Commonwealth of Virginia.
14             Q.    Well, your statement is "the PILF report
15     demonstrates --"
16             A.    Right.
17             Q.    "-- that hundreds of foreigners ended up
18     on Virginia voter rolls even after telling Virginia
19     election officials that they were aliens on their
20     voter registration form."
21             This statement, you would agree, is not based
22     on having hundreds of voter registration application
23     forms in which the applicant indicated that they were
24     not a U.S. citizen, correct?
25             A.    Nor does it purport to have -- to indicate

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                                                                          Page 128
 1     that they are in possession of hundreds of voter
 2     registration forms.
 3             Q.    Okay.
 4             A.    You have convenient -- you have ignored
 5     the multiple bundles of information which were
 6     available to us in order to make it seem as if these
 7     forms don't exist in the first place.
 8             Q.    So when I asked for the basis of this
 9     statement, one of the things you mentioned was data,
10     and we've now established that, with respect to data,
11     you did not have hundreds of voter registration
12     applications in which the applicant indicated they
13     were not a U.S. citizen, correct?
14             A.    We had other records that indicated that
15     those forms existed, and so we relied on those other
16     records, and I relied on those other government
17     records, which are inherently reliable, for writing
18     this statement in this article, as well as relying on
19     conversations with election officials and as well as
20     relying on conversations with my staff.
21             So I fundamentally disagree with you that we
22     were not aware of hundreds of other voter
23     registration forms on which we could rely.
24             Q.    That wasn't my question, sir.
25             A.    Well, I disagree with you on that.               I

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                                                                          Page 129
 1     believe I answered your question.
 2             Q.    What else, other than this data aspect
 3     that we've been talking about, what else is this
 4     statement based on?
 5             A.    I've answered that question a couple of
 6     times.
 7                                (Adams Exhibit 25 marked for
 8                   identification: Email correspondence
 9                   from (topmost) C Adams sent
10                   12/18/2018
11                   PILF-ADAMS-0046679 - 0046680)
12             Q.    The court reporter has marked as Exhibit
13     25 a document with the Bates number 46679.
14             The bulk of this email appears to be an
15     attempt by Russian TV to get an interview with you in
16     October of 2016; is that right?
17             A.    Could you direct me to the term "Russian
18     TV" on Deposition Exhibit 25?
19             Q.    Well, it's from -- the first email is from
20     a senior producer, Elena Sokolova, RTR TV Russia.
21             A.    Okay.      This appears to be an effort by
22     somebody who works for RTR TV Russia to interview me.
23             Q.    Yes.      Do you recall providing an interview
24     to this outlet?
25             A.    I don't think I did.

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 1             Q.    And then you forwarded this email on
 2     December 18th, 2018 to Mr. Johnson and
 3     Mr. Churchwell.        Do you see that?
 4             A.    I do.
 5             Q.    And the content of your email is redacted,
 6     yes?
 7             A.    It appears to be.
 8             Q.    What is the basis for this redaction?
 9             A.    I would need to see the unredacted version
10     to tell you.
11                   MR. LOCKERBY:           There's also a privilege
12     log that reflects the basis for the redaction and
13     it's been the subject of extensive correspondence and
14     meet-and-confer sessions.
15             Q.    Were you providing legal advice to
16     these -- to Messrs. Johnson and Churchwell?
17             A.    I have no earthly idea, and it doesn't
18     refresh my recollection looking at this document.
19     That's why I have no earthly idea.
20                   MR. TEPE:        We can go off the record.
21     Provably a good time for lunch.
22                   MR. LOCKERBY:           That's fine.
23                   VIDEO SPECIALIST:                We are off the record,
24     12:30.
25             (Proceedings recessed)

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                                                                              Page 131
 1                               AFTERNOON SESSION
 2      (Eli L. Evans, Esq., Foley & Lardner, now present)
 3                   VIDEO SPECIALIST:                  We are back on the
 4     record, 1:18.
 5                         EXAMINATION (continued)
 6     BY MR. TEPE:
 7             Q.    Mr. Adams, as PILF's president, you were
 8     engaged in PILF's fundraising activities, correct?
 9             A.    Correct.
10             Q.    You get reports on fundraising results?
11             A.    No.
12             Q.    Who gets those results?
13             A.    There are no reports.
14             Q.    Okay.       Do you get any indication as to how
15     much money PILF raises?
16             A.    Yes.
17             Q.    And how do you get those indications?
18             A.    It's on our 990s.                  It's in our budget.
19             Q.    But how does those dollar figures actually
20     get into your budget?
21             A.    They show up as donations.
22             Q.    Well, let me -- let me give you -- maybe
23     it will be easier to get concrete on this.                      PILF
24     sends some mass solicitations via postal mail; is
25     that right?

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 1             A.    There are direct mail mailings.
 2             Q.    When someone sends back a donation in
 3     response to one of those mailings, what happens to
 4     that check?
 5             A.    It's deposited into our account.
 6             Q.    And is there a record kept as to Jane Doe
 7     sending a donation of X amount of dollars?
 8             A.    The list of our donors is kept.
 9             Q.    And to track the, I guess, the success of
10     your -- or lack thereof -- of your various mailings,
11     is there an indication that Jane Doe responded to
12     this solicitation?
13             A.    No.
14             Q.    Who is the most knowledgeable about PILF's
15     fundraising activities?
16             A.    Me.
17             Q.    And so if I understand your testimony,
18     there's no tracking of whether certain solicitations
19     generate a donation; is that your testimony?
20             A.    Right.
21             Q.    In addition to postal mailings, you also
22     send out mass email soliciting donations; is that
23     right?
24             A.    Well, I quibble with the term "mass
25     emails" in some context, but there are efforts to

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                                                                             Page 133
 1     raise money by email.
 2             Q.    Does PILF do fundraising events?
 3             A.    Such as?
 4             Q.    Any type of event-based fundraising, I
 5     don't know, a dinner, for example.
 6             A.    No, we do not do a dinner.
 7             Q.    Do you do any other -- dinner is just an
 8     example.      I don't want to be narrowly focused on
 9     that, but are there other events that generate
10     donations to PILF?
11             A.    Okay.     I'm not sure I understand the
12     question.      I understand it could mean a dinner.                   I
13     answered no.
14             Do you have something specific -- I've
15     answered no to the broader question, so if you have
16     something specific you want to ask about.
17             Q.    I'll go this way.                What are the methods
18     that PILF employs to raise funds?                        We covered two,
19     right?
20             A.    What were those two?
21             Q.    Postal mail, emails.
22             A.    Okay.
23             Q.    What are the other methods used by PILF to
24     raise funds?
25             A.    We also seek funds from individual donors.

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                                                                                    Page 134
 1             Q.    And how do you do that?
 2             A.    In person.
 3             Q.    Other than the postal mail and the email
 4     and the individual solicitations, are there other
 5     methods PILF employs to raise funds?
 6             A.    We seek donations from institutional
 7     sources.
 8             Q.    Are these foundations, for example?
 9             A.    We have been funded by some foundations.
10                   MR. LOCKERBY:            I'm going to register a
11     standing objection to the relevancy of this line of
12     questioning and also counsel the witness, although I
13     doubt he needs such counseling, that disclosing
14     certain donor information potentially could invade
15     their First Amendment privileges.
16             Q.    Are the institutional donations -- strike
17     that.
18             Are the donations from institutional sources
19     sometimes referred to as grants?
20             A.    I'm not sure.            I don't think I remember
21     seeing them -- I mean, generally speaking -- let me
22     put it this way.          I'll answer in my own capacity.                      I
23     don't remember using that term.
24             Q.    That term is sometimes used in some of the
25     reporting on the 990, for example.                            That's why I

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                                                                               Page 135
 1     asked.
 2             A.    Well, if it's on the 990, you can show it
 3     to me and I can answer questions about it, to the
 4     extent I can.
 5             Q.    So we've talked about three methods.
 6     Individual solicitations, and those could either be
 7     to individual people or to institutions, correct?
 8             A.    Okay.    I think I've already answered that.
 9     I'm not going to go any further on that.
10             Q.    The answer is, yes, the individual
11     solicitations could either go to an individual person
12     or to an institution.
13             A.    Right.     My attorney has made it clear that
14     I'm to be cognizant of the boundaries of a privilege
15     asserted in this case, and the identity of donors is
16     not something I'm going to testify about.
17             Q.    Understood.         And I'm not asking for that.
18     I'm just asking for the methodology -- like the
19     methods that you use to raise funds.                          One is postal
20     mailings, correct?
21             A.    I've testified to that.
22             Q.    The other is emails, correct?
23             A.    I stand on my earlier testimony.
24             Q.    And the third is individual solicitations,
25     correct?

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                                                                          Page 136
 1             A.    I stand on my earlier testimony.
 2             Q.    And individual solicitations can either be
 3     a solicitation of an individual person or an
 4     individual institution, correct?
 5             A.    In theory, yes.             Hypothetically, when you
 6     solicit money from an individual, it could be
 7     directed toward, in theory, a multiple of different
 8     types of entities.
 9             Q.    Are there other methods that, other than
10     those three that we just discussed, are there other
11     methods that PILF employs to raise funds?
12             A.    Well, as I sit here in my individual
13     capacity, I can't think of any right now off the top
14     of my head.       There could be, but I just don't know of
15     any.
16             Q.    You said you're the most knowledgeable
17     about PILF's fundraising activities, correct?
18             A.    That's right.           Doesn't mean that I might
19     have -- might not have forgotten something.
20             Q.    When PILF was sued in this case that
21     you're sitting in deposition for, PILF's board
22     thought it was a, quote, fundraising opportunity,
23     yes?
24             A.    I can't speak for the board and I can't
25     speak for the corporation sitting here either.                   That

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 1     was last week.
 2             Q.    Actually you can speak for the corporation
 3     because you're its president.
 4             A.    Doesn't mean I can speak for it in
 5     30(b)(6) capacity.           I can tell you what I think about
 6     it personally but not as the corporation.                       That was a
 7     good question for last Thursday.
 8             Q.    Well, as we discussed with your counsel,
 9     topics that were not able to be covered on Thursday,
10     we could cover today.
11                   MR. LOCKERBY:           You need to clearly
12     delineate that it's a 30(b)(6) question, and then it
13     would come out of the time for the individual
14     deposition, as I offered.
15                   MR. TEPE:        Okay.           Well, then I'll ask the
16     following questions in your 30(b)(6) capacity.
17             Q.    When PILF was sued in this case, PILF's
18     board thought it was a fundraising opportunity, yes?
19             A.    I don't remember that.                    If you have a
20     document to refresh my recollection ...
21                              (Adams Exhibit 26 marked for
22                   identification: Email correspondence
23                   from (topmost) C Adams sent
24                   4/13/2018
25                   PILF-ADAMS-0018016 - 0018017)

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                                                                              Page 138
 1             Q.    Exhibit 26 has been handed to you with the
 2     Bates number 18016.            Do you see that?
 3             A.    I see that.
 4             Q.    Do you recognize this document?
 5             A.    I don't, but I'm getting more acquainted
 6     with it as I read it.
 7             All right.        I've read the document.
 8             Q.    It begins with an email from an Ann C.
 9     Fitzgerald to you, April 12th; is that right?
10             A.    It does begin that way.
11             Q.    And she wrote, "Do you want to catch up by
12     phone?     I heard about the lawsuit, a fundraising
13     opportunity, if nothing else."                      Do you see that?
14             A.    It says that.
15             Q.    Who is Ann C. Fitzgerald?
16             A.    Ann C. Fitzgerald is a president of, as it
17     indicates on the document, of AC Fitzgerald &
18     Associates.
19             Q.    What does she do?
20             A.    She runs a company called AC Fitzgerald &
21     Associates.
22             Q.    And what does she do when she's running
23     the company called AC Fitzgerald & Associates?
24                   MR. LOCKERBY:            Object to the form, lack of
25     foundation.

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 1             A.    I don't have a foundation to answer that
 2     question.
 3             Q.    You hired her, did you not, PILF, that is?
 4             A.    Yes.
 5             Q.    Yes, and what did you hire Ann C.
 6     Fitzgerald to do?
 7             A.    She provides us advice about fundraising.
 8     What she does for other companies I can't speak to.
 9             Q.    What type of advice does she provide PILF?
10             A.    Well, on April 12th, 2018 she provided the
11     advice that this lawsuit would be a fundraising
12     opportunity for PILF, as one example.
13             Q.    What other type of advice does she provide
14     PILF?
15             A.    Well, on April 12th, she also provided an
16     offer to talk by phone because she had heard about
17     the lawsuit with an exclamation point.
18             Q.    Yes.      My question is, other than what she
19     advises here in this email of April 12th, my question
20     is what other type of advice does she provide PILF?
21             A.    Well, on April 13th she provided the
22     advice that she thought there should be a direct mail
23     letter to low-dollar donors, the general theme is
24     we're being attached -- which should be attacked, I
25     think -- because we must be doing something right.

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                                                                           Page 140
 1     The work of PILF so threatens the left that they are
 2     suing us.
 3             On April 13th she also provided the advice to
 4     do a special letter sent to high-dollar donors,
 5     depending on the number, maybe even via Express Mail
 6     or FedEx.      General idea, excuse the urgency of this
 7     letter, but I need to alert you right away, PILF is
 8     being sued by LULAC simply because we've been
 9     fighting for voter integrity XXX.
10             This frivolous lawsuit will cost PILF
11     $XX or more, the money we could have used to continue
12     our fight against illegal voting practices, and
13     that's the aim of the liberals, detract and deter
14     PILF from its mission.              I assure you we will not be
15     deterred, but we need your help, et cetera.                   The
16     letter will have a reply form and stamped reply
17     envelope.
18             On April 13th she also provided the advice,
19     possibly offer to set up a follow-up call with
20     high-dollar donors to give them additional details
21     about the lawsuit.           On April 13th, she also provided
22     the advice, we can help and wordsmith this, but
23     that's the idea, and I think we can do several other
24     mailings.      That was the extent of her additional
25     advice.

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 1             Q.    Mr. Adams, you just read through a portion
 2     of the email from Ann C. Fitzgerald -- actually not a
 3     portion.      You read through the entire email of Ann C.
 4     Fitzgerald on April 13th, right?
 5             A.    No.    I skipped the portion that said, "I
 6     knew you were doing an email, but I think you could
 7     do a couple other things," as I recall.
 8             Q.    So other than the advice that she provides
 9     in the email exhibit in front of you, what kind of
10     advice does she provide PILF?
11             A.    Well, if you have additional emails of her
12     providing advice to refresh my recollection, I'm more
13     than happy to take a look at those.
14             Q.    You testified before that you're the most
15     knowledgeable person with respect to fundraising at
16     PILF, correct?
17             A.    That's not inconsistent with what I just
18     said.
19             Q.    And you have no recollection other than
20     the document in front of you as to the services
21     Ms. Fitzgerald provides PILF.
22             A.    That's not what my testimony was.
23             Q.    I understand.            I'm trying to understand
24     the scope of your knowledge as to the advice that
25     Ms. Fitzgerald provides PILF.

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 1             A.    Is there a question?
 2             Q.    So the question, sir, is, other than what
 3     is in front of you in this exhibit, what kind of
 4     advice does Ms. Fitzgerald provide PILF?
 5             A.    She provides advice to PILF of a similar
 6     nature of the sort you see in Exhibit 26.
 7             Q.    So in response to Ms. Fitzgerald's April
 8     12th email in which she says, "a fundraising
 9     opportunity, if nothing else," you responded to her,
10     correct?
11             A.    I did respond to her, according to
12     Deposition Exhibit 26.
13             Q.    And in your response you said, "my board
14     members had the same reaction as you, a fundraising
15     opportunity," correct?
16             A.    It says that in the email.
17             Q.    So, presumably, you had some basis as to
18     the thinking of board members, correct?
19             A.    Well, I think I wouldn't have written that
20     if I didn't have some basis.
21             Q.    And the thinking of board members was that
22     the lawsuit provided a fundraising opportunity,
23     correct?
24                   MR. LOCKERBY:            I'm going to register an
25     objection.       Defendants have objected generally to

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                                                                          Page 143
 1     communications with board members, but subject to the
 2     objection and subject to the extent that
 3     communications with board members have been shared
 4     outside the organization, there would be no problem
 5     with the witness answering that question or that --
 6     questions along those lines.
 7                   MR. TEPE:        I don't understand the
 8     objection, but perhaps the witness can answer the
 9     question.
10             Q.    The question was, the thinking of board
11     members was that the lawsuit provided a fundraising
12     opportunity, correct?
13             A.    Well, I don't know, except to the extent
14     that this document refreshes my recollection that
15     there was some thinking along those lines.
16             Q.    And what was the basis for that thinking
17     that this provided a fundraising opportunity?
18             A.    You've got me there, because I don't
19     remember.
20             Q.    Ms. Fitzgerald responds with a couple of
21     pieces of advice, and you read those pieces of advice
22     a few minutes ago, correct?
23             A.    On April 13th she responds with the
24     suggestions that I read when you asked me what other
25     advice besides April 12th she gave.

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                                                                              Page 144
 1             Q.    And she advised direct mail letter to the
 2     low-dollar donors.           Do you see that?
 3             A.    I can read that.                 It says that.
 4             Q.    And what is a low-dollar donor?
 5             A.    I don't know what she meant by that.                     I
 6     can tell you what I think that means.
 7             Q.    What do you think that means?
 8             A.    It means somebody who has given a small
 9     amount of money.
10             Q.    What's a small amount?
11             A.    I don't have a boundary on that at all
12     that I've ever considered, not even right now.
13             Q.    A million dollars, is that small?
14             A.    Certainly not.
15             Q.    A special letter sent to high-dollar
16     donors was another recommendation of hers, correct?
17             A.    I've already testified, when you asked me
18     what advice did she give besides the April 12th
19     advice, I included that advice in her April 13th
20     email.
21             Q.    What is a high-dollar donor to your
22     understanding?
23             A.    Maybe one who gives a million dollars.
24             Q.    What about a thousand dollars?
25             A.    That one is a hard one.                     I don't have a

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                                                                           Page 145
 1     view about that as a 30(b)(6) deponent.
 2             Q.    Five thousand dollars?
 3             A.    Don't have a view about that.
 4             Q.    Well, presumably, you would have to have
 5     some view as to what constitutes a high-dollar donor
 6     in order to send a special letter to them, correct?
 7                   MR. LOCKERBY:           Object to the form.
 8             A.    I don't understand the question.
 9             Q.    Well, if you're coming up with a mailing
10     list for this special letter that is recommended
11     here, would you send that letter to someone who
12     previously donated $5,000?
13             A.    Well, there's multiple letters suggested.
14     So it would seem to capture --
15             Q.    And I'm asking about the special letter
16     sent to high-dollar donors.
17             A.    Right.     I don't know.               You notice there's
18     some Xs in there.
19             Q.    And then the third bullet is, "possibly
20     offer to set up a follow-up call with the high-dollar
21     donors to give them additional details about the
22     lawsuit."      Do you see that?
23             A.    Well, when you ask me what advice did she
24     give besides on April 12th, I read that into the
25     record.

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                                                                          Page 146
 1             Q.    Yes.      And what phone calls would have been
 2     made if you don't know who the high-dollar donors
 3     are?
 4             A.    There are no lines of demarcation in this
 5     document as to what is a low-dollar donor or a
 6     high-dollar donor.
 7             Q.    I understand.
 8             A.    So I'm not going to make one here.
 9             Q.    That's why I'm asking that question as to
10     beyond this particular document, what is a
11     high-dollar donor?
12             A.    That is an undefined categorization used
13     by a third party.
14             Q.    Right.       A third party working for you to
15     help you raise money.               And so my question is:      Who is
16     a high-dollar donor?
17             A.    And I've answered that question.
18             Q.    In PILF's perspective, you don't know what
19     a high-dollar donor is?
20             A.    I've answered that question.
21             Q.    Just to make sure I understand, your
22     testimony is PILF does not know what a high-dollar
23     donor is.
24             A.    I stand on my previous testimony.
25             Q.    Sir, my question is, and I have not asked

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                                                                          Page 147
 1     this question before -- I've asked other questions --
 2     but my question is:            Is it your testimony that PILF
 3     does not know what a high-dollar donor is?
 4             A.    This is the last time I'm going to answer
 5     this question.        There is no definition of a
 6     high-dollar donor at PILF.
 7                              (Adams Exhibit 27 marked for
 8                   identification: Email correspondence
 9                   from (topmost) D Kulivan sent
10                   5/31/2018
11                   PILF-ADAMS-0018001 - 0018002)
12             Q.    The court reporter has marked as Exhibit
13     27 a document with the Bates number 18001.
14             This is an email chain that begins with an
15     email from Shawna Powell to David Kulivan, correct?
16             A.    That's what the document says.
17             Q.    It's dated May -- excuse me, May 30th --
18     2018, and she writes, "David, we now have info we can
19     provide to our large donors/foundations re the LULAC
20     suit."     Do you see that?
21             A.    The document says that.
22             Q.    And you did provide information to large
23     donors/foundations, as indicated here by Ms. Powell,
24     correct?
25                   MR. LOCKERBY:           Object to the form.

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                                                                              Page 148
 1                   MR. TEPE:          What's the objection?
 2                   MR. LOCKERBY:              Well, the "you" is
 3     undefined.
 4                   MR. TEPE:          PILF.           This is 30(b)(6)
 5     capacity.
 6             A.    So we're still on the 30(b)(6)?
 7             Q.    Yes.
 8             A.    I don't know the answer to that right now.
 9             Q.    Do you know in your personal capacity?
10             A.    Well, no, I don't.                   And I don't know in my
11     corporate capacity, because I didn't think that you
12     were going to be going back in, so I didn't refresh
13     my recollection about this.                      More than likely --
14     well, I'm not going to speculate.
15             Q.    You did provide information to large
16     donors/foundations regarding the LULAC lawsuit,
17     correct?
18             A.    I'm not going to talk about our
19     communications with donors.
20             Q.    I'm not asking about the content of
21     communications, sir.               I'm asking whether or not you
22     did in fact provided information to large
23     donors/foundations regarding the LULAC lawsuit?
24             A.    Right, and I'm telling you I don't
25     remember.

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                                                                                   Page 149
 1             Q.    You don't remember.
 2                   MR. LOCKERBY:           Objection.               Is there a
 3     question?
 4             Q.    You're the most knowledgeable person about
 5     fundraising at PILF, and you don't remember if PILF
 6     provided information to large donors/foundations
 7     regarding the instant lawsuit.                      That's your
 8     testimony.
 9                   MR. LOCKERBY:           Object to the form.
10             A.    Your question was something different.                         It
11     was about a letter with attachments.                            It was about
12     this document.
13             Q.    No, wrong.
14             A.    Well, then ask it again.
15             Q.    My question was:                 Did you provide
16     information to large donors/foundations regarding the
17     LULAC lawsuit?
18             A.    Well, I don't understand the question,
19     because I don't know what the line of demarcation is
20     about large donors, for one.                    There's no line of
21     demarcation.       The answer is some information was
22     provided about the lawsuit to some donors.
23             Q.    And would some donors include large
24     donors/foundations?
25             A.    I don't understand the question.                        What is

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                                                                          Page 150
 1     a large donor?        And I can answer your question
 2     possibly.
 3             Q.    Well, this is the words of Ms. Powell, who
 4     is the secretary of PILF, correct?
 5             A.    That's what she wrote.
 6             Q.    Ms. Powell, in this email here, when she
 7     says, "we now have info we can provide to our large
 8     donors," she's referring to the special letter sent
 9     to high-dollar donors that was recommended by Ann C.
10     Fitzgerald in the previous exhibit, correct?
11                   MR. LOCKERBY:           Object to the form.
12             A.    She could be referring to that which is
13     redacted.      I don't know, as I sit here right now.
14             Q.    Well, presumably, she's not talking about
15     a direct mail letter to low-dollar donors, correct?
16             A.    I can't speculate.
17             Q.    Do you need to speculate as the president
18     of PILF and the most knowledgeable person about
19     PILF's fundraising?
20             A.    I do need to account for the possibility
21     that what's redacted is the answer to your question,
22     and that requires a measure of speculation because I
23     cannot remember what's redacted.
24             Q.    And so just to make sure I understand,
25     your testimony today is that you have no recollection

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                                                                          Page 151
 1     as to whether or not PILF provided information about
 2     the LULAC lawsuit to, quote, large
 3     donors/foundations?
 4             A.    Well --
 5                   MR. LOCKERBY:           Object to the form.
 6             A.    Right, I objected to the confusing nature
 7     of the large.       If you would ask the question without
 8     that element to it, I have already answered that
 9     question, and the answer was that is what the
10     transcript states.
11                   MR. TEPE:        Move to strike as
12     nonresponsive.
13             Q.    So, again, your testimony today is that
14     you have no recollection as to whether or not PILF
15     provided information about the LULAC lawsuit to,
16     quote, large donors/foundations.
17                   MR. LOCKERBY:           Object to the form.
18             Q.    Is that right?
19             A.    I don't understand the question, for one,
20     and to the extent it did not involve large donors,
21     I've already answered it.
22             Q.    The answer is, yes, you have provided
23     information to donors/foundations regarding the LULAC
24     lawsuit.
25             A.    The answer is we have provided information

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                                                                          Page 152
 1     to some donors about the lawsuit.
 2             Q.    And the outreach to these donors netted
 3     PILF some money, correct?
 4                   MR. LOCKERBY:            Object to the form of the
 5     question.
 6             A.    I don't think it netted any money.
 7             Q.    Are you saying that the information
 8     provided to some donors of some size regarding the
 9     LULAC lawsuit yielded zero dollars?
10             A.    Saying it's awfully close to that.               That
11     was the testimony last week when you asked this
12     question, and I'm answering it a second time.                    This
13     is the second time you've asked a 30(b)(6) question
14     on this topic.
15             Q.    And, yes, I believe your answer last time
16     was "next to nothing."
17             A.    There you go.            You have it in the
18     transcript.
19             Q.    And "next to nothing" is not nothing,
20     correct?
21             A.    I won't quibble with your
22     characterization.
23             Q.    And so how much money did PILF raise from
24     donors of any size based on solicitations invoking
25     the LULAC lawsuit?

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                                                                                Page 153
 1             A.    Next to nothing.
 2             Q.    How much money in dollar amounts did PILF
 3     raise from donors invoking the LULAC lawsuit?
 4             A.    I don't have that exact number.                   My
 5     understanding of it is it's less than a hundred
 6     dollars.
 7             Q.    So these large donors/foundations did not
 8     help out PILF at all, basically; is that your
 9     testimony?
10             A.    That's an incredibly confusing question.
11     "Help out PILF at all, basically" is not something
12     that any deponent would understand.
13             Q.    Well, so how much money do you spend on
14     the services of AC Fitzgerald?
15             A.    I'm not sure I'm going to answer that
16     because I don't know.
17             Q.    Is it more than a hundred dollars?
18             A.    More than a hundred dollars ever?                    Yes.
19             Q.    Do you have a yearly contract with AC
20     Fitzgerald?
21             A.    No.
22             Q.    Do you have a retainer with her?
23             A.    Yes.
24             Q.    Okay.       How much is the retainer worth?
25             A.    Again, I don't know.                    I answered that.

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                                                                              Page 154
 1             Q.    Is it above a hundred dollars?
 2             A.    Yes.      I've answered that.
 3             Q.    So have you fired AC Fitzgerald?
 4             A.    I don't understand the question.                     Have I
 5     fired AC Fitzgerald?
 6             Q.    Well, one of the recommendations of Ann C.
 7     Fitzgerald was a special letter to high-dollar
 8     donors, right?          We've already established that,
 9     correct?
10             A.    What does that have to do with firing her?
11             Q.    We established that that was one of her
12     recommendations, right?
13             A.    The document speaks for itself.                    I think
14     we spent some time on discussing her April 12th and
15     April 13 advice.
16             Q.    Right.        And so --
17             A.    Go ahead.
18             Q.    -- and so your testimony is that her
19     recommendation for a special outreach to large
20     donors/foundations was a failure, correct?
21             A.    No, it isn't my testimony.
22             Q.    Well --
23             A.    This is argumentative.                     This is -- this is
24     argumentative, and you're characterizing testimony I
25     never gave.       I mean, that's -- that's just low.

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                                                                                       Page 155
 1             Q.    I'm trying to understand.                         So your
 2     testimony is that, in response to solicitations of
 3     high-dollar donors and foundations invoking the LULAC
 4     lawsuit --
 5             A.    What document are you referring to?
 6             Q.    I'm not referring to a document.                            I'm
 7     asking a question.
 8             A.    What is the question?
 9             Q.    I'll restate it.                  So your testimony is
10     that, in response to solicitations of high-dollar
11     donors/foundations invoking the LULAC lawsuit, PILF
12     raised less than one hundred dollars.
13             A.    What was that meaning -- you just made a
14     hand gesture.        Was that --
15             Q.    I'm --
16             A.    Okay.
17             Q.    No, that was nothing.
18             A.    I thought maybe you were demanding a
19     quicker response.
20             Q.    No.    My arms were completely still.
21             A.    Right.      Okay.        You just asked a question
22     that misrepresented the evidence.                         Deposition Exhibit
23     26, as far as I can tell -- and I'm perfectly willing
24     to be pointed out as incorrect -- never uses one time
25     the word "solicitation."

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                                                                          Page 156
 1             Now, again, I stand ready to be corrected, but
 2     you mischaracterized the evidence.
 3             Q.    Do you not understand that asking for
 4     money in a fundraising capacity is often called a
 5     solicitation?
 6             A.    Could you show me perhaps where in the
 7     email of April 13th it suggests asking for money?
 8                   MR. LOCKERBY:            I'm going to object to the
 9     form of the question.              At this point it might almost
10     be easier if counsel could start over with a new
11     question rather than having us debate on the record
12     what the email says and doesn't say.
13             Q.    Well, I think we already established that
14     Ann C. Fitzgerald heard about the lawsuit, correct?
15             A.    She heard about the lawsuit.
16             Q.    And she said "a fundraising opportunity,
17     if nothing else," correct?
18             A.    She did say that.
19             Q.    And you said, "my board members had the
20     same reaction as you, a fundraising opportunity,"
21     correct?
22             A.    That's what the email says that I wrote.
23             Q.    And then Ms. Fitzgerald says, "I know you
24     were doing an email, but I think you could do a
25     couple of other things."                Do you see that?

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                                                                          Page 157
 1             A.    Yeah, a couple of other things being an
 2     important pivot point that you missed on all of your
 3     earlier questions.
 4             Q.    And one of those other things is a special
 5     letter sent to high-dollar donors, correct?
 6             A.    That is one of the things listed in her
 7     advice of April 13th.
 8             Q.    Okay.    And then we looked at the Exhibit
 9     27 involving communication between Ms. Powell and
10     Mr. Kulivan, who is also with AC Fitzgerald, correct?
11             A.    Your question is who is Mr. Kulivan with
12     or was it --
13             Q.    Mr. Kulivan is with AC Fitzgerald.
14             A.    Correct.
15             Q.    And if you then go to Exhibit 27,
16     Ms. Powell said, "David, we now have info we can
17     provide to our large donors/foundations regarding the
18     LULAC lawsuit."        Do you see that?
19             A.    She does say that.
20             Q.    Okay.    And so my question, which has not
21     been answered is:          Is it your testimony that
22     solicitations or fundraising letters sent to
23     high-dollar donors/foundations that invoked the LULAC
24     lawsuit yielded less than one hundred dollars?
25             A.    Well, I'd be excepting the premise that

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                                                                             Page 158
 1     they even existed, and so that's the first thing that
 2     supports my testimony, and the second thing is, if
 3     they did exist, they yielded next to nothing.
 4             Q.    And so is your testimony no longer that it
 5     yielded less than a hundred dollars?
 6             A.    Look, I've given you my best recollection,
 7     as I sit here today.             You didn't like any of them.
 8     You want to find inconsistencies between them.
 9             I've told you it's next to nothing; I've told
10     you it's less than a hundred dollars; I've told you
11     it's an insubstantial amount of money.                        That's three
12     different ways I can say the same thing.
13             Q.    But it did net you some money.
14             A.    I'm not sure.
15             Q.    So are we -- is it now back to zero?
16             A.    You're arguing with me now.
17                              (Adams Exhibit 28 marked for
18                   identification: Email correspondence
19                   from (topmost) D Kulivan sent
20                   5/1/2018
21                   PILF-ADAMS-0018006 - 0018007)
22             Q.    The court reporter has marked as Exhibit
23     28 a document with the beginning Bates number of
24     18006.     Do you recognize this document?
25             A.    I have Deposition Exhibit 28 in front of

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                                                                          Page 159
 1     me and I see it.
 2             Q.    It's an email from David Kulivan dated May
 3     1st, 2018; is that right?
 4             A.    That's what it says.
 5             Q.    To you and Ms. Powell.
 6             A.    Right.
 7             Q.    With a call agenda.
 8             A.    It says there's a call agenda attached.
 9             Q.    And then if you go to the attached, there
10     is redacted the contents of an agenda between David
11     Kulivan, yourself and Ms. Powell; is that right?
12             A.    It says it's an agenda with redactions.
13             Q.    Above the redactions it says, "updates on
14     LULAC lawsuit," and then a bullet, "Do you have a
15     green light to discuss with top donors yet?"
16             A.    That's what the document says.
17             Q.    Do you know what kind of information was
18     redacted?      I'm not asking for the content, just
19     generally.
20             A.    I have a general understanding of the
21     nature of information that would have been redacted.
22                   MR. LOCKERBY:            And I'm going to register
23     an objection.        That's set forth in detail on a
24     privilege log.
25                               (Adams Exhibit 29 marked for

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                                                                            Page 160
 1                   identification: Email correspondence
 2                   from (topmost) S Powell sent
 3                   4/13/2018
 4                   PILF-ADAMS-0040864 - 0040865)
 5             Q.    The court reporter has marked as Exhibit
 6     29 a document with the Bates number 40864.                      Do you
 7     recognize this?
 8             A.    I'm reading this, 29.                  I've read 29.
 9             Q.    And attached to the -- well, it's an email
10     that started with David Kulivan to Ms. Powell on
11     April 13th, 2018; is that right?
12             A.    Wait.     I'm sorry.             It was an email that
13     was from David Kulivan to Powell.
14             Q.    Right, initially.                And then Ms. Powell
15     forwarded that email to you at 1:36 p.m. on April
16     13th, right?
17             A.    That's what the document says.
18             Q.    And --
19             A.    Well, she forwarded something to me, the
20     attachment, which I presume is this second page of
21     Exhibit 29.
22             Q.    Right.      And then in the body she says,
23     "Final of LULAC v. PILF email, appeal for your
24     approval/edits," right?
25             A.    The document says that.

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                                                                          Page 161
 1             Q.    And then the attachment is a copy of that
 2     appeal, yes?
 3             A.    No.     A copy --
 4             Q.    A draft.
 5             A.    Thank you.           There's a difference.
 6             Q.    Indeed.        And so this is a draft what
 7     Ms. Powell calls appeal, what I would call
 8     solicitation, but that draft is attached to the
 9     email, yes?
10             A.    It appears to be from this exhibit.
11             Q.    Right.        And then so the draft has a
12     proposed subject line, "Soros-Funded Group Sues
13     PILF."
14             A.    That's on document 29.
15             Q.    What's the reason for pointing out George
16     Soros?
17             A.    In this document?
18             Q.    Yes.
19             A.    Well, because the Plaintiffs in this case,
20     at least their national entity, has received funding
21     from Open Society Institute, which is a Soros-funded
22     and managed operation.
23             So the fact that they have been funded by
24     these funding sources has relevance to the merits,
25     relevance to the purpose, relevance to the intent,

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                                                                          Page 162
 1     relevance to the funding and resources involved.                    It
 2     has multiple facets of relevance to the people who
 3     would receive this email.
 4             And, again, you just made a gesture.
 5             Q.    No, what I'm doing is I'm, like, moving my
 6     hand, so --
 7             A.    With an expression.
 8             Q.    My hand movement was because I was about
 9     to ask another question, which is -- and I'm an
10     expressive person; I apologize for that, Mr. Adams --
11     but my question is:            What's the reason for calling
12     out George Soros as purportedly a funder of the
13     national LULAC organization?
14             A.    I just provided an answer in your previous
15     question for why that is, and I stand by that
16     testimony.
17             Q.    Is there something wrong with the Open
18     Society Institute?
19             A.    Well, what do you mean by "wrong"?
20             Q.    Well, you said in your previous answer
21     that LULAC national, who is not a plaintiff in this
22     case, has received funding from the Open Society
23     Institute, correct?
24             A.    That was in my answer, correct, and -- and
25     you preclude the possibility that the Plaintiff has

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                                                                          Page 163
 1     received funding in that answer.
 2             Q.    But you have no basis for saying that.
 3             A.    Not yet.
 4             Q.    And then you say, "the Open Society
 5     Institute is a Soros-funded and managed operation,"
 6     right?
 7             A.    It's a factual statement.
 8             Q.    Okay.    So what is the relevance of George
 9     Soros donating or George Soros's Open Society
10     Institute donating money to LULAC national?
11             A.    Well, I've testified to that.
12             Q.    No, you said that it has relevance.
13             A.    And I gave you examples of why.
14             Q.    Well, you said it has relevance to the
15     merits.      How so?
16             A.    Well, because -- because the Soros-funded
17     lawsuits like exist around the country will
18     frequently be brought on flimsy foundations in order
19     to make a broader ideological or political point, and
20     that's happening all over the country right now,
21     whether it involves immigration, whether it involves
22     voting, or a wide variety of things.
23             So if Soros is funding the effort, it
24     frequently is less about the merits of the case but
25     more about the broader ideological warfare, which is

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                                                                              Page 164
 1     exactly what I characterize and consider this case to
 2     be.    Otherwise, you would have resolved this a long
 3     time ago.      There are other reasons.
 4             Q.    This proposed appeal has links to the
 5     Alien Invasion reports, correct?
 6             A.    The draft appears to.
 7             Q.    And this email appeal was sent, yes?
 8             A.    If you have a document to refresh my
 9     recollection, it would be helpful, because right now
10     I can't remember.
11                              (Adams Exhibit 30 marked for
12                   identification: Email correspondence
13                   from (topmost) C Adams sent
14                   4/13/2018
15                   PILF-ADAMS-0017674 - 0017677)
16             Q.    The court reporter has marked as Exhibit
17     30 a document with Bates number 17674.                        Do you
18     recognize this document?
19             A.    Exhibit 30, I've looked at.
20             Q.    And this is a final version of the email
21     appeal that we looked at in draft form in Exhibit 29,
22     correct?
23             A.    It could be.          It could not -- also might
24     not be.
25             Q.    Do you want to take a look?

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                                                                            Page 165
 1             A.    Well, I'm looking at it right now.
 2     There's no way to tell.
 3             Q.    Well, you can compare the two, right?
 4             A.    Well, but your question was, was this the
 5     final, final email, and this might not be the final
 6     email.
 7             Q.    Well, what makes you say it might not be
 8     the final email?
 9             A.    Because Shawna Powell routinely sent test
10     emails to herself to see how they looked.                      And so
11     there's a prospect -- possibility that this is a test
12     email that she sent to herself to see how it looked.
13     I can't preclude that as one of the possibilities for
14     this document.
15             Q.    Well, you wouldn't send out a test email
16     unless you were planning on sending it out otherwise,
17     right?
18             A.    No, that's not correct.                   You send the test
19     email in order to see if it looks adequate and
20     sufficient to send out.
21             So you asked me if this was the final email
22     that was sent, and the truthful answer is it could be
23     but it also might not be.
24             Q.    But you did send out email solicitations
25     citing the LULAC lawsuit, correct?

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                                                                          Page 166
 1             A.    Well, you're getting back to the ultimate
 2     question, did this go or not, and I don't remember.
 3             Q.    No, I'm not asking whether or not this one
 4     went.     I'm asking -- you do know that email
 5     solicitations went out invoking the LULAC lawsuit,
 6     correct?
 7             A.    If you have one to show me, I will opine
 8     about it --
 9             Q.    No --
10             A.    -- or otherwise offer testimony.
11             Q.    Sir --
12             A.    Probably, but I don't remember.
13             Q.    But you're here as a 30(b)(6) witness,
14     correct?
15             A.    A 30(b)(6) witness is going to need their
16     recollection refreshed also.                    If you have a document
17     that will refresh my recollection on what was sent,
18     I'd be happy to look at it.
19             Q.    Well, how would I know what was sent other
20     than to look at the documents that you produced in
21     this lawsuit?
22             A.    Well, the documents produced in this
23     lawsuit are not going to necessarily tell you what
24     was sent.
25             Q.    That's why --

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                                                                            Page 167
 1             A.    They don't come with a guide.
 2             Q.    That's why we need the testimony of an
 3     educated 30(b)(6) witness to say yes, indeed, this
 4     was sent.
 5             A.    Right.
 6             Q.    And we don't have that here.
 7             A.    Well --
 8                   MR. LOCKERBY:           Object to the form.
 9             A.    -- I don't know from the face of Exhibit
10     30 whether or not this was sent.                       And I gave you very
11     specific reasons why I can't make that conclusive
12     assertion.
13             Q.    And then I asked the follow-up question,
14     which was, it is the case that PILF sent email
15     solicitations invoking the LULAC lawsuit.
16             A.    You showed me an exhibit in last
17     Thursday's 30(b)(6) that looked different than this
18     that had more formatting that you asked me questions
19     about that may be one of those.                      If you want to bring
20     that back, that might be one of them.
21             Q.    No, what I want is an answer to my
22     question, which is, it is the case, sir, that PILF
23     sent out email solicitations invoking the LULAC
24     lawsuit, yes or no?
25             A.    And my testimony is I think you showed me

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                                                                               Page 168
 1     one last week that you haven't shown me today.
 2             Q.    No, that's not the case, because those
 3     were solicitations invoking the Alien Invasion
 4     reports.      I'm now asking you questions about
 5     solicitations invoking the LULAC lawsuit.
 6             A.    Yeah, I have -- I'm not sure that -- I
 7     don't think there were others.
 8             Q.    My question again is:                   It is the case that
 9     PILF sent email solicitations invoking the LULAC
10     lawsuit, yes?
11             A.    I don't think there were.
12             Q.    And so it's your testimony that you
13     believe this (indicating) exhibit, Exhibit 30,
14     showing an email solicitation invoking the LULAC
15     lawsuit was not sent.
16                   MR. LOCKERBY:             Object to the form.
17             A.    No.    Your question was confusing.                 This is
18     a solicitation, one singular solicitation.                       Your
19     question was plural, solicitations, which would mean
20     a different message, a different document, a
21     different mailing.
22             So my answer has been, if you have a document
23     to show me, I'll be happy to refresh my recollection
24     about separate solicitations.
25                                (Adams Exhibit 31 marked for

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                                                                          Page 169
 1                   identification: Email correspondence
 2                   from (topmost) S Powell sent
 3                   6/1/2018 with attachment
 4                   PILF-ADAMS-0040925 - 0040930)
 5             Q.    The court reporter has marked as Exhibit
 6     31 a document with the Bates number 40925, correct?
 7     Do you have that in front of you?
 8             A.    40925, Exhibit 31, I have it in front of
 9     me.
10             Q.    And this begins as an email from Timothy
11     Webster dated June 1st to Shawna Powell; is that
12     right?
13             A.    The email is, yes.
14             Q.    And who is Timothy Webster?
15             A.    He is with a group called ForthRight
16     Strategies.
17             Q.    And what is ForthRight Strategy?
18             A.    They write letters like the one that is
19     attached to Deposition Exhibit 31.
20             Q.    Mr. Webster said, "Shawna, here's the
21     house letter."        What is a house letter?
22             A.    A house letter is something that goes to
23     donors.
24             Q.    What kind of donors?
25             A.    House donors.

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                                                                          Page 170
 1             Q.    What's a house donor?
 2             A.    It's a donor.             It's somebody who donates.
 3             Q.    Does a house donor have a particular
 4     criteria attached to it?
 5             A.    They're donors.
 6             Q.    So any donor would get this house letter.
 7             A.    Well, I don't agree with that.
 8             Q.    Well, that's what I'm trying to
 9     understand.       Who would get the house letter?
10             A.    A donor.
11             Q.    All donors?
12             A.    No.
13             Q.    Some donors?
14             A.    Some donors.
15             Q.    Who are the some donors?
16             A.    Ones in the house file.
17             Q.    You're defining house letter by saying
18     they are the ones in the house file, and I'm trying
19     to understand who gets the house letter?
20             A.    Donors who are in the house file.
21             Q.    And what kind of donors are in the house
22     file?
23             A.    Ones who have previously donated.
24             Q.    But not all donors are on the house list,
25     house file?

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                                                                          Page 171
 1             A.    Well, it depends.                It depends on whether
 2     or not they've donated to one of these mailings
 3     before.
 4             Q.    So once they've donated before, then they
 5     get on to the house list?
 6             A.    That's what a house file is.
 7             Q.    Well, that's what I'm asking you about.
 8             A.    All right.
 9             Q.    So attached to this is a draft house
10     letter, and this letter refers to the LULAC lawsuit,
11     yes?
12             A.    This is the sort of document I was asking
13     you for a period of time in my testimony if you had
14     to refresh my recollection.                    The answer is yes, it
15     refers back to LULAC lawsuit.
16             Q.    In the second paragraph, you say -- well,
17     strike that.
18             The letter says, "I'm writing to tell you that
19     we are being sued for our work exposing voter fraud."
20     Do you see that?
21             A.    I can read that in the letter.
22             Q.    Right.     And this letter purports to come
23     from you, J. Christian Adams, with the Public
24     Interest Legal Foundation, yes?
25             A.    It purports to come from J. Christian

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                                                                              Page 172
 1     Adams.
 2             Q.    And on page 2 of the draft letter it
 3     recites some of the findings of Alien Invasion II; is
 4     that right?
 5             A.    I'm sorry.         What does?            It does what?
 6     Could you re-ask it?
 7             Q.    On page 2 of the draft letter it recites
 8     some of the findings of Alien Invasion II, correct?
 9             A.    Well, I would not characterize this
10     necessarily as just a republication of Alien II.
11             Q.    I didn't ask that.
12             A.    Well, you said it recites findings.
13             Q.    Right.
14             A.    So the implication is it republished those
15     findings.      And so I'm answering the question, no, I
16     would not agree that it necessarily recites findings
17     from Alien II.
18             Q.    Actually my question was, on page 2 of the
19     draft letter, it recites some of the findings of
20     Alien Invasion II.
21             A.    And I continue to stand by my testimony
22     that some of the findings may not be an accurate
23     statement.      I don't know because I think there's some
24     differences.
25             I actually -- there are, there's differences

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                                                                          Page 173
 1     between this letter and the findings of Alien II.                     So
 2     the answer to your original question is no.
 3             Q.    So you're saying this letter does not
 4     recite any findings of Alien Invasion II?
 5                   MR. LOCKERBY:           Objection to form.
 6             A.    I didn't say that.                You're adding an
 7     absolute now in your question, the word "any."                     And
 8     what I've testified to is this letter -- maybe this
 9     will clear it up.
10             This letter cites facts related to Alien II,
11     as far as I can see, sitting here -- and I can be
12     corrected -- in a way that is different than Alien II
13     recites those facts
14             Q.    I'm not saying it is identical, but my
15     question is, it does cite -- strike that.
16             So right here on page 2 of the letter it says,
17     "here are some of the very disturbing facts we
18     uncovered in our reports."                     Do you see that?
19             A.    I see it says that.
20             Q.    And it says, "Virginia election officials
21     quietly removed 5,556 voters from the voter rolls for
22     noncitizenship between 2011 and May 2017."
23             A.    That is an accurate statement that in fact
24     that did happen.
25             Q.    And that's one of the facts or findings

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                                                                          Page 174
 1     published in Alien Invasion II, correct?
 2             A.    In large part, but not entirely.
 3             Q.    And then it also says, one thousand, here
 4     in the letter, "1,852 of those removed as noncitizens
 5     cast ballots."        Do you see that?
 6             A.    The letter says that.
 7             Q.    And that's also on the findings of Alien
 8     Invasion II, is it not?
 9             A.    Probably is the number, if I say that's
10     exactly the number, but I have no reason to quibble
11     with it.
12             Q.    And the next bullet is, "a total of 7,474
13     illegal ballots were cast from the pool of removed
14     noncitizens."       Do you see that?
15             A.    It does say that.
16             Q.    And that was also one of the findings from
17     Alien Invasion II, correct?
18             A.    Again, I think there's some difference
19     between Plaintiff's Exhibit -- I think we're on 31 --
20     and the language you just read and the findings in
21     Alien II.
22             Q.    So are you saying the letter here to
23     donors mischaracterized the findings of Alien
24     Invasion II?
25                   MR. LOCKERBY:           Object to the form.

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                                                                             Page 175
 1             A.    Nope, not saying that at all.
 2             Q.    Okay.     So you would agree that this letter
 3     recites some of the findings of Alien Invasion II,
 4     yes?
 5             A.    I won't disagree with you.
 6             Q.    Meaning yes.
 7             A.    No, not meaning yes.
 8             Q.    Well, why do you say I wouldn't disagree
 9     with you if the meaning is not yes?
10             A.    Because I don't have a view on that.
11             Q.    You don't have a view?
12             A.    I have, but you don't like it.                   I've told
13     you a number of times that I think there's --
14             Q.    Sir --
15             A.    If I might finish the question, if it was
16     one, and if it wasn't one, let me know that.                        "You
17     don't have a view."            Was there a question mark after
18     that?
19             Q.    So the question that was pending is, so
20     you would agree that this letter recites some of the
21     findings of Alien Invasion II.
22             A.    I won't disagree with that.
23             Q.    And my question now is:                    Why do you phrase
24     your answer that way instead of just saying yes?
25                   MR. LOCKERBY:            Object to the form.

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                                                                               Page 176
 1             A.    I think there are differences, which I've
 2     already testified about at least twice in the last
 3     ten minutes.
 4             Q.    What's the difference between yes and --
 5             A.    You just cut me off.
 6             Q.    I thought you were finished.                      What's the
 7     difference between saying I won't disagree with you
 8     and yes?
 9             A.    I don't know.              I think we're so mired down
10     in a word game now by this point that there's no way
11     to answer the question.
12             Q.    This mailing was sent, yes?
13             A.    I doubt it.
14             Q.    Why?
15             A.    Because this mailing would have never been
16     sent, more than likely, the way it's presented in
17     Deposition Exhibit 31.
18             Q.    That's not my question.                      My question is
19     that -- my question is not would this draft with no
20     names in the address block be sent.
21             My question is:              Did this letter, this draft
22     letter, become finalized and sent to donors?
23             A.    Almost certainly not.
24             Q.    And why?
25             A.    Because, to the best of my recollection,

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                                                                          Page 177
 1     it is inconceivable that a draft from ForthRight
 2     Strategy has ever gone out without significant edits
 3     being made to it.
 4             So my testimony is that it is almost certainly
 5     not the case that the answer to your question was
 6     yes.
 7             Q.    Okay.    So it is the case, though, that an
 8     edited version of the house letter that we were just
 9     looking at would have been sent out.
10             A.    I don't know.           There have been times over
11     the years where I have absolutely stopped the mailing
12     of a draft fundraising letter and said don't send
13     this.
14             Q.    But you don't recall doing that in this
15     instance?
16             A.    Well, this might have been the instance.
17             Q.    But you don't recall that specifically.
18             A.    Well, specifically, no, but generally,
19     yes.    If you have a document that is the letter, I
20     can answer that question.
21                              (Adams Exhibit 32 marked for
22                   identification: Email correspondence
23                   from (topmost) S Powell sent
24                   8/28/2018
25                   PILF-ADAMS-0041116 - 0041122)

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                                                                            Page 178
 1             Q.    The court reporter has marked as Exhibit
 2     32 a document with the Bates number 41116.                       Do you
 3     recognize this document?
 4             A.    This appears to me to be another draft
 5     from ForthRight Strategies to me in Exhibit 32.
 6             Q.    Okay.     So Exhibit 31, we were looking at a
 7     draft from June of 2018, yes?
 8             A.    Hold on.       June 1st, 2018 in Exhibit 31.
 9             Q.    And this draft submitted by Timothy
10     Webster of ForthRight Strategies has a submission
11     date of August 22nd, 2018, yes?
12             A.    I thought it was 28.
13             Q.    Well, the email from Ms. Powell to you is
14     August 28th.
15             A.    Okay.
16             Q.    But then there's a -- it's called a draft
17     copy approval form.            Do you see that in the
18     attachment?
19             A.    Page 2.
20             Q.    Right.      And it has a submission date.
21     That's what I was referring to.
22             A.    Well, right, there it says 8-22-18.
23             Q.    And the package name is, I guess, a field
24     on this cover page to the draft letter.                       It's called
25     "Sued Bad News"; is that right?

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                                                                          Page 179
 1             A.    It says, "I have some very bad news to
 2     share with you."         That's the first sentence.
 3             Q.    No, but I'm on the cover page.
 4             A.    You mean the first page.
 5             Q.    No, the cover page, the draft -- the
 6     approval form.
 7             A.    Okay.    Got it.          Right.
 8             Q.    So you have the email, okay, and then
 9     before you get to the letter it says "approval page,"
10     right?     And the package name is Sued Bad News?
11             A.    That's what it says in the document.
12             Q.    What is the "package code"?
13             A.    I have no idea.
14             Q.    Who sends these letters, if they go out?
15     Who actually mails them out?
16             A.    ForthRight Strategies.
17             Q.    And then so part of this attachment is
18     another draft of a house letter invoking the fact
19     that you were, PILF, was sued; is that right?
20             A.    It's a draft of a letter prepared by
21     ForthRight Strategies in Exhibit 32.
22             Q.    Right, that says, "I have some very bad
23     news to share with you.               As you know, we're being
24     sued for our work investigating and reporting on
25     noncitizens illegally registering to vote and

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                                                                          Page 180
 1     actually voting in elections," correct?
 2             A.    That's an accurate statement.
 3             Q.    And that's referring to the LULAC lawsuit,
 4     correct?
 5             A.    It is.     There is no other.
 6             Q.    And a version of this letter was sent out
 7     to PILF donors, correct?
 8             A.    Well, there we are back again at the same
 9     issue.     If you have a document that shows me that
10     this document was sent -- now if you're asking me
11     about a version of this letter, what do you mean by
12     version, I don't understand.                   Like a reproduction of
13     this letter being a version, or something closely
14     approximating this letter being a version?                    There's
15     two different ways to interpret that question.                   Can
16     you clarify it, please?
17             Q.    Was an edited version of this letter sent
18     out to PILF donors?
19             A.    Okay.    That I do not know the answer to.
20     If you have an edited version of this letter that you
21     could refresh my recollection that indicates it was
22     sent, I could answer that question easier -- or at
23     all.
24             Q.    If someone were to donate based on one of
25     these house letters, where would that return mail go?

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                                                                           Page 181
 1             A.    I don't know.
 2             Q.    Would it go to ForthRight Strategies?
 3             A.    It would go to a P.O. box in Washington,
 4     D.C.
 5             Q.    And who picks up the mail in that P.O.
 6     box?
 7             A.    Most likely ForthRight Strategies.
 8             Q.    So they send out the letters and then they
 9     get the responses; is that right?
10             A.    ForthRight Strategy sends out the
11     letters -- I think it's ForthRight Strategy -- and
12     responses go back to a third party, not to PILF.                     I
13     don't see those responses, if that's what you're
14     asking.
15             I need to take a break.                   I'm starting to lose
16     my voice a little bit.               Is this a good time?
17                   MR. TEPE:        It is a good time.
18                   VIDEO SPECIALIST:                We're off the record,
19     2:30.
20             (Proceedings recessed)
21                   VIDEO SPECIALIST:                We are back on the
22     record, 2:46.
23     BY MR. TEPE:
24             Q.    We're ending the questioning of the
25     30(b)(6) topic of fundraising and moving on to

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                                                                          Page 182
 1     something else.
 2                               (Johnson Exhibit 8
 3                   previously marked for identification
 4                   and referenced herein: Email
 5                   correspondence from (topmost) N
 6                   Johnson sent 9/29/2016 with
 7                   attachment
 8                   PILF-ADAMS-0005601 - 0005620)
 9                               (PILF Exhibit 9 previously
10                   marked for identification and
11                   referenced herein: Email
12                   correspondence from (topmost) C
13                   Adams sent 9/29/2016 with attachment
14                   PILF-ADAMS-0014015 - 0014033)
15             Q.    Handing to the witness two previously
16     marked exhibits, Johnson 8 and PILF 9.
17             Mr. Adams, I'm just going to ask you a few
18     questions about these two drafts, comparing them.
19             To set the foundation here, Johnson Exhibit 8
20     is a version of Alien Invasion I that he sent to you
21     on September 29th at 4:56 p.m.; is that right?
22             A.    I'm sorry.         There's a siren, and I think
23     you said 4 something.
24             Q.    4:56 p.m.        Let me see if there's a --
25             A.    It's gone or going.

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                                                                          Page 183
 1             Q.    All right.         Let me just do that again.
 2             So Johnson Exhibit 8 is an email attaching a
 3     draft of the Alien Invasion I report that he sent to
 4     you at 4:56 p.m. on September 29th, correct?                   2016,
 5     that is.
 6             A.    Right.     Johnson 8 says sent 9-29-2016,
 7     4:56 p.m.
 8             Q.    And PILF Exhibit 9, which you also have in
 9     front of you, is an email you sent on September 29th,
10     2016 at 9:02 p.m. with your edits to the Alien
11     Invasion I report; is that right?
12             A.    Almost correct.             It is a document, Exhibit
13     9, is an email I sent on 9-29-2016 at 9:02 p.m. with
14     some edits to the Alien Invasion report that Noel
15     Johnson had sent.
16             Q.    Okay.    Yes.       So this may not be all of
17     your edits ultimately to the report is what you're
18     saying.
19             A.    Correct.
20             Q.    But these are your edits -- these are
21     edits of yours at this time.
22             A.    Exactly, yes, that's more accurate.
23             Q.    I want to direct you to what is page 2 of
24     Exhibit 9.      It's got the Bates ending in 18.               And I
25     want you to compare that to Johnson 8 with the Bates

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                                                                               Page 184
 1     number 602.       Do you have those two pages in front of
 2     you?
 3             A.    I have those pages in front of me, right.
 4             Q.    So on PILF 9, on the page with 018,
 5     there's some text in bold that says, "in our small
 6     sample of just seven Virginia counties who responded
 7     to our public inspection requests, we found 976
 8     aliens who registered to vote illegally."                         Do you see
 9     that?
10             A.    The document says that.
11             Q.    And that is, if you compare that to
12     Johnson 8, that is text that you personally added.
13                   MR. LOCKERBY:           Object to the form.
14             A.    Well, now -- I don't know.                      I don't think
15     so, but I don't know.             I mean, you're essentially
16     asking me to do a document compare on the fly, and I
17     don't see anything such as a redline that would make
18     that an easier question to answer.                        If you have one,
19     that would be extremely helpful to answer your
20     question.
21             Q.    Well, it appears you didn't make these
22     edits in Track Changes, which would provide a
23     redline.
24             A.    Right.
25             Q.    And since we're using the actual documents

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                                                                          Page 185
 1     produced by PILF, absent a redline, I'm asking you to
 2     do this comparison.
 3             A.    It doesn't make sense that -- this doesn't
 4     make -- I disagree with the premise that that's a
 5     change of mine absent something that makes it a
 6     little more clear.
 7             I can't imagine -- I mean, there's a chance I
 8     didn't do it in a redline, but I don't understand how
 9     that -- you're coming to the conclusion that's my
10     change, because Mr. Johnson sent two different
11     versions, Exhibit Johnson 8 and PILF 9, and --
12             Q.    Well, no, Mr. Johnson sent Johnson 8,
13     right?
14             A.    Right, but Johnson 8 doesn't even come
15     close to looking like PILF 9.
16             Q.    Right.
17             A.    So there's got to be something else here
18     you're not showing me.
19             Q.    You added a lot of text.
20                   MR. LOCKERBY:           Objection, that hasn't been
21     established.       The only thing that's been established
22     is there's a comment on this page from Mr. Adams.
23     That's it.
24             Q.    Okay.    Let's take one step at a time.
25             A.    Right.     And I disagree with the idea,

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                                                                                Page 186
 1     absent additional documents, that would utilize tools
 2     that would allow me to see the answer to your
 3     question.
 4             I added a comment to that paragraph.                      Maybe
 5     that's what you're asking me.                    Maybe I misunderstood
 6     your question.        Maybe you're asking me if I added
 7     that comment.       I'm sorry if I --
 8             Q.    No, no, I'm not asking, but we'll take it
 9     one step and see what we can, you know, agree on.
10             So we have Johnson 8, right.                      It's a draft
11     that he sent to you on September 29th at 4:56 p.m.,
12     right?     We already established that, right?
13             A.    I won't disagree this was sent to me
14     because that's what the email says.
15             Q.    Okay.    And then we also have a draft
16     containing at least some of your edits back to
17     Mr. Johnson, same day, four hours later, at 9:02
18     p.m.?
19             A.    Well, my edits, I think, are delineated --
20     my certain edits are delineated which consist of a
21     comment on page 18, and this is -- let me -- let me
22     explain why I can't answer this question easily.
23             Deposition Exhibit 9 PILF is a much more
24     matured document than Johnson 8, and it is not likely
25     that I was responsible for those maturities.

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                                                                                 Page 187
 1             Q.    Why do you say that?
 2             A.    Because it involves formatting that I
 3     don't have the capability of doing.                            I don't know how
 4     to do a bubble quote like that on page 14018.                           So
 5     that leads me to conclude -- and I don't know how to
 6     do a bubble quote on 14021.
 7             So, no, I fundamentally disagree.                          These are
 8     not my edits to Johnson 8.                     In other words, some
 9     changes on here are not my edits.                        That's another way
10     of putting it.
11             Q.    Okay.    We can agree that the language, "in
12     our small sample of just seven Virginia counties who
13     responded to our public inspection request, we found
14     976 aliens who registered to vote illegally," that
15     language is absent from Johnson 8 and it's contained
16     in PILF 9.
17             A.    Okay.    You are now asking me to do
18     essentially a mental Ctrl F search for Johnson 8 on
19     the fly, and I don't know the answer to that, as I
20     sit here.      I can go through and do that page by page,
21     and I'm happy to do that if you direct me to do that,
22     to the best of my ability.
23             Q.    You do recall that this sentence, "in our
24     small sample," appeared ultimately in Alien Invasion
25     I with the exception it became eight Virginia

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                                                                          Page 188
 1     counties and 1,046 aliens.
 2             A.    Okay.     So you're asking me if a different
 3     version of this sentence appeared in the final
 4     report.
 5             Q.    Right.
 6             A.    I recognize words like "small sample,"
 7     "just," "responded to our public inspection
 8     requests."       I have some recollection -- and I see
 9     that I probably have not been handed that exhibit in
10     this deposition -- I have some recollection that
11     something similar to this appeared somewhere.                    I've
12     seen this language before, not in PILF 9.
13             Q.    On page 7 of PILF 9, which is -- there's
14     no page numbers -- it's got the Bates number 023 --
15     the language, second paragraph from the bottom, "the
16     United States attorney in Virginia has done nothing
17     about the felonies committed by 433 aliens
18     registering in Prince William County alone."                   Do you
19     see that language?
20             A.    I can read that language.
21             Q.    That language, if you go to Johnson 8 with
22     the Bates number 5608 -- and actually 5609 -- that
23     language in PILF 9 does not appear in Johnson 8;
24     would you agree with that?
25             A.    Well, there's a lot of differences.

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                                                                             Page 189
 1             Q.    I understand, but I'm just focused on this
 2     one sentence that I read out of PILF 9.                        That
 3     sentence doesn't appear in PILF -- excuse me --
 4     Johnson 8.
 5                   MR. LOCKERBY:            Object to the form, assumes
 6     facts not in evidence and in fact contrary to the
 7     evidence.
 8             A.    I mean, there's multiple people doing
 9     edits of this at one time.                     Somebody edited this
10     document that wasn't me to add a variety of things
11     that I don't have the technical capability, which is
12     very minimal, but I still don't possess it, to do
13     certain things in this document, leading me to
14     conclude that it wasn't my edit, but, the more
15     important thing is that the United States attorney
16     language would fall between Bedford County -- but
17     then there's a different paragraph above that also.
18             Q.    Right.      I think, having looked at this, I
19     can possibly help you.               So there is a one-sentence
20     paragraph in Johnson 8 that says, "there is no other
21     indication that Prince William County (or the state
22     board -- state election board) forwarded information
23     to local or federal prosecutors on these 433
24     potential felons for investigation and prosecution."
25     Do you see that?

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                                                                                Page 190
 1             A.    No.    Where?        What page?
 2             Q.    I just read it from Johnson 8.                       You have
 3     your finger on it.
 4             A.    Right, but -- oh, I see.                     Okay.
 5             Q.    Right.      So that language in Johnson 8 was
 6     replaced with, in PILF 9, "United States attorney in
 7     Virginia has done nothing about the felonies
 8     committed by 433 aliens registering in Prince William
 9     County alone."         Would you agree with that?
10             A.    I agree that there's different versions of
11     a similar topic in Johnson 8 and PILF 9.
12             Q.    Okay.     And sitting here today, you don't
13     know whether you or someone else added the language
14     beginning "the United States attorney in Virginia."
15             A.    You know I've -- you've asked that and
16     I've answered it.
17             Q.    Well, I asked that about a different
18     passage, and so now I'm asking about this passage.
19             A.    Right.      I don't recall who made that edit,
20     and I indicated to you, if you had a redline, it
21     would be an easier way to answer your questions.
22     Right now I don't have a clear recollection.
23             Q.    You can put those documents aside.
24             Do you have a relationship with Donald Palmer?
25             A.    If I were to look up the word

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                                                                          Page 191
 1     "relationship" in the dictionary, I would suspect
 2     there's at least six definitions, probably more.
 3     Perhaps your question could be focused on one of
 4     those so I can better understand the question.
 5             Q.    Do you know Donald Palmer?
 6             A.    I do know Donald Palmer.
 7             Q.    How do you know him?
 8             A.    I'm sorry?
 9             Q.    How do you know him?
10             A.    Are you asking me when I first met him or
11     are you asking me --
12             Q.    We can go there.                 When did you first meet
13     him?
14             A.    I met him in the fall of 2005.
15             Q.    And what was the occasion of meeting him
16     in the fall of 2005?
17             A.    Both of us were employed by the
18     United States Department of Justice in the voting
19     section.
20             Q.    And how long did you have as an
21     overlapping time period; do you recall?
22             A.    That I don't know the answer to.
23             Q.    What was his position at that time?
24             A.    He was an attorney in the voting section.
25             Q.    And you were an attorney in the voting

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                                                                               Page 192
 1     section.
 2             A.    Correct.
 3             Q.    Since fall of 2005 have you had occasions
 4     to work with Mr. Palmer?
 5             A.    Absolutely.
 6             Q.    How many times?
 7             A.    There's no way to categorize that.
 8     There's utterly no way to do that.
 9             Q.    Why is that?
10             A.    Because your question is vague, for one.
11             Q.    You can't quantify how many times you've
12     worked with him?
13             A.    That wasn't your question.                      You said how
14     many times have you had an opportunity to work with
15     him.
16             Q.    No, my question was, since fall of 2005,
17     have you had occasions to work with Mr. Palmer.                         You
18     said absolutely.          I asked how many times.
19             A.    Right.      I have never been employed at the
20     same location as Mr. Palmer since approximately --
21     approximately, with plus or minus two years -- 2007.
22             Q.    Have you had occasion to work with him on
23     various projects?
24             A.    He was retained to write a best practices
25     document for PILF was one example.

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                                                                          Page 193
 1             Q.    Has he served as an expert witness in any
 2     of your cases?
 3             A.    Well, okay, you are -- let me put it this
 4     way.    I don't know what the stage of designation was,
 5     and depending on what the stage of the designation
 6     was, it could intrude on the attorney-client
 7     privilege for a client.               So I'm attempting to
 8     carefully answer the question, and maybe you could
 9     give me something that would help me avoid any
10     privilege issues.
11             Q.    Well, I'm certainly not trying to get into
12     any privilege issues.             I mean, the question is just
13     simply, has he served as an expert witness in any of
14     your cases?
15                   MR. LOCKERBY:           I'm going to object, and,
16     in view of the witness's concerns about
17     attorney-client privilege and work product, instruct
18     the witness that perhaps one way of answering the
19     question without disclosing privilege or work product
20     would be to limit the answer to disclosed testifying
21     experts.
22             A.    Again, it would be helpful if you have a
23     document that would refresh my recollection to answer
24     your question.        Such a document might include a
25     notice with the court, it might include a filing with

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                                                                          Page 194
 1     the court, or a variety of other public documents
 2     that would help me answer that question better and
 3     more accurately without violating privileges.
 4             Q.    Well, I'll happily adopt Mr. Lockerby's
 5     suggestion and ask the question, has Mr. Palmer
 6     served as a disclosed expert on any of your cases?
 7             A.    He might have.
 8             Q.    In what case might he have served as a
 9     disclosed testifying expert?
10             A.    There is a chance that he may have been a
11     disclosed testifying expert in ACRU vs. Starr County.
12             Q.    Other than potentially that engagement and
13     the retention to draft a best practices guide, have
14     you had occasion to work with Mr. Palmer on other
15     projects?
16             A.    Absolutely.
17             Q.    Such as?
18             A.    There is no way to catalog a decade's
19     worth of communication.               So one of the areas that
20     Mr. Palmer and I have had communications relates to
21     the role of noncitizens getting on the voter rolls
22     and voting.
23             Q.    And what communications specifically are
24     you referring to?
25             A.    Well, it's not a specific communication;

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                                                                                Page 195
 1     it's a broad range of communications relating to his
 2     awareness that noncitizens were getting on the voter
 3     rolls and voting based on his experience as an
 4     elected -- excuse me -- a chief state elections
 5     officer in two of the largest states in the
 6     United States.
 7             Q.    You're talking about Virginia and Florida?
 8             A.    Correct.
 9             Q.    So you work with him regularly on election
10     matters; is that what you're saying?
11             A.    No, I disagree with that characterization
12     actually.
13             Q.    Well, you said there's no way to catalog a
14     decade's worth --
15             A.    Keep going.
16             Q.    -- of communication.
17             A.    There you go.
18             Q.    Why isn't there a way to catalog a
19     decade's worth of communication?
20             A.    Because it is so pervasive and extensive
21     and regular that -- and elastic and otherwise
22     ongoing -- that it can't be cataloged.                        And I've
23     given you a very specific example.
24             Q.    There's no question pending.
25             Did he have a role of any kind with respect to

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                                                                          Page 196
 1     the Alien Invasion reports?
 2             A.    Yes.
 3                   MR. LOCKERBY:              Object to the form.
 4             A.    Depending on what that role, you mean by
 5     that.
 6             Q.    Did he have any hand in drafting the
 7     reports?
 8             A.    A hand in ... I don't understand what you
 9     mean by "a hand in."
10             Q.    Did he draft any words that appear in the
11     Alien Invasion reports?
12             A.    He may have, but he may not have.
13             Q.    You did send him a copy of at least one of
14     the Alien Invasion reports before it was published,
15     right?
16             A.    I did.
17             Q.    In fact, I think PILF 9, which we were
18     just looking at, refers to sending a draft to Don,
19     right?
20             A.    PILF 9 says, "I am going to send to Don."
21             Q.    That's Don Reag -- uh, Don Palmer?
22             A.    Correct.
23                                 (Adams Exhibit 33 marked for
24                   identification: Email correspondence
25                   from (topmost) C Adams sent

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                                                                              Page 197
 1                   9/30/2016
 2                   Non-Party Palmer000035)
 3             Q.    The court reporter has marked as Exhibit
 4     33 an email with the Bates number Non-Party
 5     Palmer000035.         Do you see this document?
 6             A.    I see this document.
 7             Q.    Do you recall this email exchange with
 8     Mr. Palmer?
 9             A.    Yes.
10             Q.    And so on September 30th at 1:04 a.m. you
11     sent an email to Mr. Palmer copying Mr. Johnson, with
12     the subject line, "For Your Eyes Only, Virginia Alien
13     Invasion."      Do you see that?
14             A.    That's what the document says.
15             Q.    It says, "Don, do you have time to take a
16     look at this ASAP with any edits or changes to
17     suggest?      This is our first rough and fast draft of
18     the Alien Invasion for Virginia."                         Do you see that?
19             A.    Well --
20             Q.    That's what you wrote.
21             A.    -- what you said was not what I wrote, but
22     I'm just making sure the word is clear.                         You did not
23     indulge my typo.           You said take a look at when you
24     read it, but it says "take a look a this ASAP."                        You
25     didn't read my mistake.

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                                                                           Page 198
 1             Q.    I apologize.          I will try to do better next
 2     time.
 3             A.    Just want to make the record clear.
 4             Q.    That's fine.          And then you wrote, "feel
 5     free to hammer Cortes with some changes where you see
 6     fit," right?
 7             A.    It says that.
 8             Q.    And so with this email you were attaching
 9     a draft -- we don't have it in front of us obviously
10     because this is the first in a chain -- but you were
11     attaching a draft for Mr. Palmer to look at; is that
12     right?
13             A.    Yeah.    What's strange is the email
14     doesn't -- is there a second page of this?                    The email
15     doesn't show an attachment.                    It references one.   I
16     have no reason to doubt that -- and I have a specific
17     recollection of sending him one.
18             Q.    Right.     I mean, this is the first email in
19     the chain.      Usually the attachment gets dropped off,
20     right?
21             A.    Okay.    Right, but it should say something
22     about it, but, nonetheless, I just want the record to
23     be clear again that it doesn't reference the
24     attachment.
25             Q.    Well, Mr. Palmer responds to you on

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                                                                               Page 199
 1     September 30th.        He says:
 2                   "I found a little pearl for you.
 3                   Here is our very own Kathy Culliton,
 4                   Advancement Project, testifying
 5                   against the use of the SAVE database
 6                   in Virginia.          Guess who else worked
 7                   at the Advancement Project?                     Edgardo
 8                   Cortes.      Of course, this is the pool
 9                   of talent of the current governor."
10             Do you see that?
11             A.    (Nodding head up and down.)                     Yes.
12             Q.    And you wrote back, "perfect find," and
13     you continued, "Noel," who is also copied on this
14     email, "Culliton needs to be kicked somehow.                         Don and
15     I both know her well."              And then you provide some, I
16     guess, proposed language.
17             A.    More a narrative is what I call it.
18             Q.    Okay.    This information from Mr. Palmer,
19     did you feed that to Breitbart?
20                   MR. LOCKERBY:           Object to the form.
21             Q.    Did you share that information with
22     Breitbart?
23             A.    I don't think I did, but there's a chance
24     I did.     Obviously lots of people knew it.
25             Q.    At this time you didn't know it.

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                                                                              Page 200
 1             A.    You mean right now?
 2             Q.    No, at this time, September 30th.
 3             A.    Don informed me of this because --
 4             Q.    But my question -- I'm sorry.                    My question
 5     is, at this time, when Don informed you, you did not
 6     already have this information; is that right?
 7             A.    Well, "this information," what part do you
 8     mean?    I mean, he gives me a number of pieces of
 9     information here.          One -- I can break it up -- one,
10     two, three, four -- four different pieces of
11     information.
12             When you say "this information," there's four
13     different ones here, some of which I knew, some of
14     which I didn't.
15             Q.    Did you know that Edgardo Cortes,
16     according to this, worked at the Advancement Project
17     at this time?
18             A.    Well, this gets exactly into Don Palmer,
19     why he wanted to be involved in this project, and I
20     reference that very clearly in the email, at least to
21     me, where I indicate something along the lines of, I
22     know he is not acting like you would.                         That sentence
23     has a whole bundle of other facts behind it related
24     to my conversations with Don that led to Alien
25     Invasion.

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                                                                          Page 201
 1             And so I would have known, quite possibly,
 2     that -- that Cortes was now with the Advancement
 3     Project by then.         Would I have known about Kathy
 4     Culliton being there?             Probably not, because I
 5     thought she was with another organization.
 6             Q.    Well, just to be clear in your answer,
 7     according to this email, Mr. Cortes worked at the
 8     Advancement Project before he was picked by Governor
 9     McAuliffe, right?
10             A.    Well, right, and you asked me -- and I
11     think he's there now.             So when you asked me, did you
12     know this already, that's one of the reasons my
13     answer would have been for some of the information
14     yes.    You were asking me what I did or did not know
15     on a certain day, and I said there's multiple packets
16     of information.
17             Q.    Right.
18             A.    And the answer would be different for each
19     one.
20             Q.    Right.     And for the package with regard to
21     Cortes and Advancement Project, did you know that, do
22     you recall, at that time?
23             A.    I don't remember.                I mean, I think I
24     probably would have if he -- if Edgardo had been at
25     the Advancement Project prior to working for the

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                                                                           Page 202
 1     governor, I probably would have known that.
 2             Q.    You can put that document aside.
 3             Do you know Cameron Quinn?
 4             A.    Yes.
 5             Q.    How do you know her?
 6             A.    Well, Cameron and I both worked at the
 7     Department of Justice together.
 8             Q.    Voting rights section?
 9             A.    No.
10             Q.    Where were you?
11             A.    I was in the voting rights section.
12             Q.    And where was she?
13             A.    She was a counsel to the assistant
14     attorney general.
15             Q.    For civil rights?
16             A.    Yes.
17             Q.    For how long did your tenures overlap at
18     DOJ?
19             A.    That I don't know.                  Maybe -- I'd be
20     speculating.
21             Q.    Have you worked with Ms. Quinn on any
22     projects since your tenure at DOJ?
23             A.    Yes.
24             Q.    What projects?
25             A.    Well, one of them was attempting to

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                                                                          Page 203
 1     catalog the problem, the pervasive and empirical
 2     problem of noncitizen registration voting in Fairfax,
 3     for which Cameron and Hans von Spakovsky had amassed
 4     a rather voluminous documentary record.
 5             And what it showed was noncitizens
 6     registering, noncitizens voting in Fairfax, and in
 7     fact was one of the genesises of this report, was the
 8     awareness of a problem in Fairfax of Cameron Quinn,
 9     when she was the general registrar of Fairfax, and
10     when Hans von Spakovsky, when they were on the board
11     of Fairfax, attempted to remedy.
12             And, indeed, this prior history of noncitizens
13     registering in Fairfax that Cameron Quinn brought to
14     my attention was one of the reasons this report was
15     done, was an effort to fix this problem that was
16     without any dispute occurring in at least one very
17     large, if not the largest county, in the Commonwealth
18     of Virginia.
19             Q.    So when I asked what projects you had
20     worked with Ms. Quinn on, you said one of them was
21     attempting to catalog the problem of noncitizen
22     registration and voting in Fairfax, right, and then
23     you elaborated on that, correct?
24             A.    My testimony speaks for itself.
25             Q.    Other than that cataloging, are there

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                                                                                   Page 204
 1     other projects that you have worked with Ms. Quinn
 2     on?
 3             A.    Certainly.
 4             Q.    Such as?
 5             A.    Well, Alien Invasions is an offshoot of a
 6     project working with Cameron Quinn, that the data
 7     that they collected in Fairfax was part of the
 8     projects I worked with.
 9             Remember, there was -- the Fairfax data
10     collection that she engaged in and then we got copies
11     of was the first attempt at cataloging noncitizen
12     registration and voting in the Commonwealth.                           Alien
13     Invasion itself was, if you will, the next phase of
14     that project.
15             Now where the lines of demarcation are between
16     Cameron collecting the data as the GR versus us
17     beginning to organize it, I couldn't tell you, but
18     those are two different things we worked on together.
19             Q.    I'm not sure if I follow.                       So I'm only
20     seeing one project, and that is her providing
21     information to you about things that happened in
22     Fairfax County.        That's one thing, right?
23             A.    No, you've minimized the role -- when you
24     said "providing information," that's certainly not
25     the extent of what she did.

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                                                                             Page 205
 1             Q.    No, no, I'm not trying to minimize.                    I'm
 2     just trying -- I'm just trying to understand, other
 3     than this Fairfax situation, are there other
 4     projects, that was my question, besides Fairfax and
 5     the issues in Fairfax, are there other things that
 6     you worked on with Ms. Quinn?
 7             A.    I think the reports would be a second.
 8     Was she working directly every single day, certainly
 9     not, but the efforts to catalog noncitizen voting in
10     the Commonwealth as manifested by Alien I and Alien
11     II would not have occurred without her assistance.
12             Q.    Did she edit any drafts of the Alien
13     Invasion reports?
14             A.    Unlikely.          I don't want to preclude it.
15     Right, no, this was in '17.                      So it's extremely
16     unlikely that Alien II drafts would have been seen by
17     Cameron.      And whether or not Alien I was, I can't say
18     for certain, but it would have also been probably
19     unlikely.
20             Q.    Did she collect any records that were then
21     used for either the Alien Invasion reports?
22             A.    Yes.
23             Q.    What records did she collect?
24             A.    Well, when she was the general registrar
25     in Fairfax County, she was collecting the records

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                                                                                 Page 206
 1     that we first examined to use for our research.                           So
 2     she was in an official capacity, but she was still
 3     the one collecting these records.
 4             Q.    Okay.     I think just to make sure my
 5     question is clear, none of those records themselves
 6     made it into the Alien Invasion reports.
 7             A.    I actually think they did.                        I think they
 8     did.
 9             Q.    What records?
10             A.    I think you're mistaken.                        The records of
11     noncitizen cancellation in Fairfax, the documents
12     associated, the large numbers, frankly, of voter
13     registration forms where the person marks no, they
14     are not a citizen, those are records she collected
15     that I reviewed that probably were included in
16     Alien I.
17             Now did she collect them like some of the
18     people that your law firm organized?                            No, she didn't
19     go out and run around the state and collect records
20     from registrars.          She did it in an official capacity
21     related to the collection of various noncitizen
22     records, which were stored in an official capacity,
23     which she alerted to me -- me.
24             That's the other part of her role is that she
25     made it known to me that these records existed.                           And

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                                                                               Page 207
 1     that's the first step in a third party collecting
 2     records is to be aware of its existence.
 3             Q.    Have you discussed the LULAC lawsuit with
 4     Ms. Quinn?
 5             A.    There's some chance I have, but I don't
 6     have a specific recollection of it.
 7             Q.    Have you corresponded with her with regard
 8     to the LULAC lawsuit?
 9             A.    Highly unlikely, but if you have a
10     document to refresh my recollection, I'm happy to
11     look at it.
12             Q.    When was the last time you spoke with
13     Ms. Quinn?
14             A.    Hmm ... it's probably within the last
15     month, but it might be five weeks.                        It could be
16     within the last two months.                    I do not have a specific
17     recollection of that conversation other than the fact
18     that it occurred relatively recently.
19             Q.    And do you recall if this conversation
20     concerned the present lawsuit?
21             A.    I just answered your question.                    I didn't
22     have a specific recollection.
23             Q.    Have you corresponded with Ms. Quinn about
24     this lawsuit by email correspondence?
25             A.    Oh, certainly not, not that I can

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                                                                          Page 208
 1     remember.      Again, as I said, if you have a document
 2     that says otherwise, I'm happy to revise my answer.
 3             Q.    But you don't, sitting here today, you
 4     don't have any recollection.
 5             A.    No.    I mean, there is some chance that at
 6     some point in the last year that some reference was
 7     made in some communication with Cameron Quinn
 8     involving this lawsuit.
 9             But, as we know, I would be surprised that
10     that correspondence has not already been turned over,
11     if it existed, given the protocols which are in place
12     to search for documents.
13             Let me put it this way.                   In the 52,000 pages
14     that I reviewed to respond to your written discovery
15     requests, I don't remember seeing any communications
16     with Cameron Quinn, as I sit here right now.
17                               (Adams Exhibit 34 marked for
18                   identification:Email correspondence
19                   from (topmost) C Adams sent
20                   2/20/2019 PILF-ADAMS-0046678)
21             Q.    The court reporter has marked as Exhibit
22     34 a document with the Bates number 46678.                     Do you
23     recognize this document?
24             A.    I see document 34.
25             Q.    And it's an email from you to Cameron

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                                                                            Page 209
 1     Quinn dated February 20th, 2019; is that right?
 2             A.    It is.
 3             Q.    And the subject line is "FYI -- involves
 4     friends."
 5             A.    That's what the subject line says.
 6             Q.    Do you know what that was in reference to?
 7             A.    I don't remember this document.
 8             Q.    In this document there's a link to a
 9     website www.scribd.com?
10             A.    I see the link.
11             Q.    And in the URL for the link it says,
12     "Adams-Declaration."
13             A.    Well, the URL says that.
14             Q.    Right.      Did you send a copy of the
15     declaration that you drafted and submitted in
16     response to Defendant's -- excuse me -- Plaintiff's
17     motion to compel the production of documents to
18     Ms. Quinn?
19             A.    Wait.     There's a -- there is a motion to
20     compel production of documents of Ms. Quinn in this
21     case?     I don't understand the question.                    Repeat it,
22     if you might.
23             Q.    There was a motion filed by Plaintiffs in
24     this case to compel you to produce more documents,
25     correct?

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                                                                             Page 210
 1             A.    Right, but I thought you said something
 2     about --
 3             Q.    And then -- I'm just clarifying -- and did
 4     you send -- and in response to that motion you
 5     drafted a declaration, correct?
 6             A.    Right.
 7             Q.    And did you send that declaration to
 8     Ms. Quinn through this link?
 9             A.    Yeah, I don't know.                 I don't know.   I
10     don't know what this link is.                     It could have been,
11     could have not been.             I mean, hit the link, and then
12     it's easier to answer your question.
13             Q.    You don't recall whether or not you sent
14     Ms. Quinn a copy of your declaration filed in
15     response to Plaintiff's motion to compel?
16             A.    If I didn't remember Exhibit 34 even being
17     sent, I'm not going to remember what this link is.
18             Q.    So the answer is you don't recall.
19             A.    No, I don't.
20                               (Adams Exhibit 35 marked for
21                   identification: Email correspondence
22                   from (topmost) N Johnson sent
23                   5/16/2016 with attachment
24                   PILF-ADAMS-0007236 - 0007238)
25             Q.    The court reporter has marked as Exhibit

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 1     35 a document with the Bates number 7236.                     Do you
 2     recognize this document?
 3             A.    I see Exhibit 35.
 4             Q.    And in Exhibit 35 it shows an email from
 5     Cameron Quinn to you dated May 12th, 2016, correct?
 6             A.    That's what the document says.
 7             Q.    And the subject line is "to perhaps
 8     consider," correct?
 9             A.    I can read that it says that.
10             Q.    Do you recall receiving this email from
11     Ms. Quinn?
12             A.    This document, 35, refreshes my
13     recollection to some degree, but I don't have a lot
14     of memory, because I haven't seen this for -- we're
15     going on three years now.
16             Q.    The email of Ms. Quinn was turned into a
17     draft FOIA request by Noel Johnson; is that correct?
18             A.    Well, I don't necessarily think it is, but
19     I'm not sure.        Draft attached ... it can be emailed
20     to the address provided in the letter, FOIA, right.
21             I mean, I don't know the answer to your
22     question.      I know that it is a document that Noel
23     Johnson appears to have worked up into an advanced
24     stage.     Whether or not it was sent, I don't know the
25     answer to that.

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 1             Q.    And this is -- whether or not it was sent,
 2     this draft purports to come from you, correct?
 3             A.    Well --
 4             Q.    It's your signature on the --
 5             A.    Right, it would have to because Virginia
 6     has a law that doesn't let anybody else get it.
 7             Q.    Well, the law being that, to issue a
 8     Virginia FOIA request, you have to be a resident of
 9     Virginia.
10             A.    Correct.
11             Q.    Now the FOIA request -- well, let's start,
12     go back to the email of Ms. Quinn.
13             In her email with the subject line "To Perhaps
14     Consider," she states, "all travel records for
15     Edgardo Cortes and Elizabeth Howard 2014 to current."
16     Do you see that?
17             A.    I can read that on the document.
18             Q.    And it says, "all phone records," with
19     some quotation marks after it, which, presumably, is
20     saying all phone records for Edgardo Cortes and
21     Elizabeth Howard.
22             A.    I can read that in the document.
23             Q.    Do you agree with that?
24             A.    I agree that it's in the document.               Do I
25     agree with what the figures mean afterwards?                   It's

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                                                                               Page 213
 1     peculiar.      I hadn't thought about it.
 2             Q.    Sometimes people use quotation marks as
 3     kinds of to mean the same as those previously --
 4             A.    Oh, you're suggesting these are ditto
 5     marks.
 6             Q.    Yes.
 7             A.    I wouldn't disagree with that.
 8             Q.    Okay.       "All leave records for Edgardo
 9     Cortes and Elizabeth Howard"?
10             A.    I can read it says that.
11             Q.    All calendars for the two of them, right?
12     "All calendar for Cortes and Howard," yes, that was
13     one of the things listed here by Ms. Quinn?
14             A.    I can read that it says that.
15             Q.    And those same, I guess, requests are
16     contained in the draft FOIA request that's attached,
17     yes?
18             A.    I don't know.              I haven't compared.          Let me
19     do that.
20             Okay.     Appears to contain that request.
21             Q.    Who is -- so Ms. Howard was the deputy
22     commissioner of the Department of Elections, yes?
23             A.    Who?
24             Q.    Ms. Howard.
25             A.    I don't know.              Hold on.          Where do you see

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 1     the name Howard?
 2             Q.    Elizabeth Howard, it's on Cameron Quinn's
 3     email, and then it's also in the draft FOIA request.
 4             A.    Oh, okay, right.                 I don't know who she is.
 5             Q.    But according to the draft FOIA request,
 6     she's the deputy commissioner.
 7             A.    Okay.    There you are.                 Exhibit 35,
 8     attachment characterizes her as the deputy
 9     commissioner.
10             Q.    What was the purpose of drafting this FOIA
11     request?
12             A.    Well, just like in other circumstances
13     related to the drafting of the Alien Invasion report,
14     former election officials have a pretty good idea of
15     when something is going wrong inside an election
16     department, and this is one of multiple pieces of
17     information that came to my attention about
18     malfeasance within Commissioner Cortes's tenure
19     related to problems associated with how elections are
20     run in that office.            And the purpose of this was to
21     find government records related to potential
22     malfeasance in an election office and eventually
23     analyze them and take appropriate action once
24     received.
25             Q.    What would travel records for Mr. Cortes

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 1     have to do with malfeasance in the Department of
 2     Elections?
 3             A.    Well, that's a pretty easy one.                 If people
 4     were inappropriately turning in travel records, as
 5     has been my experience and Ms. Quinn is probably
 6     aware of the situation, where Department of Justice
 7     employees were charging up to $30,000 in fake travel
 8     records and turning it in to the government for
 9     reimbursement.
10             So this is not something that's a rare event.
11     This is something that happens in government.                     And I
12     have some recollection of Ms. Quinn indicating that
13     there's a problem related to travel records
14     associated with employees of the Department of
15     Corrections.       And if they are wasting money on travel
16     instead of paying for other utilities to help
17     maintain the voter rolls or doing data searches for
18     all the dead people on the rolls, then that's a
19     highly relevant question.
20             Q.    You said the Department of Corrections.
21             A.    I'm sorry.         Department of Elections.
22     Everything else I stand by.
23             Q.    Were you fishing for dirt on Mr. Cortes?
24                   MR. LOCKERBY:           Object to the form.
25             A.    "Fishing for dirt" ... I would dispute

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 1     your characterization, considering I just gave you a
 2     fairly lengthy answer, but I'll give you another one
 3     that might be longer.
 4             Mr. Cortes --
 5             Q.    It's a yes or no question.
 6             A.    I don't agree with the premise.                 I don't
 7     understand the question.                But if you're asking me
 8     whether I wanted to get to the bottom of whether
 9     there was travel fraud or leave fraud or people not
10     turning in leave when they should have, as may indeed
11     have been the case, or, if we can keep going, résumés
12     of the people who were hired because there were
13     indications that very partisan people were being
14     hired into a nonpartisan office, or if we wanted to
15     examine the people currently employed because we
16     understood that there was a lot of waste and abuse in
17     the employment process, then, yes, I would have been
18     seeking to get those through public information
19     requests, which we're allowed to have, and whatever
20     that information would have revealed may or may not
21     have been, as you categorize it, as dirt, but it
22     could have been exculpatory, it could have been not
23     exculpatory.
24             Q.    Do you know Ken Blackwell?
25             A.    I do.

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 1             Q.    How do you know him?
 2             A.    I'm sorry?
 3             Q.    How do you know him?                   I'm sorry.
 4             A.    Well, are you asking me when I first
 5     became aware of him?
 6             Q.    When did you first meet Mr. Blackwell?
 7             A.    Well, I may have had my first
 8     communication with Mr. Blackwell sometime in the fall
 9     of '05 when I was an attorney with the United States
10     Department of Justice.
11             Q.    Why do you say you may have had your first
12     communication with him at that time?
13             A.    That's my recollection.
14             Q.    Do you recall what that communication was
15     about?
16             A.    Yes.
17             Q.    What was it about?
18             A.    I'm not going to answer you because it's
19     the privilege of the United States.
20             Q.    Did that privilege extend to
21     Mr. Blackwell?          I mean, he's not -- he's a third
22     party, yes?
23                   MR. LOCKERBY:             Well, objection, the
24     witness has identified with whom or by whom he was
25     employed at the time and also that the privilege

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                                                                          Page 218
 1     belonged and still belongs to his former employer.
 2             Q.    What's the nature of the privilege?
 3             A.    Attorney-client, work product, and many
 4     other things that federal programs will -- probably
 5     can come up with that will bog you down for months,
 6     if you press.
 7             Q.    So the first communication that you had
 8     with Mr. Blackwell concerns something that you
 9     believe is protected by a attorney-client or attorney
10     work-product privilege of the United States.
11             A.    I do.
12             Q.    And what was the topic of that
13     conversation, without getting into the contents of
14     the conversation?
15             A.    I will provide you absolutely no testimony
16     regarding that entire matter because federal programs
17     would never agree to my ability to waive anything
18     related to that function.
19             Q.    Other than this initial communication,
20     have you had other communications with Mr. Blackwell
21     since then?
22             A.    I have.      Well -- go ahead.
23             Q.    I was going to ask, how many
24     communications have you had with him?
25             A.    It is impossible to quantify that.

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                                                                                   Page 219
 1             Q.    You've had many conversations with him;
 2     that's why it's impossible to quantify?
 3             A.    Yeah, I mean, that's part of why it's
 4     impossible.
 5             Q.    Why else is it impossible to quantify
 6     besides the frequency?
 7             A.    Because I don't keep records of it.
 8             Q.    Have you worked with him on any projects
 9     over the years?
10             A.    Yes.
11             Q.    What projects?
12             A.    Well, one of them would be our time
13     working together on the Presidential Advisory
14     Commission for Election Integrity.                              I consider that
15     to be a project, if you will, or at least -- I
16     suspect you would consider that to be a project.
17             Q.    Broadly defined, I would.
18             A.    Right.
19             Q.    What other projects?
20             A.    Well, I don't know how you define
21     "projects" at that point.                   That's clearly one that
22     would fall within a reasonable definition of a
23     project.
24             Q.    Okay.       What's your definition of a
25     project?      It apparently includes serving on the

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 1     Presidential Advisory Commission.
 2             A.    Indeed.
 3             Q.    What's your definition of a project?
 4             A.    Well, a focused effort to produce a
 5     particular product.
 6             Q.    Okay.    Using that definition, have you had
 7     occasion to work with Mr. Blackwell on other
 8     projects?
 9             A.    I believe we have some occasion to work on
10     free speech issues together.
11             Q.    Such as?
12             A.    Well, there's no defined project.
13             Q.    Okay.    Well, that's what I'm trying to
14     find out.      Are there defined projects, as you defined
15     it, that you worked with him on?
16             A.    Well, I wouldn't say defined projects.                We
17     have issues that overlap that we care about, free
18     speech and the First Amendment being one of them.
19             Q.    Have you worked with him on draft white
20     papers?
21             A.    Mr. Blackwell and I were on the
22     Presidential Advisory Commission, and we have worked
23     on documents related to that time.
24             Q.    Other than that, have you worked with him
25     on some collaborative work product, like an article?

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                                                                                Page 221
 1             A.    Almost certainly, but I don't have a
 2     specific recollection.
 3             Q.    Are there other -- other than -- were you
 4     saying yes to an article, or indicating that there
 5     was probably an article, or are you thinking of
 6     something other than an article that's in a written
 7     --
 8             A.    Mr. Blackwell and I have worked on a
 9     variety of issues.           Whether or not they manifest
10     themselves to something in writing, I can't catalog
11     for you, but there are a number of them that we share
12     similar beliefs that we would have worked together
13     on.
14             Q.    What are some of those similar beliefs?
15             A.    Free speech, that the First Amendment is
16     under attack by organizations like LULAC, and that
17     there's an effort to chill debate and discussion
18     about important public policy issues related to
19     elections and other matters, and that money pours
20     into the effort to chill and intimidate speakers, and
21     the ramifications include people trying to be killed
22     where Mr. Blackwell works.
23             And so Mr. Blackwell has some firsthand
24     experience with people with firearms coming to his
25     office and trying to murder people.                           And so those are

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 1     some of the issues we talk about.
 2             Q.    Other than the First Amendment, are there
 3     other issues that you have common positions on?
 4             A.    Right, we do.           Election integrity is
 5     another one that Mr. Blackwell more than likely
 6     shares my belief that having a system in place that
 7     prevents noncitizens from getting on the rolls and
 8     not disenfranchising citizens is a very important
 9     public policy that right now is not being met by
10     election officials around the country, and, frankly,
11     not being met by federal law.
12             Q.    In terms of just concrete things in terms
13     of your work with Mr. Blackwell, so far you've
14     identified this privileged communication stemming
15     from your time at DOJ, correct, that's one?
16             A.    I identified a privileged communication
17     that I'm not going to answer questions about.
18             Q.    And then this white paper with respect to
19     the Presidential Advisory Commission, that's a
20     second, I guess, concrete thing you've worked with
21     him on, right?
22             A.    I've worked with Mr. Blackwell on the
23     Presidential Advisory Commission on a wide variety of
24     things.
25             Q.    Are there other -- I'm just looking for

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                                                                          Page 223
 1     concrete projects that the two of you have worked on
 2     that you can recall sitting here today.
 3             A.    Mr. Blackwell and I have never worked on
 4     concrete.      But other than that, we've worked on
 5     projects together.           How you define concrete is the
 6     question.      And so far concrete is an inadequate
 7     description for me to answer without knowing what
 8     you're asking.
 9             We have probably signed letters together.
10     That's another example.                If you've got a document
11     that you want me to talk about and can refresh my
12     recollection about the concrete event, I'm happy to
13     do that.
14                               (Adams Exhibit 36 marked for
15                   identification: Email correspondence
16                   from (topmost) N Johnson sent
17                   1/4/2018
18                   PILF-ADAMS-0004281 - 0004282)
19             Q.    The court reporter has marked as Exhibit
20     36 a document with the Bates number beginning 4281.
21     There's really only one thing I want to ask you
22     about, and it's focused on the first email in the
23     chain.
24             A.    Okay.     "I'll get the request out today"?
25             Q.    No, the first email in the chain meaning

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                                                                            Page 224
 1     the earliest, which is at the end, right?                       So there
 2     appears to be an email that you sent on January 4th,
 3     2018; is that right?
 4             A.    An email from me.
 5             Q.    8:20 a.m.?
 6             A.    I can see it says that.
 7             Q.    I'm sorry?
 8             A.    It says that.
 9             Q.    Yes.      Do you recall sending this email at
10     8:20 a.m. on January 4th of 2018?
11             A.    Of course not, but I see it says that.
12             Q.    And then you wrote, "okay, Logan, here's
13     the plan we came up with Hans and Ken Blackwell.                      We
14     are going to do our own report (some of us)." Do you
15     see that?
16             A.    It says that.
17             Q.    Right.       And is this referring to a report
18     that you guys -- "you guys" being Hans, Ken
19     Blackwell, yourself -- would draft with regard to the
20     Presidential Advisory Commission?
21             A.    No.     It says the framework is we're going
22     to plug in factual specifics Virginia, New Jersey,
23     Pennsylvania, ACRU finding -- I mean, it's telling
24     you what this is right here in the email.
25             Q.    Right.       And this email was sent after the

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                                                                          Page 225
 1     Presidential Advisory Commission was disbanded,
 2     correct?
 3             A.    Are you asking whether, I mean -- I don't
 4     know.    It probably was.
 5             Q.    And at the last sentence to this email is,
 6     Hans or -- last two sentences -- "Hans will get
 7     someone helping at Heritage.                     But our organizations
 8     are going to produce it, not the Commission."                    Do you
 9     see that?
10             A.    It says that.
11             Q.    And that's a reference to the Presidential
12     Advisory Commission?
13             A.    Yes.
14             Q.    So is this email referencing what we had
15     previously discussed as a white paper with Ken
16     Blackwell?
17             A.    No.     This is discussing a report that we
18     were going to do regarding all of the topics listed
19     in this email.
20             Q.    Right.       And this was a report because the
21     Presidential Advisory Commission was disbanded; is
22     that right?
23             A.    No.
24             Q.    No?     Okay.        Then what was this report?
25             A.    It says right here, "We are going to plug

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                                                                               Page 226
 1     in factual specifics -- Virginia, New Jersey,
 2     Pennsylvania, ACRU finding, deposition findings in
 3     Starr, Heritage Data, testimony already heard,
 4     whatever."      That's what the report is going to
 5     involve.      It's all listed right there in the
 6     document.
 7             Q.    Right.      What was the purpose of this
 8     report?
 9             A.    To publicize the existence of voter fraud
10     to rebut people like your plaintiffs' law firms who
11     say that doesn't exist or is minimized.                        That's
12     exactly what it was.              Like the Southern Coalition for
13     Social Justice or the other plaintiffs' law firm.
14             Q.    And you were going to produce this
15     report -- strike that.
16             And you were planning on producing this report
17     because the Presidential Advisory Commission was
18     disbanded; is that right?
19             A.    No.    I told you why, because we have a
20     free -- a right to freely associate with each other
21     and speak under the First Amendment about issues
22     important to us, and one of those issues are the
23     issues detailed here.
24             And so we had a right to engage in protected
25     First Amendment activity about the existence of

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                                                                          Page 227
 1     problems in the election system, and that's what we
 2     were talking about.
 3             Q.    So your earlier testimony, when there was
 4     a discussion about a white paper with Ken Blackwell,
 5     is that something different than what's represented
 6     here in this email?
 7             A.    I'm sorry.          What was the question?       The
 8     existence of our previous --
 9             Q.    No.    So your earlier testimony, when there
10     was a discussion about a white paper with Ken
11     Blackwell -- do you recall that testimony?
12             A.    No, I don't.
13             Q.    Well, when we were going through projects
14     that you may have had with Mr. Blackwell, you had
15     mentioned some work product, not attorney work
16     product, but some -- some written collaborative
17     project with Mr. Blackwell, right?
18             A.    I said we may have signed some letters
19     together is what I believe my testimony was.
20             Q.    Did you, Mr. Blackwell and Mr. von
21     Spakovsky draft the report that's indicated in this
22     email in front of you?
23             A.    No.
24             Q.    Have you worked with Mr. Blackwell on any
25     report, not an article or anything like that, any

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                                                                          Page 228
 1     sort of report?
 2             A.    Worked with Mr. Blackwell on any
 3     report ...
 4             Q.    On election issues.
 5             A.    I've read his expert report in this case.
 6             Q.    No, I'm sorry, have you, before this case,
 7     have you worked with Mr. Blackwell on any written
 8     product other than the articles --
 9             (Clarification by reporter.)
10             A.    Probably yes.
11             Q.    Do you recall any of them sitting here
12     today?
13             A.    Well, one would be we have worked on a
14     variety of issues related to legislation in Congress,
15     and that would have included some sort of written
16     materials.      That would be one example that I'm sure
17     we worked on in the past.                 I have some recollection
18     of that.      In fact it would have related to
19     legislation in the House.
20             Q.    What legislation?
21             A.    I don't remember the bill number.               It
22     related to election issues in the House.
23             Q.    What time period?
24             A.    113th maybe.
25                   MR. TEPE:        I think we've been going for a

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                                                                           Page 229
 1     while.     Just take a quick break?
 2                   MR. LOCKERBY:           Okay.
 3                   VIDEO SPECIALIST:                We are off the record,
 4     3:57.
 5             (Proceedings recessed)
 6                   VIDEO SPECIALIST:                We are back on the
 7     record, 4:10.
 8                              (VVA Exhibit 39 previously
 9                   marked for identification and
10                   referenced herein: Email
11                   correspondence from (topmost) N
12                   Johnson sent 4/4/2017
13                   PILF-ADAMS-0001408 - 0001410)
14     BY MR. TEPE:
15             Q.    I'm handing the witness a document that's
16     been previously marked as VVA Exhibit 39, with the
17     Bates number, PILF Bates number of 1408.
18             Mr. Adams, do you recognize this as an email
19     string beginning with an email from Edgardo Cortes on
20     March 28th, 2017?
21             A.    I see the document Exhibit 39 VVA.
22             Q.    And you recognize this document, correct?
23             A.    I see it.        If I -- I mean, it's in front
24     of me, and I have just been handed the document.
25             Q.    Okay.    You can take a look at it.

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                                                                          Page 230
 1             A.    Okay.
 2             Q.    So, again, the email string begins with an
 3     email from Mr. Cortes dated March 28th, is that
 4     correct, of 2017?
 5             A.    The document says that.
 6             Q.    Okay.    And Mr. Cortes wrote that this
 7     email is in response to your letter dated March 14,
 8     2017, correct?
 9             A.    This email is in response ... right, the
10     document says that.
11             Q.    Attached is a PDF of the VERIS Noncitizen
12     Cancellation Report for the period January 1st, 2011
13     to March 20th, 2017, correct?
14             A.    The document says that.
15             Q.    And then in response to this email from
16     Mr. Cortes, Mr. Johnson responded, also on March
17     28th, at 3:01 p.m.           Do you see that?
18             A.    I see there's a response at 3:01 p.m. on
19     March 28th.
20             Q.    And Mr. Johnson wrote, "Mr. Cortes, thank
21     you for the report.            Upon review, there appears to be
22     15 jurisdictions missing.                 Does this mean those
23     reports do not exist (i.e., no cancellations in the
24     relevant time period) or were they inadvertently
25     omitted?"      Do you see that?

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                                                                           Page 231
 1             A.    It says that.
 2             Q.    And then there's a list of jurisdictions
 3     such as Buchanan County, for instance.
 4             A.    Right.
 5             Q.    So Mr. Cortes sends the VERIS Cancellation
 6     Report, Noncitizen Cancellation Report, and then
 7     Mr. Johnson notices that some jurisdictions are
 8     missing and asks, does this mean those reports do not
 9     exist, right?
10             A.    I think we just went through this.               It
11     says what it says.
12             Q.    And then Mr. Cortes -- and Mr. Johnson
13     doesn't ask any questions other than that one, right?
14             A.    Not in VVA 39, perhaps elsewhere.
15             Q.    And Cortes responds to that question,
16     right, on April 4th, 2017?
17             A.    Well, in part, he responded --
18             Q.    And he -- go ahead.
19             A.    No, go ahead.
20             Q.    And he said, "Mr. Johnson, sorry for the
21     brief delay, but I wanted my IT folks to go back and
22     confirm my understanding.                 The 15 jurisdictions you
23     listed do not have any records meeting the criteria
24     for the report."         Do you see that?
25             A.    It says that.

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                                                                          Page 232
 1             Q.    Did you personally speak with Department
 2     of Elections IT folks?
 3             A.    Boy ... highly unlikely, but I have some
 4     recollection of communicating with IT folks at the
 5     Virginia Department of Elections at some point.
 6             Q.    And when was that?
 7             A.    I don't remember.                I just know that, if
 8     you were to ask me have you ever in your life spoken
 9     to IT people at the Virginia Department of Elections,
10     my answer would be almost certainly yes.
11             Q.    Okay.    Did you talk to IT folks with
12     regard to the question Mr. Johnson asked here?
13             A.    Highly unlikely.
14             Q.    Do you know if anyone at PILF spoke with
15     any of the IT folks at the Virginia Department of
16     Elections with regard to Mr. Johnson's question here?
17             A.    That's significantly more likely to have
18     happened than Christian Adams speaking with these
19     individuals, but I do not know the answer to your
20     question.
21             Q.    You're not aware of any sitting here
22     today?
23             A.    Sitting here today I'm not aware of it.
24     But, that being said, I have a pretty clear
25     recollection that --

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                                                                                  Page 233
 1             Q.    There's no question pending.
 2             A.    Well, this is the answer to my last --
 3     your last question.
 4                   MR. LOCKERBY:           Objection.              There is a
 5     question pending.          There's an answer pending too, but
 6     you cut it off.
 7             A.    I have some recollection of Mr. Johnson or
 8     somebody speaking to somebody in that office besides
 9     Edgardo Cortes.
10             Q.    At some point.
11             A.    At some point.            That may or may not have
12     been IT folks.
13             Q.    And then in the rest of this response from
14     Mr. Cortes he refers to whether people are in
15     canceled status or in active status, is that right,
16     on the list that he provided?
17                   MR. LOCKERBY:           Object to the form.
18             A.    I don't think he does.                   I don't think that
19     is right.
20             Q.    Okay.    Well, let's read it.                     So he says --
21     he continues on, "this report shows individuals that
22     were canceled due to self-reported noncitizen status
23     and failed to complete an affirmation of citizenship
24     in the allotted time frame, continued to be in
25     canceled status."

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                                                                          Page 234
 1             A.    That's what it says.
 2             Q.    So he's talking about people in canceled
 3     status with respect to their voter registration,
 4     correct?
 5             A.    Well, I can't speak -- I suspect that
 6     Mr. Cortes offered in answer to your question that he
 7     was more competent to answer than I am right now as
 8     to what he meant.
 9             I can tell you what it says on the page, and I
10     can tell you what I thought it meant, but I can't
11     tell you what Mr. Cortes might have to say.
12             Q.    And then he continues, "if an individual
13     was previously canceled and then subsequently
14     affirmed citizenship and was reregistered, they would
15     no longer appear on this report because they would
16     now be on active status."                 Do you see that?
17             A.    The email in VVA 39 says that.
18             Q.    And those individuals who -- no, "those
19     individuals would show on the earlier custom report
20     you have.      Let us know if there are any additional
21     questions.      Thanks."
22             Okay.     That's the content of his email on
23     April 4th at 10:04 p.m., correct?
24             A.    The document says that.
25             Q.    He does not refer to whether people on the

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                                                                          Page 235
 1     cancellation list are citizens or noncitizens, does
 2     he?
 3                   MR. LOCKERBY:           Object to the form.
 4             A.    He does.       He does.          And one cannot
 5     disconnect the context and the procedures associated
 6     with the generation of this report from what he says.
 7     He most certainly does refer to noncitizens.                    More
 8     than just noncitizens -- self-reported noncitizens --
 9     which has more weight in my view than a noncitizen
10     that the Commonwealth has determined to be a
11     noncitizen.
12             Q.    He doesn't use the term "aliens" anywhere
13     in this email, does he?
14                   MR. LOCKERBY:           Object to the form.
15             A.    He uses a synonym.
16             Q.    He doesn't refer to whether people are
17     legal or illegal registrants, does he?
18             A.    Wait.    Did you say he doesn't refer to
19     whether or not they are legal or illegal what?
20             Q.    Registrants.          He does not refer to whether
21     people on the cancellation list are legal or illegal
22     registrants, does he.
23             A.    Well --
24                   MR. LOCKERBY:           Object to the form.
25             A.    -- one can make a reasonable inference

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                                                                               Page 236
 1     that, if they swore falsely on the registration form,
 2     that they were illegal registrants, absolutely,
 3     and --
 4             Q.    But he -- are you done?                   But he in his
 5     email does not refer to whether people are legal or
 6     illegal registrants himself.
 7                   MR. LOCKERBY:           Object to the form.
 8             Q.    Is that right?
 9             A.    It is -- I would disagree slightly to
10     that, because he is very explicitly saying that they
11     were canceled due to self-reported noncitizen status,
12     which presupposes they got on the rolls in the first
13     place by dishonestly filling out a form that they had
14     to attest to under penalty of perjury.
15             While it's true that he doesn't say illegal
16     registrants, that's the reasonable inference from the
17     facts presented by Mr. Cortes in this email that they
18     illegally registered in the first place.
19             Q.    He does not refer to whether people
20     committed or did not commit felonies, does he?
21             A.    By implication, yes.
22             Q.    He does not use those terms.
23             A.    He doesn't use the word "felony," but he
24     says everything else a reasonable person with common
25     sense would require to ascertain whether or not a

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                                                                                Page 237
 1     crime may have been committed.
 2             Q.    And so this -- he says this report shows
 3     individuals that were canceled due to self-reported
 4     noncitizen status and failed to complete an
 5     affirmation of citizenship in the allotted time
 6     frame, right?
 7             A.    That's what the document says.
 8             Q.    Right.     And this is referring to a list
 9     that shows people who did not respond with an
10     affirmation of citizenship within two weeks of
11     receiving a notice of intent to cancel, correct?
12                   MR. LOCKERBY:           Object to the form.
13             A.    And there's more to your -- that you left
14     out of your question.
15             Q.    But -- but that is --
16                   MR. LOCKERBY:           Objection.              He ought to be
17     allowed to finish his answer.
18             Q.    Go ahead.
19             A.    These are people who first gave false
20     information to an election official at least once,
21     and most recently would have said, under penalty of
22     perjury, that they were not an American citizen, and
23     they would have attested to that and made an
24     affirmative checkbox to that, and then the state, the
25     Commonwealth, would have gone to the trouble of

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                                                                               Page 238
 1     mailing them an opportunity to correct the record,
 2     and they never replied.
 3             Q.    Within two weeks.
 4             A.    That's the law.
 5                   MR. LOCKERBY:           Objection.
 6             Q.    And you can -- but you can reregister
 7     after that two-week time period.                       You know that,
 8     right?
 9             A.    Wait.    Who can reregister?
10             Q.    The person who was canceled.
11             A.    Not necessarily.
12             Q.    That is an option.
13             A.    Not always.
14             Q.    Well, I'm not asking if it's always the
15     situation, but that is an option.                       If you fill out,
16     you know, a new registration, for example, and affirm
17     your citizenship, you may be back on the voter rolls,
18     right?
19             A.    Right, but your question was whether or
20     not you can just do it willy-nilly, and the answer is
21     no.    If you're not a citizen in the first place, for
22     whom these individuals were not, then, no, you can't
23     just reregister to vote.                You're not a citizen of the
24     United States.        And that's just federal law.                 It's
25     also state law.

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                                                                          Page 239
 1             Q.    And so Mr. Cortes does not use the word
 2     "felonies" in this email, right?
 3                   MR. LOCKERBY:           Objection, asked and
 4     answered.      The document speaks for itself.
 5             Q.    Withdrawn.         And at the top of the document
 6     Mr. Johnson forwards the previous email chain to you
 7     and he says, with respect to Mr. Cortes, he just
 8     confirms what we already knew.                     The report includes
 9     only people who are flagged then sent an affirmation
10     and did not return it, correct, that's what he says?
11                   MR. LOCKERBY:           Objection.
12                   MR. TEPE:        What's the objection?
13                   MR. LOCKERBY:           That's not what it says.
14                   MR. TEPE:        What did I misread?
15                   MR. LOCKERBY:           And failed to complete an
16     affirmation of citizenship in the allotted time frame
17     and continued to be canceled status.
18                   MR. TEPE:        That's not what he wrote.          The
19     quotation here is what I read.                     "Otherwise he just
20     confirms what we already knew -- the report includes
21     only people who were flagged, then sent an
22     affirmation and did not return it," period.
23             Q.    That's what Mr. Johnson wrote to you,
24     correct?
25             A.    Mr. Johnson's email in Deposition Exhibit

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                                                                             Page 240
 1     39 in a VVA dep says what it says.                        I can't add to it
 2     or subtract from it.
 3             Q.    And you don't disagree with what
 4     Mr. Johnson wrote, do you, that one sentence I just
 5     quoted?
 6             A.    Well, I think that there's certain things
 7     he left out, but I have no reason to -- I am unable
 8     to find something -- I don't know about the part he
 9     confirms what we already knew.                     I do dispute that a
10     little bit.       I didn't know what Mr. Cortes writes
11     down below in the April 4th, 10:04 a.m. email, I
12     didn't already know that.
13             I was stunned, frankly, that it was so cut and
14     dried after his email where all of the -- all of the
15     Linda Lindberg, Arlington registrar, complaints about
16     the data were exposed to be inaccurate.
17             Q.    Well, you never actually checked the list
18     that Mr. Cortes sent over against all the records
19     from the jurisdictions that showed people who had
20     reregistered yet were still on the cancellation list.
21                   MR. LOCKERBY:           Object to the form.
22             A.    Mr. Cortes very specifically, as the chief
23     election officer of the state, said the people on the
24     report he sent us were canceled as declared
25     noncitizens and did not reregister, period.

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 1             Q.    And you never checked the records of the
 2     registrars that they sent to you against the report
 3     that Mr. Cortes sent to you.
 4             A.    I personally did not.
 5             Q.    And did anyone at PILF?
 6             A.    I think you asked that last week, and I
 7     don't remember the answer.
 8             Q.    You can put that document aside.
 9                               (Adams Exhibit 37 marked for
10                   identification: Email correspondence
11                   from (topmost) C Adams sent 2/6/2017
12                   PILF-ADAMS-0051839)
13             Q.    The court reporter has marked as Exhibit
14     37 a document with the Bates number 51839.                    Do you
15     recognize this document?
16             A.    I see this, yes.
17             Q.    It's an email that you wrote on February
18     6th, 2017 to Mr. Churchwell?
19             A.    It is.
20             Q.    And it concerns a draft letter to the
21     Virginia Senate Elections Committee; is that right?
22             A.    Well, let me see if it references that.
23             Q.    In the subject line.
24             A.    In the subject line ... you're not showing
25     me the letter, are you?                I mean, that's not in the

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                                                                              Page 242
 1     exhibit you've handed me.
 2             Q.    Right, that's correct.                   You responded that
 3     the letter needs to be fine-tuned.                        You state, "we
 4     framed the Virginia study in a way that protects us."
 5     The Virginia study is Alien Invasion I, correct?
 6             A.    I don't know.           It doesn't say that.
 7             Q.    But that is what you're referring to, yes?
 8             A.    It probably is.             I don't remember.        I
 9     can't imagine what else it could be, but there could
10     be something else.           It might be referring to the
11     process of collecting data.                    It might be referring to
12     the -- I mean, if you have the letter itself, I would
13     better be able to be answer -- better be able to
14     answer this question.
15                              (Adams Exhibit 38 marked for
16                   identification: Public Interest
17                   Legal Foundation | Letter dated
18                   February 7, 2017 to Chairwoman
19                   Holtzman Vogel)
20             Q.    The court reporter has marked as Exhibit
21     38 a letter of Logan Churchwell dated February 7th,
22     2017 to Chairwoman Holtzman Vogel of the Virginia
23     Senate, correct?
24             A.    That's what it says.
25             Q.    And this is the letter that was being

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 1     referenced as being drafted in Exhibit 37?
 2             A.    That's your assertion to me?
 3             Q.    I'm asking you.
 4             A.    Oh.
 5             Q.    Isn't this -- I'm sorry.                     Isn't this
 6     letter the letter that's being referenced in Exhibit
 7     37?
 8             A.    Well, it could or could not be.                    I don't
 9     know.    It's clearly a day later.
10             Q.    It's clearly a letter to the Virginia
11     Senate Elections Committee?
12             A.    Right.      The question is whether it was the
13     attachment to Plaintiff's or to Adams 37, and I don't
14     know the answer to that.                 I just know that it's -- 38
15     is, Exhibit 38 is a letter to Chairwoman Vogel.
16             Q.    Right.      And actually the question that
17     this letter is being provided to refresh your
18     recollection of is your statement, "we framed the
19     Virginia study in a way that protects us," and, as
20     you can see from the letter to Chairwoman Holtzman
21     Vogel, this letter refers to the Alien Invasion I
22     report, correct?
23             A.    It does seem to do that.
24             Q.    And so I just wanted to establish that,
25     when you say in your email here in Exhibit 37, "we

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                                                                            Page 244
 1     framed the Virginia study," you're not talking about
 2     something other than Alien Invasion I.
 3             A.    Well, let me be sure about that.                No,
 4     there's items in here that go beyond Alien I.                    I
 5     think the second page, the paragraph that begins
 6     "Virginia's weak record" gets into matters that are
 7     historical in nature.             So I don't think it's accurate
 8     to say everything in this letter relates to Alien I.
 9             Q.    That wasn't the question.
10             A.    Well, maybe you should repeat it.                I'm
11     sorry.
12             Q.    The question is, in Exhibit 37, the
13     Virginia study that you referenced in your email
14     refers to Alien Invasion I, correct, and nothing
15     else?
16             A.    Probably, but there's a chance it doesn't.
17             Q.    Why do you say there's a chance it
18     doesn't?
19             A.    Well, I just told you, I think there's
20     things in here that do not relate to Alien I that
21     relate to Virginia and a study in Virginia, and so we
22     can --
23             Q.    All right.
24             A.    I mean, just there may be something
25     contained in that that's more than Alien I but --

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                                                                          Page 245
 1             Q.    Probably not?
 2             A.    -- probably not.
 3             Q.    Your email on -- that's before you in
 4     Exhibit 37 said that the report did not list, quote,
 5     "noncitizens on the voter rolls," closed quote.                    Do
 6     you see that?
 7             A.    It says that.
 8             Q.    And, again, would you agree that the
 9     report is referencing Alien Invasion I?
10             A.    Probably.
11             Q.    If the report had referred to the listed
12     individuals as noncitizens, that would be legally
13     problematic; is that right?
14             A.    Well, I think at this --
15             Q.    For PILF.
16             A.    -- what I'm telling him to -- I'm telling
17     him to change that terminology in this letter to --
18     remember, this happened after the testimony that Noel
19     Johnson provided to Chairman Vogel's committee, and
20     my suggestion to him was to utilize the term
21     registrants who are canceled for citizenship problems
22     according to election officials.                       Both are
23     defensible, both are accurate, but I suggested he use
24     the second, not the first.
25             Q.    You said both are accurate?

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                                                                            Page 246
 1             A.    Yes.
 2             Q.    And so in your mind there's no
 3     distinguishing between saying noncitizens on the
 4     voter rolls and saying registrants who are canceled
 5     for citizenship problems according to election
 6     officials?
 7             A.    Well, I think it's important to tell
 8     people whose fault this is, and the primary
 9     difference is that election officials are the ones
10     telling us that these were noncitizens.
11             Q.    Well, in the following sentence you say,
12     "there's a big difference between the two and shifts
13     risk of error onto government officials."                       You wrote
14     that, right?
15             A.    It says that.
16             Q.    So at the time you thought there was a big
17     difference between a report stating the individuals
18     are noncitizens on the voter rolls and stating that
19     there are registrants who were canceled for citizen
20     ships; is that correct?
21             A.    I prefer to cite the government documents
22     and rely on the government documents and the
23     reasonable inferences associated with those
24     government documents.
25             In this email I am instructing Mr. Churchwell

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                                                                                  Page 247
 1     to do as I just suggested, to rely on government
 2     records, to draw reasonable inferences from those
 3     records.
 4             Q.    But whether it's noncitizens or
 5     registrants who were canceled for citizenship
 6     problems, you think they're both accurate?
 7             A.    According to government records, yes.                        Now
 8     were there ever cases to the contrary?                           Almost
 9     certainly.      But I think that these are both accurate
10     statements given the facts of the case.
11             Q.    I think you can put that document aside.
12     Actually I have another question about that document,
13     if you could put it back in front of you.
14             A.    There were two documents.                       Which one?
15             Q.    Exhibit 38 -- I'm sorry -- 37.                       When you
16     said, "we framed the Virginia study in a way that
17     protects us," protects PILF, I assume you're saying,
18     protects us?       Who is the "us"?
19             A.    Well, anybody who -- who -- you can't read
20     that out of context with the next statement or the
21     next sentence.        We deliberately avoided a Greg
22     Phillips style overstatement.                    That will tell you who
23     us is.
24             Greg Phillips made some statement to the media
25     that a individual did something in San Francisco, and

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 1     I forget the particulars, but the person involved
 2     wasn't even associated with the underlying event.
 3     And this was fresh at the time, and I wanted it to be
 4     an example for Logan to take to heart that you can't
 5     do the things Greg Phillips did in that particular
 6     instance.
 7             Q.    Okay.    Strike as nonresponsive.
 8             My question is, you state "in a way that
 9     protects us."       Who is the "us"?
10             A.    Well, I answered you by telling you us,
11     why, contextually, the second -- the next sentence is
12     important, because I wanted Logan to be aware of what
13     not to do as relates to something that Greg Phillips
14     just did, and I don't know who us is other than
15     giving you that answer that there's two people on
16     this email, but I don't know.
17             Q.    Didn't you intend by "us" to say PILF, we
18     framed the Virginia study in a way that protects
19     PILF?
20             A.    I don't know.           There's a number of
21     different ways to interpret this that I don't
22     remember what I was meaning at the time, other than
23     the importance in the context of the next sentence.
24             Q.    And what did it protect us from?
25             A.    Complete, total screw-ups like Greg

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                                                                              Page 249
 1     Phillips had just done.
 2             Q.    You can put that document aside.
 3             The complaint in this litigation was filed on
 4     April 12th, 2018.            Do you recall that?
 5             A.    Whatever it says.                  I have no reason to
 6     disagree with you as I sit here.                         If you want to show
 7     me the complaint, I can adopt that date, but I just
 8     don't know.
 9             Q.    Since this lawsuit was filed, PILF has
10     continued to issue reports on election issues?
11             A.    Absolutely.
12             Q.    And has continued to issue reports on
13     purported noncitizen registration and voting, yes?
14             A.    Yes.      I assume that's a 30(b)(6) question?
15             Q.    Sure, we can consider it a 30(b)(6)
16     question.
17                   MR. LOCKERBY:             To what topic does it
18     pertain?
19                                (Adams Exhibit 39 marked for
20                   identification: Steeling the Vote |
21                   Allegheny County, PA Reveals How
22                   Citizenship Verification Protects
23                   Citizens and Immigrants Alike)
24             Q.    Well, whether it's 30(b)(6) or in your
25     personal capacity --

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                                                                             Page 250
 1             A.    Well, that would change the answer.
 2             Q.    It shouldn't.
 3             A.    It does.       I haven't issued any reports on
 4     noncitizen voting that I can think of.                        This is a
 5     PILF report you've handed me as Exhibit 39.
 6             Q.    Which you're incapable of providing
 7     testimony of even though you're the president of
 8     PILF?
 9             A.    If you're asking me a 30(b)(6) question,
10     ask it.
11                   MR. LOCKERBY:           He can provide testimony
12     regardless, but the issue is whether it's within the
13     scope of a 30(b)(6) topic, which affects his duty to
14     prepare to testify about it as well as the import of
15     the response.       That's why it's important to identify
16     on the record whether this is within the scope of a
17     30(b)(6) topic, and, if so, which one.
18                   MR. TEPE:        I don't have the 30(b)(6)
19     topics listed in front of me, but I can tell you that
20     the questions do not really go into the details of
21     this report as much as differences between this and
22     the Alien Invasion reports.                    So it's part of the
23     Alien Invasion topics.
24                   MR. LOCKERBY:           Well, it sounds as if it
25     may be within the penumbras, arguably, of a topic,

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                                                                           Page 251
 1     but, in any event, we don't -- without identification
 2     on the record that -- as to which 30(b)(6) topic it's
 3     within and why, that does affect his answer because
 4     his individual answer would be based on memory, his
 5     30(b)(6) answer could be based on something else.
 6             So, absent some identification, I'm going to
 7     assume it's not within the scope of a particular
 8     topic.
 9                   MR. TEPE:        Well, while my colleague looks
10     to get a copy of the 30(b)(6) notice to refresh my
11     recollection, I'll just ask the question.
12                   MR. LOCKERBY:           I had some exhibits
13     delivered here, I think, this morning, which should
14     include the 30(b)(6) topics.
15                   MS. CLEMINSHAW:             The box is right over
16     here.
17                   MR. LOCKERBY:           Right.         Yes.
18                   MR. TEPE:        Do you want to go off the
19     record?
20                   MR. LOCKERBY:           Yes.
21                   VIDEO SPECIALIST:                We are off the record,
22     4:45.
23             (Proceedings recessed)
24                   VIDEO SPECIALIST:                We are back on the
25     record, 4:46.

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                                                                               Page 252
 1     BY MR. TEPE:
 2             Q.    The questions, which I will be asking, I
 3     believe are covered under Topic 2, which is your
 4     activities, communications relating purported
 5     noncitizen registration voting in Virginia, the Alien
 6     Invasion report, et cetera.
 7             Again, my questions are not so much about this
 8     report, but differences between this report and the
 9     Alien Invasion report.
10                   MR. LOCKERBY:           I think we'll have to hear
11     the specific questions, but, on its face, this report
12     deals with Allegheny County, Pennsylvania not
13     Alleghany County, Virginia, and so we don't
14     necessarily agree, but ask the questions and we'll
15     see where it goes.
16             Q.    Okay.    So after the complaint was filed in
17     this LULAC lawsuit, you, PILF, published a report
18     called "Steeling the Vote," correct?                          That's in front
19     of you?
20             A.    Right.     I'm looking for a date on here,
21     July 18 ... right.
22             Q.    And this concerns Allegheny, Pennsylvania,
23     is that right, this report Steeling the Vote?
24             A.    That's what the face of it says.
25             Q.    And like the Alien Invasion reports, PILF

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                                                                          Page 253
 1     relied on NVRA requests to collect data; is that
 2     right?
 3             A.    Well, there was a lot of differences
 4     between the collection of data between the two
 5     projects.
 6             Q.    Okay.     But my question is, you relied on
 7     NVRA requests to collect data for the Steeling the
 8     Vote report, correct?
 9             A.    I believe NVRA requests were made.
10             Q.    And NVRA requests were made to collect
11     records for the Alien Invasion reports, correct?
12             A.    Right.
13             Q.    This report has exhibits, voter
14     registration records, for certain individuals; is
15     that right?
16             A.    I'm not -- I mean, I think there are.
17     Yeah, it has a variety of information --
18             Q.    Right, including --
19             A.    -- including that.
20             Q.    Right.      So it's right in front of you, the
21     exhibits to the report include voter registration
22     records for certain individuals, yes?
23             A.    I think I just answered that.
24             Q.    So it was yes.
25             A.    It was what it was.                 I said --

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                                                                          Page 254
 1             Q.    You said "including that."
 2             A.    Well, "including that" is a pretty good
 3     indication that what you asked me about is included.
 4             Q.    Right, but I'm not asking for indications;
 5     I'm asking for direct answers to my questions.
 6             And my question was, this report has as
 7     exhibits voter registration records for certain
 8     individuals; is that right?
 9             A.    It has voter registration records for
10     registrants, yes.
11             Q.    Now the records that are attached to
12     Steeling the Vote have the last name of the
13     registrants redacted; is that right?
14             A.    Could you direct me to a particular page?
15             Q.    Well, you can look at any of the exhibits
16     to -- the report doesn't have these exhibits
17     numbered.
18             A.    Is there a Bates number?
19             Q.    No, because this was not produced.
20             A.    Okay.     Well, then, to answer your question
21     completely, it would take me to go through every
22     page, which I'm happy to do.
23             Q.    You got one right in front of you.
24             A.    And so you're directing me to do that.
25             Q.    No, you have one of the voter registration

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                                                                            Page 255
 1     records.
 2             A.    Okay.      I have one in front of me, correct.
 3             Q.    Right.       The last name is redacted?
 4             A.    Right.
 5             Q.    The address is redacted?
 6             A.    Well, that's less clear, because I'm --
 7     right, right, it is.               It's in a strange, old-style
 8     computer window, and so it's hard to navigate around.
 9             Q.    And so you were able to publish Steeling
10     the Vote using voter registration records that
11     redacted the last name and the address, correct?
12             A.    I mean, the document speaks for itself,
13     and I'm not sure -- are you asking me in a 30(b)(6)
14     capacity?
15             Q.    Yes.      PILF was able to publish Steeling
16     the Vote using voter registration records that
17     redacted the last name and address, correct?
18             A.    The document speaks for itself.                   They are
19     redacted.
20                   MR. LOCKERBY:             I'm going to register an
21     objection to the form of the question to the extent
22     that it assumes that PILF should have somehow -- that
23     PILF did the redacting and that PILF should have
24     somehow altered government records.
25             Q.    You can put this document aside.

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                                                                              Page 256
 1             A.    You didn't ask me who redacted it.
 2             Q.    Would you know the answer to that?
 3             A.    Are you asking?
 4             Q.    Would you know the answer to that?
 5             A.    I don't.
 6                               (Adams Exhibit 40 marked for
 7                   identification: Motor Voter Mayhem |
 8                   Michigan's Voter Rolls in Disrepair)
 9             Q.    The court reporter has marked and handed
10     to you Exhibit 40.           Do you recognize this document?
11             A.    This is "Motor Voter Mayhem."                   It's a
12     report done regarding Michigan.
13             Q.    It was done in October of 2018?
14             A.    That's what the date says on page 2.
15             Q.    And in the report you included case
16     studies for certain individuals; is that correct?
17             A.    What page are you on?
18             Q.    Well, page 9, for example.
19             A.    Okay.     I'm on page 9.
20             Q.    And so on page 9 there is excerpts of
21     certain government records; is that right?
22             A.    There are on page 9 two different excerpts
23     of election list maintenance records.
24             Q.    And the records that we see here on page 9
25     have the individual's first name redacted; is that

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                                                                            Page 257
 1     right?
 2             A.    It appears to.
 3             Q.    And it has address redacted?
 4             A.    Well, I don't know.                It's redacted.    It
 5     doesn't have a subject header anywhere, so I don't
 6     know what it is.
 7             Q.    Well, certainly the record at the bottom
 8     has name, right, and then has a residence?
 9             A.    It says residence, colon, redaction.
10             Q.    Right.     And then on page 10 you have
11     another individual case study, correct?
12             A.    Case study number 2 on page 10.
13             Q.    The individual's first name is redacted?
14             A.    No, it does not appear -- well, it's
15     abbreviated, I guess.
16             Q.    Okay.    So, yes, it's abbreviated in the
17     text of your report, but it's redacted in the records
18     that are copied.
19             A.    Right.     The record below the name is
20     redacted.
21             Q.    And then in the records there appears to
22     be the address redacted.                It says, registered as,
23     seems to be the first name redacted, Savina at
24     redacted (Sterling Heights City).                       Do you see that?
25             A.    I do, but I just see it says Sterling

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                                                                            Page 258
 1     Heights City.       That -- that can mean a lot of
 2     different things there.
 3             Q.    Right, but the redaction before that is an
 4     address, is it not?
 5             A.    I don't know.           It could or could not be.
 6     There's a lot of different possibilities.
 7             Q.    And so PILF published Motor Voter Mayhem
 8     with redactions of both names and addresses, correct?
 9             A.    Right.     The document speaks for itself.
10     There's redactions in it.
11             Q.    You can put that aside.
12                              (Johnson Exhibit 36
13                   previously marked for identification
14                   and referenced herein: Email
15                   correspondence from (topmost) C
16                   Adams sent 8/15/2018 with attachment
17                   PILF-ADAMS-0000250 - 0000270)
18             Q.    The court reporter -- strike that.
19             I've handed the witness what has been
20     previously marked as Johnson 36.                       Do you recognize
21     this document?
22             A.    Well, it's a long document, so give me a
23     moment.      Sorry.    What was your question?
24             Q.    Do you recognize this document?
25             A.    Well, it appears to -- (pardon me) -- it

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                                                                            Page 259
 1     appears to be a draft markup of a report.
 2             Q.    And that report is called "Safe Spaces";
 3     is that right?
 4             A.    The attachment says "Sanctuary Draft."
 5     I'm not sure that -- let me see if it says Safe
 6     Spaces on it.       I don't see that.                  If you could direct
 7     me to where it says that, I -- I don't see it.
 8                              (Adams Exhibit 41 marked for
 9                   identification: Email correspondence
10                   from (topmost) N Johnson sent
11                   8/21/2018 with attachment
12                   PILF-ADAMS-0007747 - 0007779)
13             Q.    The court reporter has marked as Exhibit
14     41 a document with the Bates number beginning 7747.
15             A.    I have that document, 41.
16             Q.    And in document or Exhibit 41 Noel Johnson
17     sends to you and others the final print and ready
18     version of Safe Spaces on August 21st, 2018?
19             A.    That's what it says on the document.
20             Q.    And so this was PILF's report called Safe
21     Spaces, how sanctuary cities are giving coverage to
22     noncitizens on the voter rolls.
23             A.    Well, I mean, there was a report published
24     that said that, that referenced the topic that you're
25     asking me about.         I -- I mean, what is your question?

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                                                                          Page 260
 1     I'm sorry.
 2             Q.    Well, this is to refresh your recollection
 3     that the document that we were looking at previously
 4     as Johnson 36 are your edits and comments to what
 5     became the Safe Spaces report of PILF.
 6             A.    Okay.
 7             Q.    Do you agree with that?
 8             A.    I don't -- I mean, I don't disagree.               It
 9     sounds -- sounds correct.
10             Q.    In the cover email that you sent on August
11     15th here in Johnson 36, you wrote, "Virginia has got
12     to be fixed throughout.               I have a stark comment in
13     the edits about this."
14             A.    It says that.
15             Q.    If you go towards the back of the draft
16     attachment, you'll see a section on Virginia.
17             A.    I'm sorry.         Do you have a page number?
18             Q.    Oh, certainly.            It's beginning on Bates
19     number 267 continuing on to 268.
20             A.    267, got it.
21             Q.    And so this portion of what would
22     eventually be called the Safe Spaces report talks
23     about certain jurisdictions in Virginia, yes?
24             A.    Gosh.    Right.
25             Q.    I want to direct your attention to the

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                                                                             Page 261
 1     page with the Bates 268 at the top.
 2             A.    Bates 268, right.
 3             Q.    The second paragraph, there are some
 4     edits, do you see that, and a comment?
 5             A.    There's edits and comments, yes.
 6             Q.    So the paragraph reads, Virginia -- and
 7     I'm going to read it first as it was, and then I'll
 8     read it as edited, okay?
 9             So it reads, "Virginia currently contains
10     three sanctuary jurisdictions -- all of which
11     disclosed records of noncitizens previously
12     registered and voting therein," period.
13             So that was the former language.                      Do you see
14     that?
15             A.    I'm sorry.         Did you say "formal" language?
16             Q.    "Former."        I'm sorry.
17             A.    Are you from Philadelphia?
18             Right, I see it, former language.
19             Q.    And the language, "noncitizens previously
20     registered and voting therein" was struck and
21     replaced with "registrants canceled for citizenship
22     defects."      Do you see that?
23             A.    I see that.
24             Q.    And that was your edit, correct?
25             A.    I don't know.            Is there a way to tell

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                                                                            Page 262
 1     that?
 2             Q.    Well, we can look at the comment.
 3             A.    Because there's multiple people editing
 4     this.
 5             Q.    Right.      Let's look at the comment, [CA18].
 6             A.    Right.
 7             Q.    And in previous testimony you said CA
 8     refers to Christian Adams?
 9             A.    There you go.
10             Q.    And you wrote in the comment:
11                   "How is it after we are involved in
12                   litigation that we are still
13                   referring to these Virginia cases
14                   as, quote, noncitizens?                    It defies
15                   explanation.           On numerous occasions
16                   in numerous places I have explicitly
17                   said their registration is removed
18                   for citizen defects or registrants
19                   canceled for reasons of
20                   noncitizenship.             We have to use the
21                   actual terms and not make
22                   assumptions they are necessarily
23                   aliens."
24             Do you see that?
25             A.    It says that.

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                                                                          Page 263
 1             Q.    "The continuing improper terminology
 2     contribute to us losing the motion to dismiss because
 3     the court ruled that these subsequent statements were
 4     republications within the statute of limitations."
 5             That's what you wrote in your comment,
 6     correct?
 7             A.    That's what it says.
 8             Q.    Okay.    So when you were editing Safe
 9     Spaces, it was your opinion that calling people
10     listed in the VERIS cancellation reports, noncitizens
11     was improper terminology, yes?
12                   MR. LOCKERBY:           Object to the form of the
13     question.
14             A.    It all depends on the context and the time
15     that the statements were made.                     By October of '18, I
16     think that's when this was, or by -- again, I'm not
17     sure the exact date.
18             Q.    Well, the edits were made in August.
19             A.    August?      By August of '18, my desire to
20     have language in reports that reflected the facts as
21     we knew them at that moment was very important to me,
22     and by that time we had become acquainted with the
23     likes of Abby Jo -- depending on the name -- and
24     Mr. Bonilla, and so I wanted statements that were
25     being made to reflect the reality of what we were

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                                                                                 Page 264
 1     aware of relating to this litigation.
 2             And as I have testified, I believe,
 3     previously, I have no reason to dispute the fact that
 4     Mr. Bonilla is a citizen of the United States.                            And I
 5     feel bad for Mr. Bonilla, among other things, that he
 6     had to be badgered by Mr. Levitt.                       And I feel bad
 7     that he was included in the list of people who were
 8     canceled.      And I feel bad, as you know, I think, that
 9     Mr. Bonilla was canceled because we attempted to sue
10     the Commonwealth of Virginia to fix that problem, and
11     you, your firm, opposed those efforts and still do.
12             And so by, I think this is August of '18, I
13     wanted our language to reflect the fact that we were
14     aware, for example, of Mr. Bonilla.                           So that's
15     exactly what it represents.
16             Q.    When you said, "we attempted to sue the
17     Commonwealth of Virginia to fix that problem," are
18     you referring to your attempt to in this litigation
19     implead the Virginia Department of Elections as a
20     third-party defendant?
21             A.    Well, I was mistaken in my
22     characterization of an attempt.                      We in fact did sue
23     the Commonwealth of Virginia, as far as I understand,
24     interpleader practice, which might not be very much,
25     that we filed an action against the Commonwealth of

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                                                                            Page 265
 1     Virginia seeking injunctive relief to fix these voter
 2     rolls and to fix publication of data that led to this
 3     problem in the first place.
 4             And so I'm referring to an effort to do that
 5     which the plaintiffs' firms have never done, and
 6     that's actually get to the root cause of this
 7     problem, which is canceling citizens and publishing
 8     information declaring them noncitizens.                       That's on
 9     the face of the pleadings in this case.
10             Q.    And the court ruled that Defendants'
11     attempt to implead the Virginia Department of
12     Elections in this case was improper, correct?
13                   MR. LOCKERBY:           Well, object to the form of
14     the question.       The ruling speaks for itself.
15                   MR. TEPE:        Well, if the witness can talk
16     about it, then I can talk about it as well.
17                   MR. LOCKERBY:           The Court ruled what it
18     ruled, and the witness's testimony and your questions
19     don't change the Court's ruling.
20                   MR. TEPE:        Right, and so I provided an
21     accurate statement with regard to the Court's ruling.
22                   MR. LOCKERBY:           Well, actually you didn't.
23                   MR. TEPE:        The Court ruled that it was
24     improper of Defendants to implead the Virginia
25     Department of Elections in this case, correct?

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                                                                                  Page 266
 1                   MR. LOCKERBY:           I'm not here to answer
 2     questions.      I'm objecting.
 3             Q.    That is correct, Mr. Adams, right?
 4             A.    I don't think it is actually.                      I think
 5     that -- and it's notable that nobody else has made
 6     any effort in the intervening time, particularly
 7     Plaintiffs' law firms, to fix this.                           They were more
 8     interested in defendants than they are the problem.
 9             And so the court ruled, and, again, you're
10     testing my limits of understanding interpleader, that
11     it was not an action for damages, and, therefore, not
12     subject to the particular rule permitting it.
13             That doesn't mean that the case is improper or
14     didn't have merit and couldn't be later filed by
15     either PILF, or, incidentally, your clients could
16     file that case too, but they haven't, or your firm
17     could or your many public interest interests that
18     you're associating with here could have filed that
19     case, but only we did.              And we have the right to do
20     that and so do you, but you haven't.
21             Q.    Well, you filed that case to shift the
22     blame for what you've been sued about, which is
23     defamation and voter intimidation, correct?
24                   MR. LOCKERBY:           Object to the form.
25             A.    We filed that case because it's wrong for

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                                                                                   Page 267
 1     the Commonwealth of Virginia to remove citizens from
 2     the voter rolls and then label them as noncitizens,
 3     and that's exactly what the Commonwealth did.
 4             You, on the other hand, are more interested in
 5     the Defendants than the underlying problem, and
 6     that's why you haven't done what we did.                          It wasn't
 7     to shift blame, because blame only lies in one place,
 8     and that's the Commonwealth of Virginia, for
 9     canceling noncitizens they should not be canceling
10     and for calling them declared noncitizens when they
11     don't have a basis for doing so.
12             When we learned what was happening, we took
13     action, you didn't, and none of your funders or your
14     organizations did.           We're the ones who have been
15     trying to fix this problem; you haven't.
16             We would happily resolve this to fix the
17     problem, but that's not what you're interested in.
18     You're interested in the Defendants.                           You're not
19     interested in the problem.                     It's not shifting blame.
20             Q.    In the Safe Spaces -- excuse me.                       Pardon
21     me.    In the Safe Spaces report PILF does not list the
22     names, the full names and addresses of people in the
23     records that were collected by PILF, correct?
24             A.    I don't know.           There could have been some
25     attachment I'm not aware of.                    If you have one that

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                                                                           Page 268
 1     the names and addresses are listed, I'm happy to look
 2     at it.     You haven't handed me, as you have in other
 3     exhibits, reports throughout my two depositions the
 4     exhibits.      You've just handed me --
 5             When I say "exhibits," I mean the links to
 6     Exhibit 41.       You've only handed me the underlying
 7     document.      You haven't handed me the exhibit links,
 8     but you did with Alien Invasion I or II.                      So there
 9     may be something there that would change my answer to
10     what I just said.
11             Q.    So like on page 14 of the final Safe
12     Spaces report, Bates number 7763 --
13             A.    I'm looking at 7763 in Adams 41.
14             Q.    -- there's a copy of a San Diego County
15     voter registration form; is that right?
16             A.    Right.     It appears to be San Diego County.
17             Q.    And part of the individual's name is
18     redacted, and the individual's residence is redacted;
19     is that right?
20             A.    In this particular document that is
21     correct.
22             Q.    You can put that document aside.
23             A.    And just to clarify my last answer,
24     otherwise, when I said "this particular document," I
25     meant on that particular page of the document.

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                                                                                Page 269
 1             Q.    Who is Chris Marston?
 2             A.    He is an acquaintance of mine.
 3             Q.    How is he an acquaintance of yours?
 4             A.    I've fed his dogs.                 I've been to his
 5     house.     I've had lunch with him.                     He's a friend.
 6             Q.    Is he also affiliated with the Republican
 7     Party of Virginia?
 8             A.    I don't know if he is right now.
 9             Q.    Back in 2016-2017?
10             A.    I think at times he has been general
11     counsel to the Republican Party of Virginia.
12             Q.    You coordinated the collection of election
13     records for the Alien Invasion reports with the
14     Republican Party of Virginia; is that right?
15             A.    No.
16                   MR. LOCKERBY:             Object to the form of the
17     question.
18             A.    Not close to right.
19                                (Johnson Exhibit 33
20                   previously marked for identification
21                   and referenced herein: Email
22                   correspondence from (topmost) N
23                   Johnson sent 11/16/2016
24                   PILF-ADAMS-0009399)
25             Q.    I've handed the witness what has been

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                                                                             Page 270
 1     previously marked as Johnson 33.                       Do you recognize
 2     this document?
 3             A.    I see Johnson 33.
 4             Q.    It begins with an email from Shawna Powell
 5     to Noel Johnson dated November 16th, 2016.                        Do you
 6     see that?
 7             A.    It does start, but I'm not on that thread.
 8     I said it does start that way, but I'm not on that
 9     thread.
10             Q.    Okay.     Oh, I'm sorry, I thought you were
11     just asking for time to catch up looking at the
12     document.
13             Yes.     Well, you were forwarded that thread,
14     but we'll get to there in a minute.
15             Ms. Powell wrote to Mr. Johnson a note saying:
16                   "Stafford called 11-16 to f/u on the
17                   email sent 11-15.                Greg Riddlemoser
18                   stated that RPV (Republican Party of
19                   Virginia) came to his office and
20                   went through all the records, so he
21                   considers this matter done.                     I
22                   explained we are not working with
23                   RPV; however, he stated that, quote,
24                   they, closed quote, said we are
25                   working with them.                If we want to

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                                                                              Page 271
 1                   send someone to the office to go
 2                   through the records, we're more than
 3                   welcome."
 4             Do you see that note from Ms. Powell?
 5             A.    I see it.        I don't agree with it, but I
 6     see it.
 7             Q.    And then Mr. Johnson forwards this email
 8     to you, but before I get into that, Stafford -- this
 9     is Stafford County Election Office; is that right?
10             A.    I can't imagine it being anything else.
11             Q.    Okay.    Mr. Johnson says, "We are in the
12     process of getting registration applications for the
13     remaining counties in Virginia.                      Any reasons RPV
14     would have asked for the same records?"                        Do you see
15     that question posed to you?
16             A.    I see that question.
17             Q.    Okay.    And then you responded, same day,
18     November 16, 2016, "yes, I suggested it.                        I believe
19     swarming is better than lone attacks.                         That's how the
20     left plays."       Do you see that?
21             A.    I do.
22             Q.    And so you were saying that you suggested
23     that the RPV, the Republican Party of Virginia,
24     requests the same records that you were seeking from
25     Virginia counties.

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                                                                          Page 272
 1             A.    Well, that's what it says, and it would be
 2     consistent with what I would do, because if somebody
 3     else asked for the same records, it would help
 4     dislodge the records that we weren't getting, but I
 5     don't have a specific recollection of suggesting it.
 6             Q.    You have no reason to doubt that you had
 7     suggested it?
 8             A.    Well, the "it" being the operative thing.
 9     If it's confined to sending a letter asking for the
10     same records, I -- my testimony that I just gave you
11     was I would have seen utility in something like that
12     as being more likely to dislodge what we were looking
13     for and not getting from election officials.
14             Q.    So you suggested that the Republican Party
15     of Virginia request the same records that PILF was
16     requesting to dislodge those records for the Alien
17     Invasion reports, correct?
18             A.    Well, you're asking me whether I have a
19     recollection of suggesting it, and I've testified
20     about that twice.          And my testimony is I don't
21     remember specifically doing that, but it would be
22     consistent with the corporate purposes of PILF.
23             Q.    To coordinate with the Republican Party of
24     Virginia?
25                   MR. LOCKERBY:           Objection to form.

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                                                                          Page 273
 1             A.    Absolutely not.             Why would you even say
 2     something like that?             I just testified to what I
 3     meant.     What I said was dislodging the records would
 4     be consistent with the corporate policies of PILF.
 5             Q.    Right.     So you had suggested the
 6     Republican Party of Virginia ask the same records
 7     that you were seeking at least as of -- from Stafford
 8     County -- to dislodge records that you wanted; is
 9     that right?
10             A.    I've testified to you now this is the
11     fourth time.       I don't have a specific recollection of
12     doing that, but it would be consistent with the
13     corporate purposes of PILF to get records.                    So I'm
14     not disputing that it occurred.
15             Q.    And in your email here you say that you
16     had suggested it, right?
17             A.    Right, and I'm telling you I don't
18     remember the specifics of that.
19             Q.    And you have no doubt that this occurred,
20     that you had suggested to the Republican Party of
21     Virginia seeking the same records that PILF was
22     seeking.
23             A.    Well, if I had a specific recollection
24     about the suggestion, then I would be able to answer
25     your question yes.           Because I don't have a specific

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                                                                          Page 274
 1     recollection of it, I can't answer your question
 2     utterly conclusively.             It would be consistent with
 3     the corporate purposes of PILF to do that which would
 4     enable the records to be given to us that we asked
 5     for.
 6             Q.    You can put that document aside.
 7             Chris Marston and the Republican Party of
 8     Virginia appeared as amici in support of PILF's
 9     lawsuits against Chesterfield and Manassas; is that
10     correct?
11             A.    They did.
12             Q.    And is that also consistent with the
13     corporate purposes of PILF?
14             A.    One of the corporate purposes of PILF is
15     transparency in election records and compliance with
16     federal law relating to transparency guarantees, and
17     apparently the Republican Party of Virginia shares
18     our values in relation to election records being
19     transparent and jurisdictions within the Commonwealth
20     of Virginia complying with federal law relating to
21     that transparency.
22             Q.    Have you ever suggested to Mr. Marston how
23     the Republican Party of Virginia could be impacted by
24     the requests that you were seeking?
25             A.    I don't understand the question.

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                                                                            Page 275
 1             Q.    Well, you were seeking information for
 2     PILF's own purposes, correct, from the Virginia
 3     jurisdictions?
 4             A.    "Seeking information for ..."                   We had made
 5     records requests of these jurisdictions that they
 6     were not complying with, and so, yes, we were seeking
 7     those records.
 8             Q.    And in seeking those records did you ever
 9     opine on how those records could be useful to the
10     Republican party of Virginia?
11             A.    I don't think I would have cared, at least
12     not in my individual capacity or corporate.                       I don't
13     think that's what mattered to me.                       My -- my interest
14     was in getting the records, and I knew multiple
15     people knocking on the same door asking for the same
16     thing would make it much more likely to have those
17     records produced.          And it was purely a case of
18     self-interest by PILF, or largely, if not entirely, a
19     case of self-interest by PILF, to have as many people
20     as possible asking for those records.
21                              (VVA Exhibit 35 previously
22                   marked for identification and
23                   referenced herein: Email
24                   correspondence from (topmost) C
25                   Adams sent 12/1/2016

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                                                                               Page 276
 1                   PILF-ADAMS-0043845 - 0043848)
 2             Q.    I'm handing the witness a document that's
 3     been previously marked as VVA Exhibit 35 with the
 4     Bates number 43845.
 5             Do you recognize this, Mr. Adams?
 6             A.    This looks like some kind of conference
 7     call setup for some kind -- it says webinar,
 8     something related to a webinar.
 9             Q.    Does it look to be a invitation sent from
10     Mr. George with an agenda that was included on your
11     calendar?
12             A.    I'm sorry.           It was included on my
13     calendar?      No.
14             Q.    There's a "start" and "end" notation at
15     the top, "show time as busy."                       Those are Outlook
16     entry characteristics, correct?
17             A.    Well, it doesn't make sense to me, but ...
18     I mean, I have a recollection of this event.
19             Q.    You do.
20             A.    Yes.
21             Q.    Okay.       So Mr. George was setting up a
22     webinar or a conference call?
23             A.    No, it was a webinar.
24             Q.    Okay.       And his email is dated November
25     30th, 2016?

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                                                                          Page 277
 1             A.    November 30th ... yes.
 2             Q.    And there's an agenda that follows; is
 3     that right?
 4             A.    It says "Agenda" on it.
 5             Q.    Before we get to the agenda, actually so
 6     Mr. Adams -- excuse me -- Mr. George sent this to
 7     you, correct?        Michael J. O'Neill.
 8             A.    Right.
 9             Q.    And he's with Landmark Legal; is that
10     right?
11             A.    I don't know.
12             Q.    You don't know?
13             A.    Michael O'Neill -- there's somebody named
14     Michael there, I think, it may -- maybe O'Neill, but
15     it's not someone I talk to very much, if at all.
16             Q.    Clara Belle Wheeler is on this?
17             A.    It says that.
18             Q.    Yeah.     Keith Damon?
19             A.    The document says that.
20             Q.    Craig DiSesa, Nancy Smith?
21             A.    It says all that.
22             Q.    Now Mr. DiSesa and Ms. Smith are with the
23     Political Action Committee called Middle Resolution,
24     correct?
25             A.    I don't know.            Does the document say that?

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                                                                             Page 278
 1     I mean, I don't know.
 2             Q.    Well, you do know that Middle Resolution
 3     helped with data analysis for the Alien Invasion
 4     reports, correct?
 5             A.    I do now.        I didn't then.
 6             Q.    Who is Chris Wright?
 7             A.    I have no earthly idea.
 8             Q.    And do you see --
 9             A.    Right as I sit here, I mean, I couldn't
10     tell you who that is.              I don't know.
11             Q.    Chris Marston is on this email chain as
12     well?
13             A.    That's what it says.
14             Q.    Okay.     And you provided a report for this
15     webinar; is that right?
16             A.    I don't know.
17             Q.    Well, you said --
18             A.    I remember talking about it, but -- when
19     you say "a report," I assumed you meant some sort of
20     written document for the webinar.                        I suspect you may
21     have meant something else now.
22             Q.    Well, what do you recall from this event?
23             A.    Okay.     I recall almost nothing about what
24     anybody said.        I have some recollection, because I
25     think I went first, I got off the call as fast as

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                                                                               Page 279
 1     possible.      I remember that.                  I know that I didn't
 2     stick around for the whole show.                          I remember that.
 3             I recall talking in generalities about the
 4     sort of issues going on in the Commonwealth and
 5     noncitizen registration voting.                         And I recall that it
 6     was at night or later in the day, that it was close
 7     to being dark outside, and being thankful that I was
 8     not on for the whole call.                       That's what I recall
 9     about it.
10             Q.    And according to the agenda, there's an
11     agenda line for legislative possibilities for
12     Virginia's 2017 General Assembly.
13             A.    Where is that?              Right, it says that.         I
14     don't think that was one of my topics, but ...
15             Q.    And then election lawsuit -- election law
16     lawsuits current and planned, and there seems to be a
17     bullet with your name underneath that.
18             A.    Yep.
19             Q.    And then there seems to be maybe some
20     bullets with respect to Landmark Legal Foundation.
21             A.    Really?        Where?         I don't see those.
22             Q.    The next page.
23             A.    Oh, right, okay.                   Hmm ...
24             Q.    And then there's a bullet RPV (Ed
25     Gillespie)?

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                                                                          Page 280
 1             A.    That's what the document says.
 2             Q.    Do you know what that's with regard to?
 3             A.    No, because I hung up on the call.               I
 4     didn't participate after I was done.
 5             Q.    Okay.     And there's another bullet with
 6     Virginia Voters Alliance?
 7             A.    The document says that.
 8             Q.    What was the purpose of this call?
 9             A.    Well, I can tell you what my purpose was.
10             Q.    What was your purpose?
11             A.    My purpose was to grant Reagan's request
12     that I talk to his webinar and be out of the call as
13     quickly as possible with minimal amount of imposition
14     on my time, and my purpose was to hang up as quickly
15     as possible after I satisfied that initial purpose.
16             Q.    Who is John Mashburn?
17             A.    Where does it say John Mashburn?
18             Q.    You can put that document aside.
19             A.    Oh.    You're not asking me about this
20     document.
21             Q.    No.
22             A.    Okay.
23             Q.    Do you know a John Mashburn?
24             A.    I do.
25             Q.    Who is he?

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                                                                            Page 281
 1             A.    He's an individual.                He's an attorney.
 2     What else do you want to know?
 3             Q.    Was he a member of the Trump campaign in
 4     September of 2016?
 5             A.    Probably, but I can't say with absolute
 6     certainty.      If you had a document to refresh my
 7     recollection, I could answer with greater precision.
 8                              (Adams Exhibit 42 marked for
 9                   identification: Email correspondence
10                   from (topmost) C Adams sent 9/8/2016
11                   PILF-ADAMS-0039730)
12             Q.    The court reporter has marked and handed
13     to you what's been marked as Exhibit 42 with Bates
14     number beginning 39730.               Do you recognize this email?
15             A.    Not yet.       Okay.        I see the email.
16             Q.    It's an email from you dated September
17     8th, 2016 to John Mashburn?
18             A.    That's what the email says.
19             Q.    Okay.    Do you recall this email?
20             A.    Not with a high degree of effectiveness,
21     but ...
22             Q.    You don't doubt you sent it?
23             A.    Oh, no, not -- if you're producing this to
24     me and representing it as an email I sent, I'm not
25     going to think that you would sink to such low depths

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                                                                            Page 282
 1     to give me a fraudulent email.                      So, no, I have no
 2     doubt that you have said it.
 3             Q.    It certainly came from your production.
 4             A.    So ...
 5             Q.    The subject line is "Hans' latest:
 6     Virginia aliens on rolls -- thousands."                       That's the
 7     subject line.
 8             A.    That's what it says.
 9             Q.    And it appears to be an excerpt, and then
10     linked to -- an excerpt of and linked to something
11     Mr. von Spakovsky wrote; is that right?
12             A.    Well, it says "Hans' latest," and that
13     would be the sort of thing I would say if I was
14     sending something to somebody with an article that
15     Hans wrote.       So I have no reason to disagree.
16             Q.    Do you know why you sent this to
17     Mr. Mashburn?
18             A.    Probably because I liked his article.
19             Q.    Hans' article.
20             A.    Right.
21             Q.    But why would you send it to John
22     Mashburn?
23             A.    Because we have a long history working
24     together on these issues.
25             Q.    What's that history?

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                                                                               Page 283
 1             A.    Well, he worked -- he worked on a number
 2     of cases with me in this area.
 3             Q.    What cases?
 4             A.    ACRU vs. Zavala County, Texas.                  There's a
 5     case.
 6             Q.    And he was part of the Trump campaign at
 7     this time?
 8             A.    I don't know.           You've asked me that, and
 9     this email doesn't refresh my recollection as to --
10     obviously I didn't send it to a Trump email address,
11     so there is the possibility that he wasn't.                       Had this
12     been sent to JohnMashburn@TrumpPresidentialCampaign
13     dot whatever, then that would be conclusive that he
14     was a member of the Trump presidential campaign.                         I
15     just don't know.
16             Q.    You can put that document aside.
17             A.    All right.
18             Q.    In November of 2016 you responded to an
19     email from Stephen Miller at his Trump campaign email
20     address and sent him Alien Invasion I, correct?
21             A.    If you have that document to refresh my
22     recollection.       I would take issue potentially with
23     some of your characterization, but I'm sure the
24     document would refresh my recollection.                       I don't
25     remember.

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                                                                                 Page 284
 1             Q.    Okay.     But what from my question would you
 2     take issue with?
 3             A.    Well, I don't remember.
 4             Q.    Okay.
 5             A.    You asked me a question.                        I don't remember
 6     the answer.
 7             Q.    I just wasn't sure if you were taking
 8     issue with the characterization.
 9                               (Adams Exhibit 43 marked for
10                   identification: Email correspondence
11                   from (topmost) C Adams sent
12                   11/26/2016 with attachment
13                   PILF-ADAMS-0039499 - 0039680)
14             Q.    I've handed you what's been marked as
15     Exhibit 43 with the beginning Bates number 39499.
16             A.    Okay.     I have the document.
17             Q.    Do you recall receiving this email from
18     Stephen Miller on November 25th, 2016?
19             A.    I do.
20             Q.    Do you know why he emailed you?
21             A.    On this particular date?
22             Q.    Correct.
23             A.    I think I knew at the time.                        It has
24     something to do with the context of this particular
25     email this date, but I don't remember sitting here

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                                                                             Page 285
 1     today.
 2             There was some context, and it might have been
 3     the day after Thanksgiving, and something might have
 4     been in the news, but that's the best I can remember
 5     sitting here.
 6             Q.    His email is very short.                    Subject line,
 7     "Vote Fraud," the body says, "can you send some info
 8     on noncitizen voting."
 9             A.    That's what it says.
10             Q.    And then you respond on Saturday, November
11     26th, with two documents attached, right?
12             A.    Well, I disagree with your
13     characterization, because it doesn't make sense that
14     I would have sent the declared noncitizen lists.
15             Q.    I'm not sure I understand.
16             A.    Well --
17             Q.    I said and you responded on Saturday,
18     November 26th with two documents attached.                        What's --
19     what's there to disagree with?
20             A.    Well, I think your inclusion of a variety
21     of pages to Exhibit 43 were not part of what I would
22     have sent him.
23             Q.    Okay.    We're not even there.
24             A.    Well, you asked me about the attachments,
25     and I'm answering you.

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                                                                             Page 286
 1             Q.    Okay.    So my question was, you attached
 2     two documents.        Yes or no.
 3             A.    Two documents are reflected in the
 4     attachment line, but this exhibit you've handed me
 5     has more than two documents in it.                        That's my point.
 6             Q.    Okay.    Let's take it one step at a time.
 7     You say two documents attached, number one, Alien
 8     Invasion report for Virginia, correct?
 9             A.    It says that in the attachment.                   Well, it
10     doesn't.      It says --
11             Q.    In the body --
12             A.    Right, right, in the body of the email,
13     Alien Invasion report for VA.
14             Q.    And then the second document attached,
15     according to your cover email, is pleading in the
16     EAC/Kobach/PILF litigation, right?
17             A.    That's what it says.
18             Q.    Okay.    You also said, with respect to the
19     Alien Invasion report attachment, you said, "We found
20     over one thousand aliens --"
21             "We found over one thousand aliens were on the
22     rolls in just eight Virginia counties," right?
23             A.    That's accurate.
24             Q.    Okay.    And then the attachment of the
25     Alien Invasion report begins on page Bates 39500,

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                                                                             Page 287
 1     right, which is --
 2             A.    39 ...
 3             Q.    So the email, which I gave you, is Bates
 4     number 39499.        Do you see that?
 5             A.    Right.
 6             Q.    And then the attachment begins on Bates
 7     number 39500.        Do you see that?
 8             A.    Yeah.
 9             Q.    And it contains the entire Alien Invasion
10     I report with exhibits, correct?
11             A.    Mistakenly, I think.                  I think whoever
12     prepared Adams 43 included documents that were not
13     part of the email to Miller.
14             Q.    Well, I don't know why you'd say that,
15     because the attachment, which was produced by you,
16     because this is coming from you at your electionlaw
17     center.com address and doesn't copy anyone from
18     PILF --
19                   MR. LOCKERBY:            We'll stipulate that these
20     were produced by the Defendants with the Bates
21     numbers indicated.
22             We're bumping up against seven hours, so I
23     think that's in everyone's interest.
24             Q.    Right.      So this is 39500 through 39642.
25     That's this single attachment, right?

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                                                                          Page 288
 1             A.    On Exhibit 43 there's a pile of paper that
 2     includes what you just described that I have a
 3     recollection of never sending to Stephen Miller.
 4             Q.    Well --
 5             A.    I would not have sent this to him.
 6             Q.    Well, this is the attachment.
 7             A.    Then it's mistaken.                This is a mistaken
 8     document that includes information that I never sent
 9     to Stephen Miller, to the best of my recollection
10     sitting here.
11             Q.    Okay.    Well, this is what, as Mr. Lockerby
12     said, Defendants --
13             A.    I know.      And I'm just trying to flag this
14     as my recollection of that email, and I can't account
15     for the fact that there's a pile of paper here that I
16     do not believe were ever part of my email to Stephen
17     Miller.
18             Now I could be mistaken about this, but it
19     would not be consistent with how I would have
20     attempted to economize his attention by sending him
21     hundreds of pages.           And I believe I had a -- I don't
22     have anything else.
23             Q.    And since this includes, at least this
24     attachment includes the entire Alien Invasion I
25     report with exhibits, it includes the name and

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                                                                            Page 289
 1     address of Luciania Freeman, correct?
 2             A.    Well, you're going to double-down.                   I'm
 3     telling you I don't think that I included this
 4     attachment in my email to Stephen Miller.                      And I will
 5     readily admit that probably in the pile of paper
 6     known as Adams 43 the name of -- which Plaintiff did
 7     you ask me about, Miller?
 8             Q.    Luciania Freeman.
 9             A.    Freeman?       It's probably in there in the
10     pile of paper in Adams 43.                     What I'm trying to
11     emphasize to you is I do not believe that this was
12     sent in this email as an attachment.
13             Q.    Prior to this email outreach by
14     Mr. Miller, have you talked to him before?
15             A.    I believe so.
16             Q.    And I think your testimony was you don't
17     recall why he was reaching out to you; is that right?
18             A.    Well, I know there is a context --
19             Q.    But you're not thinking of it right now.
20             A.    -- but I can't remember what it is right
21     now.
22             Q.    What was the purpose of sending him the
23     Alien Invasion report in response to his email, do
24     you recall?
25             A.    Well, I discuss that.                   I said, here's a

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                                                                            Page 290
 1     start.     He wants information on noncitizen voting,
 2     and there is no question that there are noncitizens
 3     that are referred to in the Alien I who were voting
 4     in the Commonwealth of Virginia.
 5             Q.    But Luciania Freeman is not one of them,
 6     correct?
 7             A.    Well, I have, on multiple occasions, I
 8     believe, told you that I understand that Mr. Bonilla,
 9     Ms. Freeman are citizens, and I feel bad that they
10     were identified otherwise by the Commonwealth of
11     Virginia and that their registrations were improperly
12     canceled.      And that's precisely why we wanted to do
13     something about it by bringing an action against the
14     Commonwealth.
15             Q.    Am I correct that you wanted to publish
16     Alien Invasion II in May of 2017 to piggyback on
17     Trump's announcement of the Voter Fraud Commission?
18             A.    No.    Why?       Do you have a basis for that?
19                   MR. LOCKERBY:            Before we proceed, can we
20     see where we are in terms of time?
21                   VIDEO SPECIALIST:                 A little less than
22     three minutes.
23                   MR. TEPE:         Until my next hour?
24                               (Adams Exhibit 44 marked for
25                   identification: Email correspondence

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                                                                          Page 291
 1                   from (topmost) R George sent
 2                   5/17/2017
 3                   PILF-ADAMS-0013078 - 0013079)
 4                   MR. TEPE:        Let the record reflect that the
 5     witness has been handed an exhibit marked number 44
 6     with Bates number 13078.
 7             Q.    I'll direct your attention to the bottom
 8     email sent by Reagan George May 17th, 2017.                   Do you
 9     see that?
10             A.    It's -- there's an email from Reagan on
11     May 17th, 2017.
12             Q.    And it's to Steve and Nancy with Middle
13     Resolution?
14             A.    I have no idea.
15             Q.    It says, "Steve/Nancy, just checking.
16     Christian is wanting to get their article written
17     ASAP to piggyback on Trump's announcement of the
18     Voter Fraud Commission."                Do you see that?
19             A.    I don't know what article he's referring
20     to.
21             Q.    Well, he's referring to Alien Invasion II,
22     correct?
23                   MR. LOCKERBY:            Object to form.
24             A.    How do you know that?
25             Q.    Because Nancy Smith and Steve Mond, who

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                                                                               Page 292
 1     Mr. George emailed, provide data analysis that was
 2     used in the Alien Invasion II report.
 3             A.    Yeah, and Reagan appears to be way off
 4     here.    A, he refers to an article; B, he refers to a
 5     fictional reason to write the article.                        Doesn't
 6     appear to have any basis.
 7             Q.    And so the subject line of this email was
 8     "Any feedback on the noncitizens voter history list?"
 9     Right?
10             A.    Well, that's the subject in an email from
11     Steve Mond it looks like.
12             Q.    Right.     And then Mr. George responds, "We
13     are looking for the maximum number of votes cast so
14     go as far back as the oldest registration on the
15     list."     Do you see that?
16             A.    That's what the email says.
17             Q.    And then he, Steve, responds, "should be
18     done by Friday at the latest," right?
19             A.    That's what the email says.
20             Q.    And then Reagan George responds by saying,
21     "Thanks Steve for all your hard work on this," and
22     you are copied on that email, correct?
23             A.    At last I am copied on that last email.
24             Q.    Did you email Reagan George and tell him
25     that he was completely off basis in his

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                                                                                   Page 293
 1     characterization?
 2             A.    I'm not sure I ever read this email, but I
 3     will be happy to tell him now.
 4                   VIDEO SPECIALIST:                Excuse me.          That's
 5     seven hours.
 6                   MR. LOCKERBY:            All right.             So we're done.
 7                   VIDEO SPECIALIST:                We're not off the
 8     record yet.       Should we go off?
 9                   MR. TEPE:        If we must.
10                   MR. LOCKERBY:            We must.          Don't want to
11     violate any rules.
12                   VIDEO SPECIALIST:                We are off the record,
13     5:48.
14                   MR. TEPE:        Take a break?                  I assume you got
15     nothin', right?
16                   MR. LOCKERBY:            I have no questions.
17                   MR. TEPE:        You have no questions?
18                   MR. LOCKERBY:            I have no questions.
19                   MR. TEPE:        So we're done.
20                   MR. LOCKERBY:            We're done.              You mean put
21     on the record that I have no questions?
22                   MR. TEPE:        Yes.
23                   MR. LOCKERBY:            We can do that.
24                   VIDEO SPECIALIST:                Give me one second.
25             We are back on the record, 5:49

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                                                                          Page 294
 1                   MR. LOCKERBY:            I have no questions.      And
 2     he will read and sign.
 3                   MR. TEPE:        Thank you.
 4                   MR. LOCKERBY:            You're welcome.
 5                   VIDEO SPECIALIST:                We are off the record,
 6     5:49.
 7     //
 8                   (The deposition of J. CHRISTIAN ADAMS
 9     adjourned at 5:49 p.m.)
10     //
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                                                                          Page 295
 1                       ACKNOWLEDGMENT OF DEPONENT
 2

 3                 I, J. CHRISTIAN ADAMS, do hereby
 4     acknowledge that I have read and examined the
 5     foregoing testimony and that the same is a true,
 6     correct and complete transcription of the testimony
 7     given by me, with the exception of the noted
 8     corrections, if any, appearing on the attached errata
 9     page(s).
10      __________              ____________________________
11      DATE                    J. CHRISTIAN ADAMS
12

13

14     Subscribed and sworn to before me this _____ day of
15     _____________________, 20_____                     .
16     ___________________________________ (Notary Public)
17     My Commission expires: _______________________
18

19

20

21     [SEAL]
22

23

24

25



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                                                                          Page 296
 1                           C E R T I F I C A T E
 2

 3                   I, LINDA S. KINKADE, Registered Diplomate
 4     Reporter, Certified Realtime Reporter, Registered
 5     Merit Reporter, Certified Shorthand Reporter, and
 6     Notary Public, do hereby certify that prior to the
 7     commencement of examination the deponent herein was
 8     duly sworn by me to testify truthfully under penalty
 9     of perjury.
10             I FURTHER CERTIFY that the foregoing is a true
11     and accurate transcript of the proceedings as
12     reported by me stenographically to the best of my
13     ability.
14             I FURTHER CERTIFY that I am neither counsel
15     for nor related to nor employed by any of the parties
16     to this case and have no interest, financial or
17     otherwise, in its outcome.
18             IN WITNESS WHEREOF, I have hereunto set my
19     hand and affixed my notarial seal this 2nd day of
20     May, 2019.
21             My commission expires:                 July 31, 2022
22

23     _______________________________
24     LINDA S. KINKADE
25     THE DISTRICT OF COLUMBIA

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                                                                          Page 297
 1                                  E X H I B I T S
 2

 3    ADAMS EXHIBITS          DESCRIPTION                                 PAGE
 4    Adams Exhibit 1         Email correspondence from .....                18
 5                            (topmost) N Johnson sent
 6                            5/24/2017
 7                            PILF_ADAMS-0000821 - 0000823
 8    Adams Exhibit 2         Twitter feed from the Public ..                21
 9                            Interest Legal Foundation
10    Adams Exhibit 3         Twitter feed from the Public ..                22
11                            Interest Legal Foundation
12    Adams Exhibit 4         Screenshot of PILF's Facebook .                24
13                            page
14    Adams Exhibit 5         Screenshot of PILF's Facebook .                26
15                            page May 30th, 2017
16    Adams Exhibit 6         Email correspondence from .....                27
17                            (topmost) C Adams sent
18                            10/3/2016 PILF-ADAMS-0044021
19    Adams Exhibit 7         Email correspondence from .....                30
20                            (topmost) C Adams sent
21                            10/3/2016
22                            PILF-ADAMS-0006102 - 0006104
23

24

25



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 1   Adams Exhibit 8              Email correspondence from .....            32
 2                                (topmost) R Reagan sent
 3                                10/3/2016
 4                                PILF-ADAMS-0040246 - 0040250
 5   Adams Exhibit 9              Illegal Foreign Voting in .....            37
 6                                Virginia Covered up by
 7                                Soros-backed Democratic
 8                                Officials with attachment
 9   Adams Exhibit 10             Email correspondence from .....            49
10                                (topmost) K Phillips sent
11                                4/5/2016            with attachment
12                                PILF-ADAMS-0038892 - 0038895
13   Adams Exhibit 11             Watchdog claims 5k ............            55
14                                Noncitizens Registered to
15                                Vote in Virginia with
16                                attachment
17   Adams Exhibit 12             Email correspondence from .... 57
18                                (topmost)
19                                adams@electionlawcenter sent
20                                6/2/2017 PILF-ADAMS-0014964
21   Adams Exhibit 13             Email correspondence from .... 59
22                                (topmost) L Churchwell sent
23                                5/30/2017 PILF-ADAMS-0046157
24   Adams Exhibit 14             Screenshots re Fox News ...... 62
25                                May 30, 2017


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 1    Adams Exhibit 14-A            Video clip ................... 63
 2    Adams Exhibit 15              YouTube screenshot from ...... 75
 3                                  theblaze Christian Adams
 4                                  Joins Dana
 5    Adams Exhibit 15-A            Video clip ................... 76
 6    Adams Exhibit 16              YouTube screenshot John ...... 77
 7                                  Fredericks Show
 8    Adams Exhibit 16-A            Video/audio clip.............. 79
 9    Adams Exhibit 17              Re podcast Mornings on the ... 79
10                                  Mall March 2, 2017
11    Adams Exhibit 17-A            Audio clip.................... 80
12    Adams Exhibit 18              Email correspondence from .... 87
13                                  (topmost) N Johnson sent
14                                  5/22/2017
15                                  PILF-ADAMS-0001050 - 0001052
16    Adams Exhibit 19              Email correspondence from .... 93
17                                  (topmost) N Johnson sent
18                                  5/31/2017 PILF-ADAMS-0000760
19    Adams Exhibit 20              Printout of tweets from ...... 96
20                                  ElectionLawCtr
21    Adams Exhibit 21              Printout of tweets from ...... 99
22                                  ElectionLawCtr
23

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 1    Adams Exhibit 22              Printout from Election Law ...100
 2                                  Center | Report: Ineligible
 3                                  Aliens Registering to Vote
 4                                  and Casting Ballots
 5    Adams Exhibit 23              PJ Media | Yes, Virginia, ....105
 6                                  Aliens are Registered or
 7                                  Voting ... and in
 8                                  Pennsylvania, by the
 9                                  Thousands
10    Adams Exhibit 24              Email correspondence from ....117
11                                  (topmost) C Adams sent
12                                  5/30/2017
13                                  PILF-ADAMS-0000312 - 0000316
14    Adams Exhibit 25              Email correspondence from ....129
15                                  (topmost) C Adams sent
16                                  12/18/2018
17                                  PILF-ADAMS-0046679 - 0046680
18    Adams Exhibit 26              Email correspondence from ....137
19                                  (topmost) C Adams sent
20                                  4/13/2018
21                                  PILF-ADAMS-0018016 - 0018017
22    Adams Exhibit 27              Email correspondence from ....147
23                                  (topmost) D Kulivan sent
24                                  5/31/2018
25                                  PILF-ADAMS-0018001 - 0018002

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 2                                  (topmost) D Kulivan sent
 3                                  5/1/2018
 4                                  PILF-ADAMS-0018006 - 0018007
 5    Adams Exhibit 29              Email correspondence from ....159
 6                                  (topmost) S Powell sent
 7                                  4/13/2018
 8                                  PILF-ADAMS-0040864 - 0040865
 9    Adams Exhibit 30              Email correspondence from ....164
10                                  (topmost) C Adams sent
11                                  4/13/2018
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14                                  (topmost) S Powell sent
15                                  6/1/2018 with attachment
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17    Adams Exhibit 32              Email correspondence from ....177
18                                  (topmost) S Powell sent
19                                  8/28/2018 with attachment
20                                  PILF-ADAMS-0041116 - 0041122
21    Adams Exhibit 33              Email correspondence from ....196
22                                  (topmost) C Adams sent
23                                  9/30/2016
24                                  Non-Party Palmer000035
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 1    Adams Exhibit 34              Email correspondence from ....208
 2                                  (topmost) C Adams sent
 3                                  2/20/2019 PILF-ADAMS-0046678
 4    Adams Exhibit 35              Email correspondence from ....210
 5                                  (topmost) N Johnson sent
 6                                  5/16/2016 with attachment
 7                                  PILF-ADAMS-0007236 - 0007238
 8    Adams Exhibit 36              Email correspondence from ....223
 9                                  (topmost) N Johnson sent
10                                  1/4/2018
11                                  PILF-ADAMS-0004281 - 0004282
12    Adams Exhibit 37              Email correspondence from ....241
13                                  (topmost) C Adams sent
14                                  2/6/2017 PILF-ADAMS-0051839
15    Adams Exhibit 38              Public Interest Legal ........242
16                                  Foundation | Letter dated
17                                  February 7, 2017 to
18                                  Chairwoman Holtzman Vogel
19    Adams Exhibit 39              Steeling the Vote | ..........249
20                                  Allegheny County, PA Reveals
21                                  How Citizenship Verification
22                                  Protects Citizens and
23                                  Immigrants Alike
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25



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                                                                          Page 303
 1    Adams Exhibit 40              Motor Voter Mayhem | .........256
 2                                  Michigan's Voter Rolls in
 3                                  Disrepair
 4    Adams Exhibit 41              Email correspondence from ....259
 5                                  (topmost) N Johnson sent
 6                                  8/21/2018 with attachment
 7                                  PILF-ADAMS-0007747 - 0007779
 8    Adams Exhibit 42              Email correspondence from ....281
 9                                  (topmost) C Adams sent
10                                  9/8/2016 PILF-ADAMS-0039730
11    Adams Exhibit 43              Email correspondence from ....284
12                                  (topmost) C Adams sent
13                                  11/26/2016 with attachment
14                                  PILF-ADAMS-0039499 - 0039680
15    Adams Exhibit 44              Email correspondence from ....290
16                                  (topmost) R George sent
17                                  5/17/2017
18                                  PILF-ADAMS-0013078 - 0013079
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 1                      E X H I B I T S (continued)
 2   JOHNSON EXHIBITS              DESCRIPTION                           PAGE
 3   Johnson Exhibit 8             Email correspondence from ....182
 4                                 (topmost) N Johnson sent
 5                                 9/29/2016 with attachment
 6                                 PILF-ADAMS-0005601 - 0005620
 7   Johnson Exhibit 22            Email correspondence from             17
 8                                 (topmost) S Powell sent
 9                                 10/4/2016
10                                 PILF-ADAMS-0013638 - 0013639
11   Johnson Exhibit 25            Email correspondence from ....64
12                                 (topmost) N Johnson sent
13                                 5/26/2017
14                                 PILF-ADAMS-000770 - 0000771
15   Johnson Exhibit 26            Email correspondence from ....82
16                                 (topmost) N Johnson sent
17                                 10/2/2016 PILF-ADAMS-0037501
18   Johnson Exhibit 33            Email correspondence from ....269
19                                 (topmost) N Johnson sent
20                                 11/16/2016
21                                 PILF-ADAMS-0009399
22   Johnson Exhibit 36            Email correspondence from ....258
23                                 (topmost) C Adams sent
24                                 8/15/2018 with attachment
25                                 PILF-ADAMS-0000250 - 0000270

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 1                      E X H I B I T S (continued)
 2   PILF EXHIBITS                 DESCRIPTION                           PAGE
 3   PILF Exhibit 9                Email correspondence from             182
 4                                 (topmost) C Adams sent
 5                                 9/29/2016 with attachment
 6                                 PILF-ADAMS-0014015 - 0014033
 7

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 9   VVA EXHIBITS                  DESCRIPTION                           PAGE
10   VVA Exhibit 35                Email correspondence from             275
11                                 (topmost) C Adams sent
12                                 12/1/2016
13                                 PILF-ADAMS-0043845 - 0043848
14   VVA Exhibit 39                Email correspondence from             229
15                                 (topmost) N Johnson sent
16                                 4/4/2017
17                                 PILF-ADAMS-0001408 - 0001410
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                                                                            Page 306
 1                           ERRATA SHEET
 2   Case Name:
 3   Deposition Date:
 4   Deponent:
 5   Pg.    No. Now Reads             Should Read            Reason
 6   ___    ___ __________            __________             ____________________
 7   ___    ___ __________            __________             ____________________
 8   ___    ___ __________            __________             ____________________
 9   ___    ___ __________            __________             ____________________
10   ___    ___ __________            __________             ____________________
11   ___    ___ __________            __________             ____________________
12   ___    ___ __________            __________             ____________________
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17   ___    ___ __________            __________             ____________________
18   ___    ___ __________            __________             ____________________
19   ___    ___ __________            __________             ____________________
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                                                      _____________________
21                                                    Signature of Deponent
22   SUBSCRIBED AND SWORN BEFORE ME
23   THIS ____ DAY OF __________, 2019.
24   ____________________
25   (Notary Public)         MY COMMISSION EXPIRES:__________

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